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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Cooper, Alex                                           N.D. IL No. 89-CR-580
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Thornburg                                                  Race & Gender of Vict(s) BM
two black Chicago gang members received life sentences for the cocaine-related murder of an informant after separate trials. The
Government had offered one defendant, but not the other, a plea bargain prior to trial. 19 F.3d 1154 (7th Cir. 1994).


 Davis, Darnell Anthony                                 N.D. IL No. 89-CR-580
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Thornburg                                                  Race & Gender of Vict(s) BM
two black Chicago gang members received life sentences for the cocaine-related murder of an informant after separate trials. The
Government had offered one defendant, but not the other, a plea bargain prior to trial. 19 F.3d 1154 (7th Cir. 1994).


 Chandler, David Ronald                                 N.D. AL No. 90-CR-H-266-E
 Clemency                                                                       Race & Gender of Def W M
  Attorney General Barr                                                       Race & Gender of Vict(s) WM
a white Alabama marijuana grower was sentenced to death for the murder for hire of a subordinate in his drug ring. The triggerman in the
killing was granted immunity in exchange for his testimony, later recanted, that Chandler offered him $500 for the murder. Insisting on his
innocence, Chandler refused a pretrial plea offer of life imprisonment. Chandler's convictions and death sentence were affirmed by a panel
of the Eleventh Circuit in mid-1993. 996 F.2d 1073 (11th Cir. 1993), cert. denied, 114 S.Ct. 2724 (1994). He filed a motion to vacate his
convictions under 28 U.S.C. § 2255, and an execution date originally set for March 31, 1995, was stayed by the District Court. After
several evidentiary hearings, 950 F.Supp. 1545 (N.D.AL1996), the District Court denied relief. 957 F.Supp. 1505 (N.D. AL 1997). A
panel reversed, 193 F.3d 1297 (11th Cir. 1999) but the en banc court decided that Chandler received effective assistance of counsel in a 6-5
vote. 218 F.3d 1305. On January 20, 2001, President Clinton granted clemency.


 Pitera, Thomas                                         E.D. NY CR No. 90-0424 (RR)
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Barr                                                       Race & Gender of Vict(s) WF WM HM
a white Mafia contract killer, the first person with mob connections to face the federal death penalty, received a life sentence from a
Brooklyn, New York jury after being convicted of seven murders, two of which qualified as capital crimes under 21 U.S.C. § 848(e).
Several of the murders involved torture and dismemberment of the victims. 5 F.3d 624 (2d Cir. 1993).


 Pretlow, Bilal                                         D. NJ No. 90-CR-238
 Killed or died after authorization                                             Race & Gender of Def B              M

  Attorney General Barr                                                       Race & Gender of Vict(s) BF BM
a young black New Jersey gang member committed suicide during his federal capital trial. He had been charged with two cocaine-and
marijuana-related murders, one involving a 15-year-old-girl. All involved are black.




                                                             EXHIBIT H.1
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 Mathis, Ronald Eugene                                 M.D. FL CR No. 91-301-CR-T (18) (A)
 Authorization withdrawn                                                       Race & Gender of Def B              M

  Attorney General Barr                                                      Race & Gender of Vict(s) BM
a black Tampa, Florida drug distributor, for having allegedly ordered a murder in retaliation for the theft of drugs. Murder for hire is
alleged as an aggravating circumstance. In 1994, the government withdrew its notice of intention to seek the death penalty, and
subsequently withdrew the 21 U.S.C. §848(e) homicide count as well. Trial began on the remaining (noncapital) counts and Mathis was
convicted. This case had been authorized as a capital prosecution by Attorney General Barr in early 1992.


 Villarreal, Reynaldo Sambrano                         E.D. TX No. 9:91-CR4
 Life sentence from jury                                                       Race & Gender of Def H M
  Attorney General Barr                                                      Race & Gender of Vict(s) WM
a cross-racial law enforcement officer victim. Two Hispanic men were sentenced to life imprisonment and 40 years, respectively, for the
marijuana-related murder of a white law enforcement officer after a joint trial. The sentencing jury found no facts legally warranting the
death penalty. 963 F.2d 725 (5th Cir.) (1992). A third Hispanic defendant, Jesus Zambrano, was also initially approved for capital
prosecution but received a sentence of 30 years after he testified for the government against the Villarreal brothers.


 Villarreal, Baldemar                                  E.D. TX No. 9:91-CR4
 Life sentence from jury                                                       Race & Gender of Def H M
  Attorney General Barr                                                      Race & Gender of Vict(s) WM
a cross-racial law enforcement officer victim. Two Hispanic men in Texas were sentenced to life imprisonment and 40 years, respectively,
for the marijuana-related murder of a white law enforcement officer after a joint trial. The sentencing jury found no aggravating factors.
963 F.2d 725 (5th Cir.), cert. denied, 113 S.Ct. 353 (1992). A third Hispanic defendant, Jesus Zambrano, was also initially approved for
capital prosecution but received a sentence of 30 years after he testified for the government against the Villarreal brothers.


 Zambrano, Jesus                                       E.D. TX CR No. 9:91-CR4
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Barr                                                      Race & Gender of Vict(s) WM
a cross-racial law enforcement officer victim. Two Hispanic men in Texas were sentenced to life imprisonment and 40 years, respectively,
for the marijuana-related murder of a white law enforcement officer after a joint trial. The sentencing jury found no aggravating factors.
963 F.2d 725 (5th Cir.), cert. denied, 113 S.Ct. 353 (1992). A third Hispanic defendant, Jesus Zambrano, was also initially approved for
capital prosecution but received a sentence of 30 years after he testified for the government against the Villarreal brothers.


 Murray, Michael                                       M.D. PA CR No. 92-200
 Authorization withdrawn at trial                                              Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BM
a member of an African-American gang headed by one Jonathan Bradley, which involved the killing of a black Harrisburg drug dealer.
Murray was charged with two additional homicides in aggravation. DOJ declined to approve the U.S. Attorney's request to authorize the
death penalty against Bradley, who allegedly ordered the killing, and against another participant in the shooting, Emmanuel S. Harrison. In
1994, after jury selection had already begun, Murray was permitted to plead guilty to a term of years, and the government withdrew its
request for the death penalty. Judge Sylvia Rambo rejected the recommended less-than-life sentence and the case was reset for trial. In
1995, the Attorney General instructed the United States Attorney not to seek the death penalty on the eve of a capital trial scheduled to
begin on the following Monday.
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 Brown, Oliver                                        E.D. LA CR No. 92-468
 Authorization withdrawn                                                       Race & Gender of Def B             M

  Attorney General Barr                                                     Race & Gender of Vict(s) BM
two black New Orleans inner-city gang members, in connection with an allegedly drug- related murder. In 1992, the Government dropped
its request for the death penalty in this case. The defendants subsequently entered pleas to conspiracy to murder and a weapons offense in
January, 1993. Brown received a 10-year sentence; Green received 15 years.


 Green, William                                       E.D. LA CR No. 92-468
 Authorization withdrawn                                                       Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) BM
two black New Orleans inner-city gang members, in connection with an allegedly drug- related murder. In 1992, the Government dropped
its request for the death penalty in this case. The defendants subsequently entered pleas to conspiracy to murder and a weapons offense in
January, 1993. Brown received a 10-year sentence; Green received 15 years.


 Brown, Reginald                                      E.D. MI CR No. 92-81127
 Innocent                                                                      Race & Gender of Def B             M

  Attorney General Barr                                                     Race & Gender of Vict(s) BF BM
involves eight drug-related gun murders by an innocent gang member. After insisting for nearly two years he had murdered four people,
including a child, the government dismissed capital murder charges against a Detroit man and began prosecuting a co-defendant for the
same killings. All involved are African-American.


 Brown, Terrance                                      E.D. MI CR No. 92-81127
 Killed or died after authorization                                            Race & Gender of Def B             M

  Attorney General Barr                                                     Race & Gender of Vict(s) BM
involves eight gun murders by a drug gang member who himself was found shot to death after the Attorney General approved a capital
prosecution.


 Culbert, Stacy                                       E.D. MI CR No. 92-81127
 Guilty plea at trial                                                          Race & Gender of Def B             M

  Attorney General Barr                                                     Race & Gender of Vict(s) BM
involves eight gun murders by a drug gang member. A prosecutor claimed that the gang was involved in up to 50 murders.


 O'Bryant, Lonnie                                     E.D. MI CR No. 92-81127
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Barr                                                     Race & Gender of Vict(s) BM
involves eight gun murders by a drug gang member. O’Bryant was charged in six murders. A prosecutor claimed that the gang was
involved in up to 50 murders.
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 Williams, Michael                                      E.D. MI CR No. 92-81127
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Barr                                                       Race & Gender of Vict(s) BM
involves eight gun murders by a drug gang member. A prosecutor claimed that the gang was involved in up to 50 murders. Williams was
charged with two murders, as well as seven other murders alleged in aggravation.


 Wilkes, Charles                                        E.D. MI CR No. 92-81127
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Barr                                                       Race & Gender of Vict(s) BM
involves eight gun murders by a drug gang member. Wilkes was charged in three murders. A prosecutor claimed that the gang was
involved in up to 50 murders.


 Carrington, Arleigh                                    M.D. GA CR No. 92-82MAC-WDO
 Authorization withdrawn                                                        Race & Gender of Def B              M

  Attorney General Barr                                                       Race & Gender of Vict(s) BM
two black crack cocaine dealers in Macon, Georgia, in connection with the murders of two other crack dealers. Attorney General Barr
authorized this death prosecution in his last week in office. In 1993, the government dropped its request for the death penalty against these
two defendants. Both 848(e) murder charges were also later withdrawn, and the defendants subsequently pleaded guilty to various
narcotics-related charges.


 Chatfield, Tony                                        M.D. GA CR No. 92-82MAC-WDO
 Authorization withdrawn                                                        Race & Gender of Def B              M

  Attorney General Barr                                                       Race & Gender of Vict(s) BM
two black crack cocaine dealers in Macon, Georgia, in connection with the murders of two other crack dealers. Attorney General Barr
authorized this death prosecution in his last week in office. In 1993, the government dropped its request for the death penalty against these
two defendants. Both 848(e) murder charges were also later withdrawn, and the defendants subsequently pleaded guilty to various
narcotics-related charges.


 Goldston, Anthony                                      D. DC CR No. 92-CR-284-01
 Authorization withdrawn                                                        Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
eight murders. Four African-American D.C. residents who were charged with a total of eight murders as leaders of a District of Columbia
drug gang known as the Newton Street Crew. This case involved a triple slaying in which the killers wrapped the victims' heads in duct
tape before shooting them at close range. Despite authorization to seek the death penalty by Attorney General Barr in 1992, the
government did not ultimately request the death penalty at trial. McCollough participated in five murders. Goldston founded the gang.
Hoyle ran the gang. The defendants and victims were all African- Americans.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Harris, Mario                                        D. DC CR No. 92-CR-284-01
 Authorization withdrawn                                                      Race & Gender of Def B              M

  Attorney General Reno                                                     Race & Gender of Vict(s) BF
four African-American D.C. residents who were charged with a total of eight murders as leaders of a District of Columbia drug gang
known as the Newton Street Crew. This case involved a triple slaying in which the killers wrapped the victims' heads in duct tape before
shooting them at close range. Despite authorization to seek the death penalty by Attorney General Barr in 1992, the government did not
ultimately request the death penalty at trial. McCollough participated in five murders. Goldston founded the gang. Hoyle ran the gang.
The defendants and victims were all African- Americans.


 Hoyle, Mark                                          D. DC CR No. 92-CR-284-01
 Authorization withdrawn                                                      Race & Gender of Def B              M

  Attorney General Reno                                                     Race & Gender of Vict(s) BF, BM
eight murders. Four African-American D.C. residents who were charged with a total of eight murders as leaders of a District of Columbia
drug gang known as the Newton Street Crew. This case involved a triple slaying in which the killers wrapped the victims' heads in duct
tape before shooting them at close range. Despite authorization to seek the death penalty by Attorney General Barr in 1992, the
government did not ultimately request the death penalty at trial. McCollough participated in five murders. Goldston founded the gang.
Hoyle ran the gang. The defendants and victims were all African- Americans.


 McCollough, John                                     D. DC CR No. 92-CR-284-01
 Authorization withdrawn                                                      Race & Gender of Def B              M

  Attorney General Reno                                                     Race & Gender of Vict(s) BM
eight murders. Four African-American D.C. residents who were charged with a total of eight murders as leaders of a District of Columbia
drug gang known as the Newton Street Crew. This case involved a triple slaying in which the killers wrapped the victims' heads in duct
tape before shooting them at close range. Despite authorization to seek the death penalty by Attorney General Barr in 1992, the
government did not ultimately request the death penalty at trial. McCollough participated in five murders. Goldston founded the gang.
Hoyle ran the gang. The defendants and victims were all African- Americans.


 Johnson, Darryl                                      W.D. NY CR No. 92-159-C
 Guilty plea                                                                  Race & Gender of Def B              M

  Attorney General Reno                                                     Race & Gender of Vict(s) BM
an African-American from the West Coast charged with two cocaine-related killings by a California and Tennessee connected, Buffalo,
New York group, suspected in as many as five other murders. Murder for hire is alleged as an aggravating circumstance. A guilty plea
was entered in 1995 on the morning of trial. The defendant was sentenced to life imprisonment.


 Hutching, James Norwood                              E.D. OK CR No. 1:92-032-S
 Life sentence from jury                                                      Race & Gender of Def W M
  Attorney General Barr                                                     Race & Gender of Vict(s) WM
two white and one Hispanic defendants were tried jointly in connection with the drug- related intrastate kidnap/murder of a Muskogee,
Oklahoma auto dealership employee. The two capitally-charged "managers" of the drug enterprise received life sentences from the jury. A
wheelman, present on the scene, was sentenced to death, but that sentence was overturned on appeal. The victim was white.
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 McCullah, John Javilo                            E.D. OK CR No. 1:92-032-S
                                                  and M.D. FL No.
 Death Sentence Vacated and Authorization Withdrawn and                Race & Gender of Def W M
 Authorization Not Requested by USA
  Attorney General Barr and Holder                                   Race & Gender of Vict(s) WM
two white and one Hispanic defendants were tried jointly in connection with the drug- related intrastate kidnap/murder of a Muskogee,
Oklahoma auto dealership employee. The two capitally-charged "managers" of the drug enterprise, co-defendants Hutching and Molina,
received life sentences from the jury, while the third defendant, McCullah (who, unlike the bosses, had been present at the killing) was
sentenced to death in 1993. United States v. McCullah, 76 F.3d 1087 (10th Cir. 1996) ordered a new penalty hearing due to introduction of
an involuntary statement and double counting of aggravating circumstances. Rehearing en banc was denied by a 6 to 6 vote, 87 F.3d 1136
(6/26/96), and the government declined to seek review in the Supreme Court. The government finally withdrew its request for the death
penalty while McCullah's resentencing was pending. The victim was white.

In 2007, McCullah allegedly killed his cellmate in Florida, USP Coleman, after the assault/murder was arranged by two guards. Both
McCullah and his deceased cellmate are white. Both guards were convicted, one was convicted of murder and sentenced to life in prison.
McCullah was never charged.


 Molina, Ramon Medina                                 E.D. OK CR No. 1:92-032-S
 Life sentence from jury                                                      Race & Gender of Def H M
  Attorney General Barr                                                    Race & Gender of Vict(s) WM
two white and one Hispanic defendants were tried jointly in connection with the drug- related intrastate kidnap/murder of a Muskogee,
Oklahoma auto dealership employee. The two capitally-charged "managers" of the drug enterprise received life sentences from the jury. A
wheelman, present on the scene, was sentenced to death, but that sentence was overturned on appeal. The victim was white.


 Perry, Wayne Anthony                                 D. DC CR No. 92-474
 Guilty plea                                                                  Race & Gender of Def B             M

  Attorney General Reno                                                    Race & Gender of Vict(s) BF BM
eight murders by a hitman for a D.C. cocaine distribution ring between 1989-1991. Murder for hire is alleged as an aggravating
circumstance. In 1994, the defendant pleaded guilty to five homicide counts in exchange for the government's dropping the death penalty.
He received five consecutive nonparolable life sentences and was sent to the federal "super max" prison in Colorado, ADX Florence.


 Johnson, Corey                                       E.D. VA No. 3-92-CR-68
 Death row - 2255                                                             Race & Gender of Def B             M

  Attorney General Barr                                                    Race & Gender of Vict(s) BF BM
three of four young black inner-city gang members in Richmond, Virginia, who were sentenced to death in 1993, for their roles in eleven
crack-related murders. Johnson was charged in seven. The trial of a fourth defendant, Vernon Thomas, was severed. After the completion
of all legal appeals, a May 2006 execution date was stayed pending the outcome of lethal injection litigation in the DC Circuit Court.
There is evidence of intellectual disability but all such claims to date have been rejected.


 Roane, James                                         E.D. VA No. 3-92-CR-68
 Death row - 2255                                                             Race & Gender of Def B             M

  Attorney General Barr                                                    Race & Gender of Vict(s) BF BM
three of four young black inner-city gang members in Richmond, Virginia, who were sentenced to death in 1993, for their roles in eleven
crack-related murders. Roane was charged in three murders. The trial of a fourth defendant, Vernon Thomas, was severed. A May 2006
execution date was stayed pending the outcome of lethal injection litigation in the DC Circuit Court.
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 Thomas, Vernon                                         E.D. VA CR No. 3-92-CR- 68
 Authorization withdrawn                                                        Race & Gender of Def B              M

  Attorney General Barr                                                       Race & Gender of Vict(s) BF BM
the last of the four Richmond, Virginia defendants in the "Newtown gang case,” who was charged in three murders. The government
dropped its request for the death penalty, on the eve of Thomas' separate trial from the other three capital defendants, just before an
evidentiary hearing to determine whether the death penalty should be barred because Thomas is intellectually disabled.


 Tipton, Richard                                        E.D. VA No. 3-92-CR-68
 Death row - 2255                                                               Race & Gender of Def B              M

  Attorney General Barr                                                       Race & Gender of Vict(s) BF BM
three of four young black inner-city gang members in Richmond, Virginia, who were sentenced to death in 1993, for their roles in eleven
crack-related murders. Tipton was charged in six murders. The trial of a fourth defendant, Vernon Thomas, was severed. A May 2006
execution date was stayed pending the outcome of lethal injection litigation in the DC Circuit Court.


 Williams, George Travis                                N.D. GA CR No. 1:92-CR-142
 Dismissal after notice by Judge                                                Race & Gender of Def B              M

  Attorney General Barr                                                       Race & Gender of Vict(s) BM
a black Atlanta drug distributor who had capital charges dismissed in connection with three murders. Mr. Williams was accused of
ordering the killing of one person in 1988, and killing two in 1989 and another in 1990. Murder for hire is alleged as an aggravating
circumstance. In June, 1994, the district court dismissed the capital charges on double jeopardy grounds, because the government had
already secured a conviction and 30-year sentence for much of the alleged drug-related conduct. A government motion to reconsider this
ruling was denied. All involved were African-American.


 Crummie, Chedrick                                      S.D. FL No. 93-252-CR-UUB
 Acquittal                                                                      Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BF BM
two drug-related murders committed in the course of a Miami narcotics trafficking operation. The three defendants faced the death penalty
on one of the homicides. Attorney General Reno authorized a capital prosecution in early 1994; trial began on September 18,1995 and
ended in an acquittal on the homicide counts on February 5, 1996. The government alleged that the defendants had intentionally shot an
innocent female victim after the defendants kicked the door to her bedroom down while searching for a rival drug dealer who had ripped
them off. This version, based on cooperator testimony, was contradicted by physical evidence and testimony. The defendants were
convicted of non- capital drug trafficking charges.


 Mack, Edward Alexander                                 S.D. FL No. 93-252-CR-UUB
 Acquittal                                                                      Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
two drug-related murders committed in the course of a Miami narcotics trafficking operation. The three defendants faced the death penalty
on one of the homicides. Attorney General Reno authorized a capital prosecution in early 1994; trial began on September 18,1995 and
ended in an acquittal on the homicide counts on February 5, 1996. The government alleged that the defendants had intentionally shot an
innocent female victim after the defendants kicked the door to her bedroom down while searching for a rival drug dealer who had ripped
them off. This version, based on cooperator testimony, was contradicted by physical evidence and testimony. The defendants were
convicted of non- capital drug trafficking charges.
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 Rozier, Kevin Denard                                  S.D. FL No. 93-252-CR-UUB
 Acquittal                                                                      Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BF BM
two drug-related murders committed in the course of a Miami narcotics trafficking operation. The three defendants faced the death penalty
on one of the homicides. Attorney General Reno authorized a capital prosecution in early 1994; trial began on September 18,1995 and
ended in an acquittal on the homicide counts on February 5, 1996. The government alleged that the defendants had intentionally shot an
innocent female victim after the defendants kicked the door to her bedroom down while searching for a rival drug dealer who had ripped
them off. This version, based on cooperator testimony, was contradicted by physical evidence and testimony. The defendants were
convicted of non- capital drug trafficking charges.


 Garza, Juan Raul                                      S.D. TX CR No. 93-009
 Executed                                                                       Race & Gender of Def H M
  Attorney General Barr                                                      Race & Gender of Vict(s) HF HM
an Hispanic marijuana distributor was sentenced to death by a jury in 1993 in Brownsville, Texas, in connection with the murders of three
other drug traffickers in the Brownsville area, two Hispanic and one Anglo. Garza ordered two murders and killed a third person himself.
The government introduced 5 unadjudicated murders in aggravation, 4 were in Mexico. All but one victim were males. Murder for hire
was an aggravating circumstance. Attorney General Barr authorized the prosecution to seek the death penalty in December, 1992. Mr.
Garza's death sentence was affirmed. United States v. Flores, 63 F.3d 1342 (5th Cir. 1995), and a petition for writ of certiorari was denied
by the Supreme Court in 1996. Habeas relief was denied in 1998-1999. Garza's first two execution dates in 2000 were postponed by
President Clinton pending a Department of Justice study of racial and geographic disparities in the federal death penalty, the second time
on December 7, 2000 for 6 months, until June 2001. He was executed on June 19, 2001.


 Henry, Arnold Mark                                    E.D. VA No. 93-CR-131
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BF BM
three blacks, two brothers born in Haiti, another man born in Grenada, were accused of two killings of an African-American man and a
woman in related incidents where the victims were suspected of stealing crack cocaine. An additional homicide was alleged in
aggravation. A Norfolk, Virginia jury refused, in March, 1994, to impose the death penalty upon any of the three capitally-charged
defendants. Attorney General Reno authorized a capital prosecution in this case in 1993. Arnold Mark Henry is intellectually disabled.
Life sentences were affirmed on appeal. 82 F.3d 419 (4th Cir. 1996) (unpub.).


 Oscar, Frantz                                         E.D. VA No. 93-CR-131
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BF BM
three blacks, two brothers born in Haiti, another man born in Grenada, were accused of two killings of an African-American man and a
woman in related incidents where the victims were suspected of stealing crack cocaine. An additional homicide was alleged in
aggravation. A Norfolk, Virginia jury refused, in March, 1994, to impose the death penalty upon any of the three capitally-charged
defendants. Attorney General Reno authorized a capital prosecution in this case in 1993. Life sentences were affirmed on appeal. 82 F.3d
419 (4th Cir. 1996) (unpub.).
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 Oscar, Jean Claude                                     E.D. VA No. 93-CR-131
 Life sentence from jury                                                         Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BF BM
three blacks, two brothers born in Haiti, another man born in Grenada, were accused of two killings of an African-American man and a
woman in related incidents where the victims were suspected of stealing crack cocaine. An additional homicide was alleged in
aggravation. A Norfolk, Virginia jury refused, in March, 1994, to impose the death penalty upon any of the three capitally-charged
defendants. Attorney General Reno authorized a capital prosecution in this case in 1993. Life sentences were affirmed on appeal. 82 F.3d
419 (4th Cir. 1996) (unpub.).


 Moore, Todd                                            E.D. VA No. 2:93CR162
 Life sentence from judge                                                        Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
a black New York-based crack cocaine distributor was spared in the first judge-sentencing procedure. Attorney General Reno approved the
death penalty in this case in 1994. Moore pled guilty to an indictment charging him with having ordered the murder of a member of his
Newport News, Virginia drug organization. The government waived a jury for sentencing, and a sentencing hearing was held before the
district court. One month later, the district judge declined to impose the death penalty, and sentenced Moore to life without possibility of
release. The sentence was affirmed on appeal, 81 F.3d 152 (4th Cir. 1996) (mem.). At the trial of the admitted triggerman in the murder,
Derek Kelley, Moore offered to testify. However, the government declined to use Moore’s testimony, and Kelley was subsequently
acquitted of all charges and released.


 Hall, Orlando C.                                       N.D. TX No. 4:94-CR-121-Y
 Death row - 2255                                                                Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BF
the first approval of a death penalty prosecution under the 1994 Federal Death Penalty Act. Hall, and his co-defendant, Webster, both
African-American, were charged in Fort Worth, Texas, with the abduction, sexual assault and beating murder of a 16-year-old black female
whose older brother had allegedly stolen marijuana. In 1995, Hall was sentenced to death after the jury heard testimony from co-defendants
who pled guilty and testified in return for leniency. Expert testimony suggested the victim was still alive when buried. After a separate
trial, Bruce Webster was sentenced to death by a jury in 1996. After the completion of all legal appeals, Hall joined the lethal injection
litigation in the DC Circuit Court.


 Webster, Bruce                                         N.D. TX No. 4:94-CR-121-Y
 Death Row - 2255                                                                Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BF
the first approval of a death penalty prosecution under the 1994 Federal Death Penalty Act. Orlando Hall, and his co-defendant, Webster,
both African-American, were charged in Fort Worth, Texas, with the abduction, sexual assault and beating murder of a 16-year-old black
female whose older brother had allegedly stolen marijuana. In 1995, Hall was sentenced to death after the jury heard testimony from co-
defendants who pled guilty and testified in return for leniency. Expert testimony suggested the victim was still alive when buried. After a
separate trial, Bruce Webster was sentenced to death by a jury in 1996. Webster is the first case in which a federal defendant has been
sentenced to death after attempting to establish his ineligibility for the death penalty by reason of intellectual disability. After completion
of all legal appeals, an April 2007 execution date was stayed pending the outcome of lethal injection litigation in the D.C. Circuit Court.
The Seventh Circuit, after the Fifth Circuit denied a similar request, is allowing the presentation of newly discovered evidence of Webster’s
intellectual disability.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Davis, Len                                            E.D. LA CR No. 94-381
 Death row - 2255                                                               Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BF
civil rights - an African- American New Orleans police officer, Len Davis, who was being investigated (and tape recorded) in a drug
conspiracy case. Davis ordered the murder of a 32 year old mother of three, Kim Groves, who witnessed his beating of a witness in an
unrelated incident. Groves had filed a brutality complaint against Davis. Paul Hardy, 27, carried out the killing. Murder for hire is alleged
as an aggravating circumstance. Davis, then Hardy, were sentenced to death by a jury in 1996, which heard sequential penalty phase
presentations. Davis did not attend his. The Fifth Circuit reversed one of the convictions and ordered a new sentencing trial on the
remaining convictions in 1999. 185 F.3d 407. On remand the District Court dismissed the Notice of Intent to Seek the Death Penalty
based on Ring v. Arizona. This ruling was reversed by the Fifth Circuit. 380 F. 3rd 821. Davis was convicted and resentenced to death in
2005. A 28 USC §2255 motion is pending.


 Hardy, Paul                                           E.D. LA CR No. 94-381
 Dismissal after notice by Judge                                                Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BF
civil rights - an African- American New Orleans police officer, Len Davis, who was being investigated (and tape recorded) in a drug
conspiracy case. Davis ordered the murder of a 32 year old mother of three, Kim Groves, who witnessed his beating of a witness in an
unrelated incident. Groves had filed a brutality complaint against Davis. Paul Hardy, 27, carried out the killing. Murder for hire is alleged
as an aggravating circumstance. Davis, then Hardy, were sentenced to death by a jury in 1996, which heard sequential penalty phase
presentations. Davis did not attend his. The Fifth Circuit reversed one of the convictions and ordered a new sentencing trial on the
remaining convictions in 1999. 185 F.3d 407. On remand, the District Court dismissed the Notice of Intent to Seek the Death Penalty
based on Ring v. Arizona. This ruling was reversed by the Fifth Circuit. Davis was resentenced to death in 2005 at a separate trial. The
trial court found Hardy to be intellectually disabled. 762 F.Supp.2d 849 (ED LA 2010).


 Chanthadara, Bountaem                                 D. KS CR No. 94-10129-01
 Death Sentence Vacated and Authorization Withdrawn                             Race & Gender of Def A M
  Attorney General Reno                                                      Race & Gender of Vict(s) AF
a "Hobbs Act" case, in which five defendants of Asian descent (Laotian and Vietnamese) were charged with the armed-robbery of a
Chinese restaurant and killing co-proprietor Barbara Sun, in Wichita, Kansas in 1994. Federal jurisdiction was based on the Hobbs Act, 18
U.S.C. § 1951, prohibiting obstruction of inter-state commerce. The Attorney General's approval of this capital prosecution for
Chanthadara and Phouc Nguyen was announced in 1995. It marked the first time that the Hobbs Act was used to federalize as a capital
case a prosecution for murder committed during a commercial robbery. Chanthadara beat and shot the victim in an attempt to get her to
open a safe the female proprietor could not. Nguyen was present. Chanthadara's jury recommended the death penalty in 1996. After a
separate trial, Phouc Nguyen's jury sentenced him to life imprisonment. The Eighth Circuit reversed Chanthadara's death sentence on
November 1, 2000. 230 F.3d 1237. He was sentenced to life in prison in 2002.


 Nguyen, Phouc H.                                      D. KS CR No. 94-10129-01
 Life sentence from jury                                                        Race & Gender of Def A M
  Attorney General Reno                                                      Race & Gender of Vict(s) AF
the co-defendant of Bountaem Chanthadara was also involved in a Hobbs Act robbery/murder. A Wichita, Kansas jury voted to sentence
the defendant to life imprisonment in 1996, following his conviction for a murder committed during a commercial robbery. Mr.
Chanthadara was previously sentenced to death by a different Wichita jury.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Vest, James                                          W.D. MO CR No. 94-00037-04
 Guilty plea                                                                  Race & Gender of Def W M
  Attorney General Reno                                                    Race & Gender of Vict(s) HM
three white brothers from Kansas City who were approved for a capital prosecution in 1994. They were charged with the well- planned
double homicide of two Mexican drug dealers. Graves were dug and the victims abducted and bound with duct tape, suffocating to death.
A fourth brother, Darrell Vest, did not face the death penalty. One defendant was also charged with a separate murder count in another
drug rip-off. Guilty pleas were negotiated for all three.


 Vest, Mark                                           W.D. MO CR No. 94-00037-04
 Guilty plea                                                                  Race & Gender of Def W M
  Attorney General Reno                                                    Race & Gender of Vict(s) HF HM
three white brothers from Kansas City who were approved for a capital prosecution in 1994. They were charged with the well- planned
double homicide of two Mexican drug dealers. Graves were dug and the victims abducted and bound with duct tape, suffocating to death.
A fourth brother, Darrell Vest, did not face the death penalty. Mark Vest was also charged with a separate murder count in another drug
rip-off. Guilty pleas were negotiated for all three.


 Vest, Steven                                         W.D. MO CR No. 94-00037-04
 Guilty plea                                                                  Race & Gender of Def W M
  Attorney General Reno                                                    Race & Gender of Vict(s) HM
three white brothers from Kansas City who were approved for a capital prosecution in 1994. They were charged with the well- planned
double homicide of two Mexican drug dealers. Graves were dug and the victims abducted and bound with duct tape, suffocating to death.
A fourth brother, Darrell Vest, did not face the death penalty. One defendant was also charged with a separate murder count in another
drug rip-off. Guilty pleas were negotiated for all three.


 Diaz, Walter                                         N.D. NY No. 94-CR-328
 Life sentence from jury                                                      Race & Gender of Def B            M

  Attorney General Reno                                                    Race & Gender of Vict(s) WF
two African-Americans on a drug-related crime spree were approved for capital prosecution by Attorney General Reno in April 1995. The
spree involved the drug-related murder of a white victim by two African-American defendants. Two additional cross-racial homicides
were alleged in aggravation, one during the course of a robbery in New York City, another of an elderly lawyer in upstate New York. Trial
began in 1995 and sentences of life were returned after a vote of 11 to 1 for life for Diaz and 11 to 1 for death for Walker.


 Walker, Tyrone                                       N.D. NY No. 94-CR-328
 Life sentence from jury                                                      Race & Gender of Def B            M

  Attorney General Reno                                                    Race & Gender of Vict(s) WF
two African-Americans on a drug-related crime spree were approved for capital prosecution by Attorney General Reno in April 1995. The
spree involved the drug-related murder of a white victim by two African-American defendants. Two additional cross-racial homicides
were alleged in aggravation, one during the course of a robbery in New York City, another of an elderly lawyer in upstate New York. Trial
began in 1995 and sentences of life were returned after a vote of 11 to 1 for life for Diaz and 11 to 1 for death for Walker.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 McCauley, Donzell M.                                  D. DC CR No. 94-121
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) WM
law enforcement officer victim - a young black man from the District of Columbia who struggled with and shot to death a police officer.
Attorney General Reno required a capital prosecution for the cross-racial murder of a white law enforcement police officer despite the U.S.
Attorney's initial decision that the death penalty not be sought. This authorization marked the first time in the post-Gregg era of capital
punishment that the Attorney General required a capital prosecution in a federal criminal case despite the initial opposition of the United
States Attorney. Subsequently, the defendant entered a plea of guilty and was sentenced to life imprisonment.


 Moore, Dennis B., Sr.                                 W.D. MO CR No. 94-00194
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WM
recruited his associate (Wyrick) to kill a rival drug marijuana dealer. Murder for hire is alleged as an aggravating circumstance. Both the
defendants and the deceased are Caucasian. In 1996, the jury deadlocked on the punishment for Moore, resulting in a life sentence.


 Wyrick, Kevin                                         W.D. MO CR No. 94-00194-01
 Authorization withdrawn at trial                                               Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WM
when the jury deadlocked on the punishment for the "boss" of a drug ring, Damon Moore, the government announced that it was
withdrawing its request for the death penalty for Wyrick, the triggerman.


 Tidwell, Tyrone                                       E.D. PA CR No. 94-353
 Authorization withdrawn                                                        Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BM
a 35 year old African-American beauty salon owner who allegedly was a middle man between crack cocaine organizations in New York
and Philadelphia. Tidwell solicited the killing of two black men in 1989 and 1991, one for selling crack on "his corner" and a second
suspected of stealing drugs. An additional murder for hire is alleged as an aggravating circumstance. In 1996, the Attorney General
authorized the death penalty for the 1989 homicide. However, shortly before the defendant's trial, the U.S. Attorney requested that the
death penalty be withdrawn, and the Attorney General approved the request.


 Acosta, John Lefty                                    D. NM CR No. 95-538-MV
 Authorization withdrawn                                                        Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) BM HM
murder in the aid of racketeering. The charges involve an L.A. gang, Sureno 13, moving crack and PCP from L.A. to Albuquerque.
Among the seven murders connected to the gang one was of a high school student and another was a triple homicide. Five attempted
murders were alleged, as well as a conspiracy to kill rival black drug dealers. Authorization was requested and granted by the Attorney
General in 1996, for four of six defendants, but the government later withdrew its request for the death penalty as to one, after he was
shown to be uninvolved in one of the two homicides originally charged against him. The remaining three entered guilty pleas: Mazzini
received 25 years; Najar received 30 years; and De LaTorre received 22 years.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 DeLaTorree, Jason                                      D. NM CR No. 95-538-MV
 Guilty plea at trial                                                            Race & Gender of Def H M
  Attorney General Reno                                                       Race & Gender of Vict(s) HM
murder in the aid of racketeering. The charges involve an L.A. gang, Sureno 13, moving crack and PCP from L.A. to Albuquerque.
Among the seven murders connected to the gang one was of a high school student and another was a triple homicide. Five attempted
murders were alleged, as well as a conspiracy to kill rival black drug dealers. Authorization was requested and granted by the Attorney
General in 1996, for four of six defendants, but the government later withdrew its request for the death penalty as to one, after he was
shown to be uninvolved in one of the two homicides originally charged against him. The remaining three entered guilty pleas: Mazzini
received 25 years; Najar received 30 years; and De LaTorre received 22 years.


 Mazzini, Marcos                                        D. NM CR No. 95-538-MV
 Guilty plea                                                                     Race & Gender of Def H M
  Attorney General Reno                                                       Race & Gender of Vict(s) BM HM
seven RICO murders. The charges involve an L.A. gang, Sureno 13, moving crack and PCP from L.A. to Albuquerque. Among the seven
murders connected to the gang one was of a high school student and another was a triple homicide. Mazzini was charged with four
murders. Five attempted murders were alleged, as well as a conspiracy to kill rival black drug dealers. Authorization was requested and
granted by the Attorney General in 1996, for four of six defendants, but the government later withdrew its request for the death penalty as
to one, after he was shown to be uninvolved in one of the two homicides originally charged against him. The remaining three entered
guilty pleas: Mazzini received 25 years; Najar received 30 years; and De LaTorre received 22 years.


 Najar, Vincent                                         D. NM CR No. 95-538-MV
 Guilty plea                                                                     Race & Gender of Def H M
  Attorney General Reno                                                       Race & Gender of Vict(s) BM HM
seven RICO murders. The charges involve an L.A. gang, Sureno 13, moving crack and PCP from L.A. to Albuquerque. Among the seven
murders connected to the gang one was of a high school student and another was a triple homicide. Najar was charged with six murders.
Five attempted murders were alleged, as well as a conspiracy to kill rival black drug dealers. Authorization was requested and granted by
the Attorney General in 1996, for four of six defendants, but the government later withdrew its request for the death penalty as to one, after
he was shown to be uninvolved in one of the two homicides originally charged against him. The remaining three entered guilty pleas:
Mazzini received 25 years; Najar received 30 years; and De LaTorre received 22 years.


 Battle, Anthony                                        N.D. GA No. 1:95 CR 528
 Death row - 2255                                                                Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
law enforcement officer victim - a black inmate with a history of psychiatric problems who was sentenced to death for the hammer-murder
of an African-American guard in the Atlanta federal penitentiary. Mr. Battle was serving a life sentence for the prior murder of his wife
when the killing occurred. In 1997 a federal jury rejected Mr. Battle's insanity defense and returned a death sentence after three hours'
deliberation. After the completion of all legal appeals, 173 F.3d 1343 (1999), 419 F.3d 1292 (2005), Battle joined the lethal injection
litigation in the D.C. Circuit Court.
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 Bonds, Andre                                          E.D. MO CR No. 4:95CR332
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) WF
a black teenager in an interstate carjacking case involving an 18 year old African-American defendant (and his 16 year old co-defendant)
who allegedly killed one white female, took her car across state lines, kidnaping and raping her girlfriend - another Caucasian. Mr. Bonds
pled guilty in 1996 and was sentenced to life imprisonment.


 Fleming, Lamont                                       E.D. NC CR No. 4:95-CR-41-1-H-2
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) BF BM
involves a crack cocaine conspiracy alleging four 1995 murders by an African-American gang originating in Brooklyn, New York.
Fleming, Gist and co-defendant Linton were triggermen. DOJ did not authorize capital prosecutions against four other defendants,
including Linton. Guilty pleas were entered by the two capital defendants who were charged in two murders. The two capital homicides
involved the separate murders of two participants in a prior drug-related murder. All involved are black.


 Gist, Cory                                            E.D. NC CR No. 4:95-CR-41-1-H-2
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) BF BM
involves a crack cocaine conspiracy alleging four 1995 murders by an African-American gang originating in Brooklyn, New York.
Fleming, Gist and co-defendant Linton were triggermen. DOJ did not authorize capital prosecutions against four other defendants,
including Linton. Guilty pleas were entered by the two capital defendants who were charged in two murders. The two capital homicides
involved the separate murders of two participants in a prior drug-related murder. All involved are black. Attorney General Reno required a
capital prosecution as to Gist.


 Chen, Fu Xin                                          E.D. NY CR No. 95 0870
 Guilty plea                                                                   Race & Gender of Def A M
  Attorney General Reno                                                     Race & Gender of Vict(s) AF
two Chinese gang members who kidnaped intrastate Chinese nationals living in the U.S. for ransom to be paid by relatives in China. One
victim was raped and severely abused before being strangled after her family failed to pay the ransom demanded. Jia Wu and Fu Xin Chen
pled guilty and received life sentences in 1996. Capital authorization against a third defendant, You Zhong Peng, was withdrawn by the
Department of Justice just three days before his scheduled 1997 trial.


 Chen, Jia Wu                                          E.D. NY CR No. 95 0870
 Guilty plea                                                                   Race & Gender of Def A M
  Attorney General Reno                                                     Race & Gender of Vict(s) AF
two Chinese gang members who kidnaped intrastate Chinese nationals living in the U.S. for ransom to be paid by relatives in China. One
victim was raped and severely abused before being strangled after her family failed to pay the ransom demanded. Jia Wu and Fu Xin Chen
pled guilty and received life sentences in 1996. Capital authorization against a third defendant, You Zhong Peng, was withdrawn by the
Department of Justice just three days before his scheduled 1997 trial.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Peng, You Zhong                                       E.D. NY CR No. 95 0870
 Authorization withdrawn                                                       Race & Gender of Def A M
  Attorney General Reno                                                     Race & Gender of Vict(s) AF
two Chinese gang members who kidnaped intrastate Chinese nationals living in the U.S. for ransom to be paid by relatives in China. One
victim was raped and severely abused before being strangled after her family failed to pay the ransom demanded. Jia Wu and Fu Xin Chen
pled guilty and received life sentences in 1996. Capital authorization against a third defendant, You Zhong Peng, was withdrawn by the
Department of Justice just three days before his scheduled 1997 trial.


 Damon, Marvin                                         E.D. VA CR No. 3:95CR45
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) BM
two members of a drug ring, from Richmond, Virginia, African-American, 52 and 30 years old, charged with the distribution of heroin,
mainly in one housing development in Richmond where another African-American was shot to death in 1994 by Damon, at co-defendant
Williams' request. The government alleged numerous other homicides committed by Damon as Williams' enforcer. Damon agreed to plead
guilty, attempted suicide and finally entered a plea. Damon has a low IQ which played a role in resolving the case short of trial. Williams
pled guilty after a jury was seated.


 Williams, Robert Russell                              E.D. VA No. 3:95CR45
 Guilty plea at trial                                                          Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) BM
two members of a drug ring, from Richmond, Virginia, African-American, 52 and 30 years old, charged with the distribution of heroin,
mainly in one housing development in Richmond where another African-American was shot to death in 1994 by Damon, at co-defendant
Williams' request. The government alleged numerous other homicides committed by Damon as Williams' enforcer. Murder for hire is
alleged as an aggravating circumstance. Damon agreed to plead guilty, attempted suicide and finally entered a plea. Williams pled guilty
after a jury was seated.


 DesAnges, Omar                                        W.D. VA CR No. 95-00046RH
 Authorization withdrawn                                                       Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) BM
the killing of an African-American, apparently a crack addict, who was a state's witness. The government withdrew its intention to seek the
death penalty shortly before the scheduled April 1996 trial after the Attorney General declined to authorize the death penalty in an
unrelated case in the Western District of Virginia, being prosecuted by the same Assistant United States Attorney. So the United States
reached agreement with the defense on the drug distribution charges and agreed the homicide count would be tried as a non-capital case.


 McVeigh, Timothy James                                D. CO No. 96-CR-68-M
 Executed                                                                      Race & Gender of Def W M
  Attorney General Reno                                                     Race & Gender of Vict(s) WF +
the 1995 Oklahoma City terrorist bombing in which 160 lost their lives, including 19 children. The President and Attorney General
immediately announced that the death penalty would be sought, even before any suspects were identified. After a change of venue, a
Denver jury convicted McVeigh and voted to sentence him to death in 1997. Appeal to the United States Court of Appeals for the Tenth
Circuit was quickly denied in 1998, 153 F.3d 1166, as was a post-conviction petition. 118 F.Supp.2d 1137 (D. CO 2000). Thereafter, Mr.
McVeigh decided to abandon further appeal. His execution was scheduled for May 16, 2001, was delayed by the Attorney General upon
the discovery of over 6,000 pages of FBI reports not disclosed to the defense. He was executed on June 11, 2001.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Nichols, Terry Lynn                                   D. CO No. 96-CR-68-M
 Life sentence from jury                                                       Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WF +
the co-defendant in the Oklahoma City terrorist bombing case, with 160 victims. At a separate trial following McVeigh's, a Denver federal
jury failed to reach a unanimous finding on Nichols' alleged intent to kill, a legal requirement for imposing the death penalty. The same
jury's guilt phase verdicts indicated that the government had failed to prove that Nichols intended a lethal attack on the Murray Building.
He was sentenced in 1998 to life imprisonment and faces the death penalty in state court. He remains at ADX Florence.


 Haworth, Richard                                      D. NM CR No. 95-491 LH
 Guilty plea                                                                   Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WM HM
Haworth was the leader of a New Mexico drug trafficking conspiracy, during the course of which he murdered at least three individuals
(two Hispanic, one Anglo). The government dropped its request for the death penalty in exchange for his plea and a life sentence on the
eve of his scheduled trial in February, 1997. After six weeks of jury selection, the government accepted Spivey's guilty plea to a single
homicide count and a 30-year sentence. Both Haworth and Spivey are white.


 Spivey, Everett                                       D. NM CR No. 95-491
 Guilty plea at trial                                                          Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WM
Haworth was the leader of a New Mexico drug trafficking conspiracy, during the course of which he murdered at least three individuals
(two Hispanic, one Anglo). The government dropped its request for the death penalty in exchange for his plea and a life sentence on the
eve of his scheduled trial in February, 1997. After six weeks of jury selection, the government accepted Spivey's guilty plea to a single
homicide count and a 30-year sentence. Both Haworth and Spivey are white.


 Jones, Louis                                          N.D. TX No. 6-95-CR-0015-C
 Executed                                                                      Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) WF
a 46 year old African-American -- a retired 22-year decorated Persian Gulf veteran--was convicted of the abduction murder of a young
white female soldier. The victim's family traveled to Washington to seek DOJ approval of the death request. The trial occurred in
Lubbock on change of venue, after thousands of San Angelo residents signed petitions calling for the death penalty. The defendant was
sentenced to death in 1995, the Fifth Circuit affirmed in 1998, but the United States Supreme Court granted review to consider issues
relating to the jury's sentencing instructions in this first case conducted under the 1994 Federal Death Penalty Act. The Supreme Court
affirmed the Fifth Circuit's decision in 1999. 527 U.S. 373. A post-conviction action was denied, as was a successor petition raising a
Ring issue. President Bush denied clemency the same evening as announcing the second Gulf War. Jones was executed the next morning,
March 18, 2003.


 Martin, Roy Ray                                       N.D. TX CR No. 5-95-CR- 0017-C (Cummings)
 Authorization withdrawn                                                       Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) BM
a hate crime murder in the fall of 1994. Three (one white, two Hispanic) young men randomly attacked blacks, killing one and seriously
wounding two, in a racially motivated spree in Lubbock, Texas. Authorization to seek the death penalty was granted by Attorney General
Reno in early October, 1995. The district court granted severance and the first defendant was scheduled for trial but the government
withdrew the death penalty notice as to all three defendants who were then joined for trial and convicted.
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 Mungia, Eli Trevino                                   N.D. TX CR No. 5-95-CR-0017-C
 Authorization withdrawn                                                       Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) BM
a hate crime murder in the fall of 1994. Three (one white, two Hispanic) young men randomly attacked blacks, killing one and seriously
wounding two, in a racially motivated spree in Lubbock, Texas. Authorization to seek the death penalty was granted by Attorney General
Reno in early October, 1995. The district court granted severance and the first defendant was scheduled for trial but the government
withdrew the death penalty notice as to all three defendants who were then joined for trial and convicted.


 Mungia, Ricky Rivera                                  N.D. TX CR No. 5-95-CR-0017-C
 Authorization withdrawn                                                       Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) BM
a hate crime murder in the fall of 1994. Three (one white, two Hispanic) young men randomly attacked blacks, killing one and seriously
wounding two, in a racially motivated spree in Lubbock, Texas. Authorization to seek the death penalty was granted by Attorney General
Reno in early October, 1995. The district court granted severance and the first defendant was scheduled for trial but the government
withdrew the death penalty notice as to all three defendants who were then joined for trial and convicted.


 Beckford, Dean Anthony                                E.D. VA No. 3:95CR00087
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Reno                                                      Race & Gender of Vict(s) BM
another New York - Richmond cocaine connection was uncovered which involved members of a Brooklyn gang, all African-American,
who transported crack cocaine to Richmond, Virginia. The 32-count indictment charged five of the alleged members of the so-called
"Poison Clan" with capital murder in six killings, two in 1988 and four in 1994. (Devon Dale Beckford, 33, brother of Dean Beckford,
identified by the FBI as a gang leader was not arrested until July, 1997.) After a seven-week trial, a jury declined to impose the death
penalty on all four defendants: Dean Beckford, 32, Leonel Romeo Cazaco, 22, Claude Gerald Dennis, 28 and Richard Thomas, 22. Dean
Beckford and Claude Dennis were found guilty of the 1998 double murder. (Dennis had previously been acquitted on these charges in state
court in 1989.) Cazaco and Thomas were also convicted of a capital charge. Thomas had been acquitted in state court on the one homicide
count on which he was convicted in federal court.


 Beckford, Devon Dale                                  E.D. VA CR No. 3:95CR00087
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Reno                                                      Race & Gender of Vict(s) BM
another New York - Richmond cocaine connection was uncovered which involved members of a Brooklyn gang, all African-American,
who transported crack cocaine to Richmond, Virginia. The 32-count indictment charged five of the alleged members of the so-called
"Poison Clan" with capital murder in six killings, two in 1988 and four in 1994. (Devon Dale Beckford, 33, brother of Dean Beckford,
identified by the FBI as a gang leader was not arrested until July, 1997. He was charged with three murders.) Murder for hire is alleged as
an aggravating circumstance. After a seven-week trial, a jury declined to impose the death penalty on all four defendants: Dean Beckford,
32, Leonel Romeo Cazaco, 22, Claude Gerald Dennis, 28 and Richard Thomas, 22. Dean Beckford and Claude Dennis were found guilty
of the 1998 double murder. (Dennis had previously been acquitted on these charges in state court in 1989.) Cazaco and Thomas were also
convicted of a capital charge. Thomas had been acquitted in state court on the one homicide count on which he was convicted in federal
court.
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 Cazaco, Leonel                                        E.D. VA No. 3:95CR00087
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
another New York - Richmond cocaine connection was uncovered which involved members of a Brooklyn gang, all African-American,
who transported crack cocaine to Richmond, Virginia. The 32-count indictment charged five of the alleged members of the so-called
"Poison Clan" with capital murder in six killings, two in 1988 and four in 1994. Cazaco was charged with four murders. (Devon Dale
Beckford, 33, identified by the FBI as a gang leader was not arrested until July, 1997.) After a seven-week trial, a jury declined to impose
the death penalty on all four defendants: Dean Beckford, 32, Leonel Romeo Cazaco, 22, Claude Gerald Dennis, 28 and Richard Thomas,
22. Dean Beckford and Claude Dennis were found guilty of the 1998 double murder. (Dennis had previously been acquitted on these
charges in state court in 1989.) Cazaco and Thomas were also convicted of a capital charge. Thomas had been acquitted in state court on
the one homicide count on which he was convicted in federal court.


 Dennis, Claude                                        E.D. VA No. 3:95CR00087
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
another New York - Richmond cocaine connection was uncovered which involved members of a Brooklyn gang, all African-American,
who transported crack cocaine to Richmond, Virginia. The 32-count indictment charged five of the alleged members of the so-called
"Poison Clan" with capital murder in six killings, two in 1988 and four in 1994. (Devon Dale Beckford, 33, identified by the FBI as a gang
leader was not arrested until July, 1997.) After a seven-week trial, a jury declined to impose the death penalty on all four defendants: Dean
Beckford, 32, Leonel Romeo Cazaco, 22, Claude Gerald Dennis, 28 and Richard Thomas, 22. Dean Beckford and Claude Dennis were
found guilty of the 1998 double murder. (Dennis had previously been acquitted on these charges in state court in 1989.) Cazaco and
Thomas were also convicted of a capital charge. Thomas had been acquitted in state court on the one homicide count on which he was
convicted in federal court.


 Thomas, Richard                                       E.D. VA No. 3:95CR00087
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
another New York - Richmond cocaine connection was uncovered which involved members of a Brooklyn gang, all African-American,
who transported crack cocaine to Richmond, Virginia. The 32-count indictment charged five of the alleged members of the so-called
"Poison Clan" with capital murder in six killings, two in 1988 and four in 1994. Thomas was charged in four murders. (Devon Dale
Beckford, 33, identified by the FBI as a gang leader was not arrested until July, 1997.) After a seven-week trial, a jury declined to impose
the death penalty on all four defendants: Dean Beckford, 32, Leonel Romeo Cazaco, 22, Claude Gerald Dennis, 28 and Richard Thomas,
22. Dean Beckford and Claude Dennis were found guilty of the 1998 double murder. (Dennis had previously been acquitted on these
charges in state court in 1989.) Cazaco and Thomas were also convicted of a capital charge. Thomas had been acquitted in state court on
the one homicide count on which he was convicted in federal court.


 Bennett, Daniel Ray                                   C.D. CA CR No. 96-1140(A)-ER
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
an African-American drug boss and a hitman, in this first Ninth Circuit case to be authorized for death penalty prosecution, Stanley was
accused of hiring Bennett to murder a former member of Stanley's drug trafficking operation in Las Vegas, Nevada. Government court
filings indicated that the murder conspiracy was monitored by wiretap. Murder for hire is alleged as an aggravating circumstance. Both
pled guilty. Attorney General Reno required a capital prosecution.
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 Stanley, Edward                                        C.D. CA CR No. 96-1140(A)-ER
 Guilty plea                                                                     Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
an African-American drug boss and a hitman. United States v. Daniel Ray Bennett and Edward Stanley (C.D. CA CR No. 96-1140(A)). In
this first Ninth Circuit case to be authorized for death penalty prosecution, Stanley was accused of hiring Bennett to murder a former
member of Stanley's drug trafficking operation in Las Vegas, Nevada. Murder for hire is alleged as an aggravating circumstance.
Government court filings indicated that the murder conspiracy was monitored by wiretap. Both pled guilty. Attorney General Reno
required a capital prosecution.


 Cable, Donald Thomas                                   M.D. TN CR No. 3:96- 00004
 Guilty plea                                                                     Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WF
the 1995 killing of a federal grand jury investigation witness two days before her testimony. The female victim was in her early 40's and
white, as are all the defendants. Cable was the triggerman who is said to have stabbed the victim to death. Dugger hired Cable after one
David Day, the government's key witness, hired Dugger on behalf of a large-scale methamphetamine dealer, Tim Holloway. Dugger was
in poor health (a recent liver transplant) and allegedly incompetent. Day received a 20 year sentence as a government witness.


 Holloway, Tim                                          M.D. TN CR No. 3:96-00004
 Guilty plea                                                                     Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WF
the 1995 killing of a federal grand jury investigation witness two days before her testimony. The female victim was in her early 40's and
white, as are all the defendants. Cable was the triggerman who is said to have stabbed the victim to death. Dugger hired Cable after one
David Day, the government's key witness, hired Dugger on behalf of a large-scale methamphetamine dealer, Tim Holloway. Dugger was
in poor health (a recent liver transplant) and allegedly incompetent. Day received a 20 year sentence as a government witness.


 Jones, Anthony                                         D. MD CR No. WMN-96-0458
 Life sentence from jury                                                         Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
involves five killings: one in ‘94, three in ‘96, one in ‘97. Authorization was granted to seek the death penalty for three murders, including
an allegation that Jones ordered his step-brother killed from jail because he feared he was about to become a government witness. Jones
also ordered the murder, by the victim's own bodyguards, of a rival Baltimore drug dealer who had earlier attempted to arrange the murder
of Mr. Jones. Numerous other homicides, attributed to Jones, were alleged in aggravation. Murder for hire is alleged as an aggravating
circumstance. Jones was convicted in 1998, sentenced to life without release. Eight co-conspirators were involved in the murders but did
not face the death penalty. Chapman, Hill and Ross were charged in at least 2 killings. Jones was sent to the "Control Unit" at "super-
max," ADX in Florence, Colorado, where he is under severe communication restrictions for 10 years.


 Williams, Jerry                                        D. MD CR No. WMN 97-0355
 Authorization withdrawn                                                         Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BF BM
Williams' co-defendant Anthony Jones faced death penalty for three murders, including an allegation that he ordered his step-brother killed
from jail because he feared he was about to become a government witness. Williams was charged with three murders, including being the
triggerman in a single homicide. Numerous other homicides were alleged in aggravation as to Jones. The cases were severed. Jones was
convicted in 1998, and the jury recommended a life sentence. Thereafter, the government withdrew the request for the death penalty as to
Williams, who was convicted and is serving a life sentence.
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 Clary, Moses                                           D. NJ CR No. 96-576 (Rodriguez)
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) WF BM
a 19-year-old African-American defendant with a history of intellectual disability was charged with complicity because his deceased co-
conspirator shot a security guard during a robbery of an armed car in a suburban Camden, N.J. shopping mall. The male victim was black
and seventeen. A white bystander, a 14 year old girl, was accidentally shot and killed by the security guard during the robbery. Clary
accepted an offer of life in 1998, attempted to withdraw it, and was refused.


 Cuff, John                                             S.D. NY CR No. 96 CR 515 (MJW)
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BF BM
a CCE prosecution of the leaders of a drug organization which operated in the Bronx and Manhattan for a decade. Heatley, 43, ordered 14
homicides, admitting involvment in 13, ten of which were carried out by Cuff, who acted as Mr. Heatley's bodyguard and driver. Cuff had
been a housing police officer from 1982 until 1986. Heatley pled guilty in return for a life sentence. On the 1999 trial date, Cuff also pled
guilty. He also received a life sentence. Heatley has a serious history of crimes of violence, but was previously acquitted four times in
state court trials.


 Heatley, Clarence                                      S.D. NY CR No. 96 CR 515 (MJW)
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM HM
a CCE prosecution of the leaders of a drug organization which operated in the Bronx and Manhatten for a decade. Heatley, 43, ordered 14
homicides, ten of which were carried out by Cuff, a former policeman. Heatley pled guilty in return for a life sentence. On the 1999 trial
date, Cuff also pled guilty. He also received a life sentence. Heatley has a serious history of crimes of violence, but was previously
acquitted four times in state court trials.


 Ferebee, Donald                                        D. MD CR No. 96-96-2273
 Dismissal after notice by Judge                                                Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BF BM
a Baltimore drug dealer alleged to have arranged for the contract killing of a police informant who had implicated him in a prior dug-
related murder. A female bystander was also killed accidentally during the shooting. The death penalty was authorized only for the murder
of the witness/informant. The actual gunman cooperated with the government and did not face the death penalty for either of the killings.
The government also declined to seek the death penalty against the other perpetrator present at the scene of the killing. All defendants and
both victims are African-American. Attorney General Reno authorized the death penalty against Ferebe in April, 1998, and the trial was
postponed pending Ferebe's appeal since he is already serving a federal life-without-parole sentence for the initial murder. Attorney
General Ashcroft rejected a plea agreement involving a life sentence. The 4th circuit remanded for a determination as to whether the
Notice of Intent to seek the Death Penalty was filed to late. 332 F3rd 722. The Court denied rehearing. 2003 WL 221 36798. The District
Court determined that it had been filed too late and dismissed the death notice. 2005 WL 1429261.
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 Ingle, Trinity Edward                                  W.D. AR No. 6:96CR60022
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WM
two white teenagers charged with the robbery-murder of an elderly retired National Parks employee who was found shot and bound with
tape near a hiking path in Hot Springs National Park (USPS), federal land within the city of Hot Springs, Arkansas. Ingle was convicted of
the murder in 1997 after a 6-day trial; two days later a Hot Springs federal jury unanimously sentenced him to life imprisonment. Paul was
sentenced to death following a separate, eight-day trial. All involved are white.


 Paul, Jeffrey Williams                                 W.D. AR No. 6:96CR60022
 Death row - 2255                                                               Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WM
Paul is one of two white teenagers charged with the robbery-murder of an elderly white National Parks employee in Hot Springs National
Park (USPS), federal land within the city of Hot Springs, Arkansas. A Hot Springs federal jury unanimously imposed a life sentence on co-
defendant Trinity Ingle on June 6, 1997. Paul's separate trial began on June 17, 1997, and ended with a death sentence on June 25, 1997.
All involved are white. A 28 USC §2255 motion was denied without an evidentiary hearing, a ruling affirmed by the Eighth Circuit. After
his initial request to join the lethal injection litigation in the DC District was denied, Paul successfully appealed to the DC Circuit Court.


 Johnson, Darryl Alamont                                N.D. IL No. 96 CR 379
 Death Sentence Vacated and Authorization Withdrawn                             Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
a "Gangster Disciple" drug conspiracy/racketeering murder case. Two homicides were charged, one of a government confidential
informant. Co-defendant Quan Ray committed two murders on orders of Mr. Johnson. Four additional homicides were alleged in
aggravation. Murder for hire is alleged as an aggravating circumstance. Ray was sentenced to life in prison at a separate trial. Johnson's
jury recommended a sentence of death in 1997. Following a 2010 grant of sentencing relief, the government withdrew the notice of intent
to seek the death penalty in 2012.


 Ray, Quan                                              N.D. IL No. 96 CR 379
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
a "Gangster Disciple" enforcer. In 1997, a Chicago jury declined to impose the death penalty after convicting Mr. Ray of having murdered
a fellow gang drug trafficker on orders of a Gangsters Disciples' higher-up, Darryl Johnson. Murder for hire is alleged as an aggravating
circumstance. The jury found that no statutory aggravating factor had been established beyond a reasonable doubt, rejecting the
government's allegation that the murder had been committed "after substantial planning and premeditation." Johnson was sentenced to
death for the same and one additional murder.


 Kaczynski, Theodore John                               E.D. CA CR No. S-96-259
 Guilty plea at trial                                                           Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WM
the Unabomber case. The defendant faced capital indictments in two federal districts, Eastern District of California and District of New
Jersey, for terrorist mail bombings over a period of 18 years. Three men were killed, in California and New Jersey, and 29 were injured,
including one man whose arm was blown off and another who lost a hand. A plea was negotiated as opening statements were about to
commence and after a BOP psychiatrist had confirmed defense experts' findings that the former Berkeley professor suffered from paranoid
schizophrenia. Kaczynski tried, but failed, to withdraw his guilty plea. 2001 WL 114688 (9th Cir. 2001). He remains at ADX Florence.
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 Montanez, Ian Rosario                                  D. PR CR No. 96-001 (PG)
 Guilty plea                                                                    Race & Gender of Def H M
  Attorney General Reno                                                       Race & Gender of Vict(s) HM
the first death penalty case to be authorized in a Puerto Rico federal court. The Attorney General required a capital prosecution against the
alleged triggerman in a bank robbery during which a security guard was killed and several bystanders injured. Montanez pled guilty in
April 1998 to a life sentence.


 Ortiz-Velez, Felix                                     M.D. PA CR No. 3-CR-96-005 (Rambo)
 Guilty plea                                                                    Race & Gender of Def H M
  Attorney General Reno                                                       Race & Gender of Vict(s) HM
two drug-related murders, one involving torture. Murder for hire is alleged as an aggravating circumstance. Ortiz pled guilty to being an
"enforcer," acting on the instructions of Mr. Otero, who also pled guilty. Otero's homicide counts were dismissed although both received
life sentences, Otero on the drug case.


 Otero, Julio                                           M.D. PA CR No. 3-CR-96-005
 Guilty plea                                                                    Race & Gender of Def H M
  Attorney General Reno                                                       Race & Gender of Vict(s) HM
two drug-related murders, one involving torture. Murder for hire is alleged as an aggravating circumstance. Ortiz pled guilty to being an
"enforcer," acting on the instructions of Mr. Otero, who also pled guilty. Otero's homicide counts were dismissed although both received
life sentences, Otero on the drug case.


 Storey, Gregory                                        D. KS CR No. 96-40018-01-OES
 Guilty plea                                                                    Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WM
a white prison inmate who killed another white prisoner at the United States Penitentiary at Leavenworth. Storey may have had Aryan
Brotherhood ties. The death penalty was initially sought. However, the prosecution ended in a negotiated guilty plea to second degree
murder in 1997. Storey was sentenced to 327 months, to run consecutive to sentences imposed in Nevada and Colorado. He subsequently
was an unindicted co-conspirator in a 2002 nationwide Aryan Brotherhood RICO indictment in Los Angeles, in 2002, involving 40 reputed
members and associates of the Aryan Brotherhood for a string of murders and violent attacks allegedly designed to expand the power of the
white racist prison gang.


 Walter, Abram                                          D. AK CR No. F96-026 (HRH)
 Guilty plea                                                                    Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) NAF
a white survivalist, charged with the robbery murder of a native Alaskan storekeeper whose remote outpost in a roadless Alaskan
wilderness served as a U.S. Post Office. The Attorney General required a capital prosecution.
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 Allen, Billie Jerome                                 E.D. MO No. 4:97 CR 0141 ERW (TCM)
 Death row - 2255                                                             Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) WM
two black defendants charged with the cross-racial gun murder of a white bank guard during a robbery. Attorney General Reno authorized
the government to seek the death penalty on August 1, 1997. After separate trials, death sentences were returned on March 10, 1998 for
Allen and April 3, 1998 for Holder. An appeal was rejected by a divided panel of the Eighth Circuit. 247 F.3d 741 (2001). The Supreme
Court remanded in light of Ring v. Arizona, 536 U.S. 953. An en banc Eighth Circuit reversed the three-judge panel's grant of penalty
phase relief. 357 F.3d 745, 406 F.3d 940 (2005). A 28 U.S.C. §2255 motion was denied. An appeal is pending.


 Holder, Norris G.                                    E.D. MO CR No. 4:97 0141 ERW (TCM)
 Death row - 2255                                                             Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) WM
a cross-racial gun murder by two black defendants charged with the fatal shooting of a white bank guard during a robbery. Attorney
General Reno authorized the government to seek the death penalty on August 1, 1997. After separate trials, death sentences were returned
on March 10, 1998 for Allen and April 3, 1998 for Holder. An appeal was denied. 247 F.3d 741 (2001). A 2255 motion for post-
conviction relief was denied, 2008 WL 2909648, 2009 WL 5030785, and an appeal is pending.


 Barnette, Aquila Marcivicci                          W.D. NC No. 3:97CR23-P
 Death row - 2255                                                             Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) WM BF
a domestic killing. Barnette confessed to murdering a motorist during a Charlotte, North Carolina carjacking. He drove the victim's car to
Roanoke, Virginia, where he killed his former girlfriend. Barnette has a long history of domestic abuse of the second victim. The
defendant and the female victim are black; the carjacking victim was white. A Charlotte, North Carolina jury imposed the death penalty in
1998. Two years later the appeals court ordered a new sentencing trial. 211 F.3d 803 (4th Cir. 2000). Barnette was again sentenced to
death in 2002. The United States Supreme Court, in October 2005, remanded the case to the Fourth Circuit for consideration of a Batson
claim, which was ultimately denied and affirmed on appeal. A 28 USC §2255 motion is pending.


 Bobbitt, LaFawn                                      E.D. VA No. 97 CR 129
 Life sentence from jury                                                      Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) BF
two defendants were charged with the fatal shooting of an bank teller during an attempted robbery of a Nationsbank branch in Richmond,
Virginia. Both defendants and the victim are African-American. A security guard was shot and blinded during the robbery, but survived.
Trial began in 1998. The jury opted against the death penalty for both defendants.


 Jones, Rashi                                         E.D. VA No. 97 CR 129
 Life sentence from jury                                                      Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) BF
two defendants were charged with the fatal shooting of a female bank teller during an attempted robbery of a Nationsbank branch in
Richmond, Virginia. Both defendants and the victim are African-American. A security guard was shot and blinded during the robbery, but
survived. Trial began in 1998. The jury opted against the death penalty for both defendants.
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 Frank, Deric                                          S.D. NY No. 97 CR 269 (DLC)
 Guilty plea at trial                                                           Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BF
domestic killing - a 1997 intrastate kidnaping of a (former) girlfriend. The defendants assaulted her and took her to the Bronx where she
was burned alive in the trunk of her car. There were many orders of protection of the deceased due to repeated domestic violence
complaints against Frank. Both the defendants, and the victim, 24, are black. Deric Frank was authorized for a federal capital prosecution,
pled guilty and cooperated against Bailey. Bailey was sentenced to life in prison, but did not face the death penalty. Frank was sentenced
to 25 years. All involved were African-American.


 Garcia, Efraim                                        E.D. MI CR No. 97-80727
 Dismissal after notice by Judge                                                Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) WM
a gang known as the "Cash Flow Posse" charged with various racketeering crimes, including five murders and other assaults. The motive
was a dispute over gang territory. Garcia was a 29 year old Colombian. All the killings but one predate the effective date of the ‘94 act.
Garcia was the only capital defendant. He was charged with personally carrying out all five murders. Garcia was offered a plea to life,
signed a Rule 11 plea agreement but the plea agreement broke down during the colloquy in court. The United States then decided to seek
the death penalty. However, the district court dismissed the capital count (a racketeering murder) because of an insufficient "Commerce
Clause" nexus. 68 F.Supp.2d 802 (E.D. MI 1999). The government decided not to appeal.


 Holland, Charles                                      N.D. AL CR No. 96-B-0208-NE
 Guilty plea                                                                    Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WM
the 1991 killing of an informant in a drug conspiracy case who had been given a new identity and sent out of state. However, he returned
and was spotted at a flea market in Ft. Payne. The drug ring boss, Marvin Holley, and Holland kidnaped (intrastate) the victim and killed
him with a hammer. Holley's trial in 1998 resulted in a life sentence. All involved are white.


 Holley, Marvin Lee                                    N.D. AL CR No. 96-B-0208-NE
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WM
the 1991 killing of an informant in a drug conspiracy prosecution who had been given a new identity and sent out of state. However, the
government witness returned and was spotted at a flea market in Ft. Payne. The drug ring boss, Mr. Holley, and co-defendant Charles
Holland are alleged to have kidnaped the victim (intrastate) and killed him with a hammer. Holley is also alleged to have attempted to
arrange the killing of government witnesses from prison. Holley was sentenced to life in prison and is also serving several consecutive life
sentences in state prison for drug trafficking. All involved are white.


 Lam, Tanh Huu                                         E.D. CA CR No. S 97-054-WBS
 Guilty plea                                                                    Race & Gender of Def A M
  Attorney General Reno                                                      Race & Gender of Vict(s) AF
the throwing of a Molotov cocktail through a dining room window. One victim, a 9 year old Asian female, was killed. Others were
injured. The target was alleged to be a man who had an affair with Lam's wife. There were two cars seen at the time of the bombing/arson.
Authorization for Lam was initially not sought or granted. The jury deadlocked at Lam's first trial. The government then produced a new
individual who tape-recorded Lam talking about setting up another arson. The Attorney General Reno gave the go-ahead to seek the death
penalty at a retrial, but a conditional guilty plea was entered. Federal jurisdiction is based on the happenstance that an apartment building
was bombed. All involved were Vietnamese.
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 Reader, Arthur Charles                                 E.D. TX CR No. 5:97 CR 15
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BF
the abduction of a 27 year old African-American female by her 35 year old African-American boyfriend in Texarkana, Texas. After
crossing the line over into Texarkana, Arkansas, the victim was stabbed eighty four times, hit in the head with a brick and left to die. The
defendant allegedly would not tell law enforcement officials where she was because he wanted her to die.


 Wooldridge, Steven W.                                  W.D. AR CR No. 4:97 CR 40013-001
 Guilty plea                                                                    Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WF
a Ft. Smith, Arkansas interstate kidnaping, sexual attack and murder. Wooldridge asked for directions from the female victim in her front
yard in Texarkana, Arkansas. He then forced her into his vehicle and took her to a storage shed in Texas where he may have sexually
assaulted her. Eventually, Wooldridge took his victim to another location and killed her. Wooldridge confessed, denying sexual assault.
All involved are white.


 Smith, Howard L.                                       E.D. VA CR No. 97-341-A
 Lesser included conviction                                                     Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
the stabbing death of a Lorton Correctional Center inmate. The defendant was serving a 20-to-life sentence for a murder he committed ten
years previously, at age 17. Lorton is the District of Columbia prison complex, but is located in suburban Virginia. After a one-week 1998
trial, a jury in Alexandria, Virginia, rejected first-degree murder charges and convicted Smith of second-degree murder, which is not a
death-eligible offense. Although a number of Lorton murders have been prosecuted in federal court since passage of the 1994 Crime Bill,
the Smith case was the first approved for capital prosecution. Smith was sentenced as a "career offender" to life without release.


 Black, Douglas                                         D. CO No. 98-CR-196
 Guilty plea                                                                    Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WM
two "super-max", Florence, Colorado inmates, who attacked two suspected snitches. One inmate, an ex-police officer, was murdered.
Another inmate survived the attack. The stabbing was witnessed by prison staff who were assaulted when they tried to get Riddle off the
victim. The United States Attorney did not seek permission to ask for the death penalty but the Attorney General required a capital
prosecution. Riddle negotiated a 168 month sentence. Black agreed to plead to aggravated assault in return for a sentence of no more than
84 months. Black had a prior murder. Riddle had a record of crimes in and out of prison. Black's sentence was 78 consecutive months.


 Riddle, Steven                                         D. CO No. 98-CR-196
 Guilty plea                                                                    Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WM
two "super-max", Florence, Colorado inmates, who attacked two suspected snitches. One inmate, an ex-police officer, was murdered.
Another inmate survived the attack. The stabbing was witnessed by prison staff who were assaulted when they tried to get co-defendant
Riddle off the victim. The United States Attorney did not seek permission to ask for the death penalty but the Attorney General required a
capital prosecution. Riddle negotiated a 168 month cap. Black agreed to plead to aggravated assault in return for a sentence of no more
than 84 months. Black had a prior murder. Riddle had a record of crimes in and out of prison. Riddle was sentenced to 120 consecutive
months.
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 Johnson, Shaheem                                     E.D. VA CR No. 97-00314-A
 Life sentence from jury                                                      Race & Gender of Def B            M

  Attorney General Reno                                                    Race & Gender of Vict(s) BF BM
five murders of African-Americans, four males, one female, all cocaine-related murders, two in Virginia (a supplier/witness and his
girlfriend with Raheem Johnson as the triggerman), one in Maryland (drug supplier with both Raheem and Shaheem firing weapons), one
in Philadelphia (supplier/witness with Raheem Johnson as the triggerman) and another "murder for hire" in New York (drug supplier hit
ordered by both Shaheem and Raheem Johnson). Shaheem Johnson was charged with two murders, and a third was alleged in aggravation.
The two lead defendants, brothers Shaheem and Raheem Johnson, were authorized for a capital prosecution. Trial began in Alexandria in
November, 1998 and ended in life verdicts for both brothers.


 Johnson, Raheem                                      E.D. VA CR No. 97-00314-A
 Life sentence from jury                                                      Race & Gender of Def B            M

  Attorney General Reno                                                    Race & Gender of Vict(s) BF BM
five murders of African-Americans, four males, one female, all cocaine-related murders, two in Virginia (a supplier/witness and his
girlfriend with Raheem Johnson as the triggerman), one in Maryland (drug supplier with both Raheem and Shaheem firing weapons), one
in Philadelphia (supplier/witness with Raheem Johnson as the triggerman) and another "murder for hire" in New York (drug supplier hit
ordered by both Shaheem and Raheem Johnson). The two lead defendants, brothers Shaheem and Raheem Johnson, were authorized for a
capital prosecution. Trial began in Alexandria in November, 1998 and ended in life verdicts for both brothers.


 Gonzales-Lauzan, Luis                                S.D. FL No. 02-CR-20572
 Life sentence from jury                                                      Race & Gender of Def H M
  Attorney General Ashcroft                                                Race & Gender of Vict(s) HM
a murder-for-hire/informant killing case. Gonzales-Lauzan was convicted of the murder of a government witness in a federal firearms case
against his father. 18 U.S.C. §§ 924(j), 1111, 1512 and 1513. He provided a gun and a silencer and waited in another car nearby.
Wiggins, the triggerman, shot the victim at his home in order to work off a drug debt to Gonzales-Lauzan. Hernandez is charged with
having helped set up the shooting. Wiggins entered into a plea agreement to testify against Gonzales-Lauzan, who was the only one to face
the death penalty. The jury unanimously voted for a life sentence. All involved are Cuban/Americans.


 Rausini, Walder Pierre                               N.D. CA CR No. 95-0319- SI
 Guilty plea                                                                  Race & Gender of Def H M
  Attorney General Reno                                                    Race & Gender of Vict(s) WM
involves the murder of the head of a "Continuing Criminal Enterprise." Lance Estes, a 34 year old white male, had been involved in drug
trafficking for many years and had taken over a CCE, whose head had gone to prison. Charged with involvement in this CCE, Estes
worked out a deal as an informant for the government but continued to direct his drug enterprise. Rausini was alleged to be working as a
"cook" in the Estes organization, converting methamphetamine into "ice." He ordered the murder of Estes in an effort to take over Estes'
organization. A co-defendant shot Estes, whose body turned up after Labor Day 1995 in a dumpster in Oceanside with a single gunshot
wound to the head. Rausini is also accused of ordering a second murder of another member of the of the CCE because of his plans to
become a government informant. Another co-defendant was the killer in this murder. Rausini was 26 years old at the time of the murders
with which he is charged and had no serious prior convictions. Murder for hire is alleged as an aggravating circumstance. The government
did not seek the death penalty against Rausini's codefendants. Rausini is a Brazilian. The victims are both white.
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 Kauffman, Christopher                                 S.D. IA CR No. 97 Wolle
 Guilty plea                                                                    Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WF
two carjackings/murders, a bank robbery and inter-state flight by two young, white step-brothers. Two white women were murdered in
their homes and their cars were used in the robbery of $70,000 from a bank. Each brother was a triggerman. The United States Attorney
and defense counsel negotiated plea agreements specifying life sentences shortly after the Attorney General Reno required a capital
prosecution.


 McMahan, Jamie                                        S.D. IA CR No. 97 Wolle
 Guilty plea                                                                    Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WF
two carjackings/murders, a bank robbery and inter-state flight by two young, white step-brothers. Two white women were murdered in
their homes and their cars were used in the robbery of $70,000 from a bank. Each brother was a triggerman. The United States Attorney
and defense counsel negotiated plea agreements shortly after the Attorney General required a capital prosecution.


 Pena, Richard                                         E.D. LA CR No. 97-CR-145
 Guilty plea                                                                    Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) BM
the prosecution of an alleged cocaine drug lord (Richard) and his brother (Jhonny), for eight murders. Richard Pena, a 32 year old, who
became an American citizen in 1994, was a drug kingpin of a group that moved large amounts of cocaine and marijuana in Southeastern
United States. Murder for hire is alleged as an aggravating circumstance. This group involved numerous family members and a New
Orleans police officer. Richard Pena was charged with eight homicides, four approved as capital counts by the Attorney General. Pena,
himself, committed two of the murders, and ordered the death of the others. A non-capital co-defendant was an ex-police officer who
arrested one victim in August of 1995 and delivered him to Pena and two associates. His remains were found two months later. Pena pled
guilty and received a sentence of life without release.


 Gabrion, Marvin                                       W.D. MI No. 1:99-CR-76
 Death row - 2255                                                               Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF
the disappearance of an alleged rape victim before Gabrion's trial, as well as the disappearance of her 3 year old child and three men. The
bound victim was found in a lake, part of federal land, the Manistee National Forest (USFS). Attorney General Ashcroft required a capital
prosecution in this 18 U.S.C. §1111 case. All involved are white. After a remand to the district court for the presentation of additional
evidence on the issue of subject matter jurisdiction, the Sixth Circuit found subject matter jurisdiction. After a grant of sentencing phase
relief, the government sought rehearing en banc, which resulted in reversal of sentencing relief. A 28 USC §2255 motion is pending.


 Llamas, Tamara                                        E.D. NC CR No. 7:97-CR-63-1-H
 Guilty plea                                                                    Race & Gender of Def W F
  Attorney General Reno                                                      Race & Gender of Vict(s) WF
a murder-for-hire of an informant in a marijuana conspiracy. Llamas, a white female, allegedly ordered the killing of a drug informant.
The triggerman was Wakefield. The drug informant was carelessly named in a warrant, and was murdered a month later. The marijuana
conspiracy involved North and South Carolina, Texas and Oregon.
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 Wakefield, Jimmy Ray                                   E.D. NC CR No. 7:97-CR-63-1-H
 Guilty plea                                                                    Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WF
a murder-for-hire of an informant in a marijuana conspiracy. Llamas, a white female, allegedly ordered the killing of a drug informant.
The triggerman was Wakefield. The drug informant was carelessly named in a warrant, and was murdered a month later. The marijuana
conspiracy involved North and South Carolina, Texas and Oregon.


 Colon-Miranda, Andres                                  D. PR CR No. 95-029 JAF
 Dismissal after notice by Judge                                                Race & Gender of Def H M
  Attorney General Reno                                                       Race & Gender of Vict(s) HM
a judge blocked a capital trial of three Puerto Rican defendants involved in a drug gang homicide. 985 F.Supp. 36; 992 F.Supp. 82. The
government initially indicated that authorization would not be sought for a capital prosecution, but then attempted to reverse its position
seven weeks before trial. Attorney General Reno required a capital prosecution. The district court declined to continue the trial and
refused, despite the Attorney General's authorization and notice of aggravating circumstances filed shortly before trial, to permit the
government to ask for the death penalty.


 Martinez-Velez, David Samuel                           D. PR CR No. 95-029 JAF
 Dismissal after notice by Judge                                                Race & Gender of Def H M
  Attorney General Reno                                                       Race & Gender of Vict(s) HM
a judge blocked a capital trial of three Puerto Rican defendants involved in a drug gang homicide. 985 F.Supp. 36; 992 F.Supp. 82. The
government initially indicated that authorization would not be sought for a capital prosecution, but then attempted to reverse its position
seven weeks before trial. Attorney General Reno required a capital prosecution. The district court declined to continue the trial and
refused, despite the Attorney General's authorization and notice of aggravating circumstances filed shortly before trial, to permit the
government to ask for the death penalty.


 Rosario-Rodriguez, Edwin                               D. PR CR No. 95-029 JAF
 Dismissal after notice by Judge                                                Race & Gender of Def H M
  Attorney General Reno                                                       Race & Gender of Vict(s) HM
a judge blocked a capital trial of three Puerto Rican defendants involved in a drug gang homicide. 985 F.Supp. 36; 992 F.Supp. 82. The
government initially indicated that authorization would not be sought for a capital prosecution, but then attempted to reverse its position
seven weeks before trial. Attorney General Reno required a capital prosecution. The district court declined to continue the trial and
refused, despite the Attorney General's authorization and notice of aggravating circumstances filed shortly before trial, to permit the
government to ask for the death penalty.


 Kehoe, Chevy                                           E.D. AR No. LR-CR-97-243
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WF WM
the murder of a family of three (an Arkansas gun dealer, his wife and their 8 year old child) in the Fall of 1996 by white supremacists.
Chevie Kehoe faced sentencing before the jury first and was sentenced to life imprisonment. Co-defendant Lee followed and was
sentenced to death.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Lee, Daniel Louis                                      E.D. AR No. LR-CR-97-243
 Death row - 2255                                                               Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WF WM
a RICO prosecution of an organization supposedly intent upon starting a revolution. The capital crime was the murder of a family of three
(an Arkansas gun dealer, his wife and their 8 year old child) in the Fall of 1996. The defendants may have believed the gun dealer was an
ATF informant. The victims were killed by duct-taping plastic bags over their heads, handcuffing the three and throwing them in a river.
The defendants and the victims are white. Co-defendant Chevie Kehoe was charged in two additional murders as well. The defendants
were also charged with bombing the Spokane, WA city hall. Kehoe, older, whom some considered more culpable, was first sentenced to
life by the jury at a 1999 separate penalty hearing. At that point the United States Attorney attempted to withdraw the request for the death
penalty. The Attorney General was unavailable, so the Deputy Attorney General declined the request. Lee was then sentenced to death.
The next year the District Court ordered a new sentencing hearing for Lee. 89 F.Supp.2d 1017 (E.D. AR). That decision was reversed by
the Eighth Circuit. 274 F.3d 485 (2001), which later affirmed the convictions and death sentences. A 28 U.S.C. 2255 motion and appeal
were denied. Lee is currently litigating the denial of a Rule 60(b) motion.


 Abeln, Rick                                            S.D. IL CR No. 98-30022- WDS
 Guilty plea                                                                    Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WF
the 1997 murder of Debra Abeln in East St. Louis, Illinois, in front of her 12 year old son. Richard Abeln and co-defendant Guy
Westmoreland were indicted for conspiracy to distribute marijuana and cocaine, as well as the killing of Mrs. Abeln. Mr. Abeln confessed
to hiring Deandre Lewis through Westmoreland to kill his wife. It was alleged that Mrs. Abeln was killed to cover up drug trafficking.
Deandre Lewis has been identified as the gunman. Lewis' motivation was said to be a drug debt. Westmoreland was initially not
authorized for a capital prosecution, but after Abeln's guilty plea, Westmoreland and Lewis were charged in a superseding capital
indictment. Murder for hire is alleged as an aggravating circumstance. All involved are Caucasian, except Lewis, who is African-
American.


 Westmoreland, Guy                                      S.D. IL CR No. 98-30022- WDS
 Authorization withdrawn                                                        Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WF
the murder of Debra Abeln in East St. Louis, Illinois, in front of her 12 year old son. Co-defendant Richard Abeln confessed to hiring
Deandre Lewis, 23, through Westmoreland, to kill his wife. Murder for hire is alleged as an aggravating circumstance. Abeln faced the
death penalty but pled guilty and received a life sentence. All involved are white, except Lewis, who is African-American.


 Lewis, Deandre                                         S.D. IL CR No. 98 30022 WDS
 Authorization withdrawn                                                        Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) WF
the murder of Debra Abeln in East St. Louis, Illinois, in front of her 12 year old son. Co-defendant Richard Abeln confessed to hiring
Deandre Lewis, 23, through Westmoreland, to kill his wife. Abeln faced the death penalty but pled guilty and received a life sentence.
Murder for hire is alleged as an aggravating circumstance. All involved are white, except Lewis, who is African-American.
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 Rollack, Peter                                        S.D. NY CR No. S4 97 CR 1293
 Guilty plea                                                                   Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) HM BM
eight racketeering murders between 1994 and 1997 by a gang headed by Rollack called "Sex, Money and Murder" which later affiliated
itself with "the Bloods." Rollack approved a Thanksgiving 1997 double killing and personally killed four others, including a witness to
another homicide. One victim in the Thanksgiving shooting was thought to be a witness in a North Carolina drug enterprise prosecution
against Rollack, but actually was not. Only Rollack was targeted, and authorized for, a federal capital prosecution. All involved were
African-American, or Hispanic. On January 3, 2000, just before jury selection was to begin, the defendant entered a guilty plea in
exchange for a life sentence. He was sent to "super-max," with severe restrictions on who he may communicate with.


 Perez, Luis Gines                                     D. PR CR No. 98-164 (DRD)
 Authorization withdrawn                                                       Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) HM
drug smuggling and a single homicide of a co-conspirator. The defendants are Hispanic, college educated businessmen. There was a joint
plan to kill and Gines was alleged to have shot the victim on Melendez's boat and together they dumped the body. Authorization was
withdrawn when a key government witness flunked a polygraph on whether he was the actual killer.


 Perez, Ricardo Melendez                               D. PR CR No. 98-164 (DRD)
 Authorization withdrawn                                                       Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) HM
drug smuggling and a single homicide of a co-conspirator. The defendants are Hispanic, college educated businessmen. There was a joint
plan to kill and Gines was alleged to have shot the victim on Melendez's boat and together they dumped the body. Authorization was
withdrawn when a key government witness flunked a polygraph on whether he was the actual killer.


 Dean, Chris                                           D. VT CR No. 2:98M0021
 Guilty plea                                                                   Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WM
a mail bomb which killed a 17 year old Vermont man and disfigured his mother. The bombing was motivated by an internet dispute
involving the deceased's fraudulent behavior. All involved are white. The United States Attorney did not request that this be a capital
prosecution, but the Attorney General required a capital prosecution. Main Justice disagreed. Both the defendant and his victim were
white. Dean pled guilty in September of 1999 and was sentenced to life.


 Santiago, Jose                                        S.D. NY CR No. 98-CR- 290
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) HM
two- count RICO indictment charging murder in aid of racketeering. The defendants are members of the Latin Kings. Hector Colon put
out a "terminate on sight order on the deceased." The victim had stabbed Colon after an argument over a girl. Santiago entered the victim's
apartment alone, with a gun provided by another gang member, Angel Lugo, and shot the victim in front of his family, including two young
children. Colon was killed in September of 1999 in a shootout with the FBI. The Attorney General required a capital prosecution against
Santiago alone. The government first announced that Lugo (the superior who ordered the killing) would face the death penalty but decided
to file a "notice" only as to Santiago. Santiago agreed to a 50 year sentence.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Green, Roy                                            C.D. CA CR No. 98-337-CBM
 Incompetent after authorization                                                Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) WM
a cross-racial "law enforcement officer victim" - a BOP inmate prison murder of a guard at Lompoc FCI in California. Green, 40, an
African-American, was indicted for the stabbing death of a 29-year-old white correctional officer in 1997. He is also charged with using
the knife to assault four other officers who were wounded in the attack. Green was serving a 20-year sentence for drug possession in a
Missouri case when he was sentenced to serve additional time for assaulting two officers at a Wisconsin prison. Green has convictions
dating back to the 1970's for attempted murder, robbery, burglary and assaulting a police officer with a deadly weapon. He was found
incompetent twice.


 Chong, Richard Lee Tuck                               D. HI CR No. 98-00416 ACK
 Guilty plea                                                                    Race & Gender of Def A M
  Attorney General Reno                                                      Race & Gender of Vict(s) OM
a defendant originally indicted in the State of Hawaii for murder and various firearms violations. He fled the jurisdiction. A federal
prosecution under 18 U.S.C. §924(j), use of a firearm to commit a drug related murder, was filed. The 47 year old Chong has a lengthy
record of convictions for serious offenses and a violent prison record, including sodomy/assault with an ice pick and starting a fire. He had
only been recently released when he allegedly shot the victim over a $100 drug debt. The defendant is Asian and the victim is Hawaiin.
Chong entered a guilty plea and was sentenced to life in prison.


 Lane, Robert                                          D. MD CR No. L-98-73
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) WM
a series of carjackings, culminating in a murder where the 86 year old victim apparently resisted and was beaten with a hammer or lead
pipe on the head and killed by Lane who had been released from prison after abducting a woman. Lane faced the death penalty.


 O'Driscoll, Michael                                   M.D. PA No. 4-CR-01-277
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WM
the stabbing and killing of an inmate at USP Allenwood in 1997. There were half a dozen correctional officers who witnessed the end of
the stabbing. Both the defendant and victim are white.


 McKelton, Antonio                                     E.D. MI CR No. 98-80348
 Innocent                                                                       Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BM
a bank robbery in which an employee was killed while servicing an ATM machine. McKelton was serving a state sentence for the armed
robbery of a jewelry store and was suspected in six other robberies at jewelry stores. McKelton's fingerprint was on the clip inside the gun.
The black victim had fired one shot off as he dove to the ground. McKelton, also a black man, suffers from Hodgkin's disease. The
defense and the prosecutor jointly petitioned the Attorney General's Committee to withdraw the death penalty request. The request was
first denied but was eventually granted. The indictment was later dismissed when additional evidence was uncovered. Two others were
subsequently charged.
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 Stitt, Richard Thomas                                 E.D. VA No. 2:98CR47
 Death Sentence Vacated and Authorization Withdrawn                             Race & Gender of Def B             M

  Attorney General Reno                                                      Race & Gender of Vict(s) BM
three murders and other attempted homicides committed by co-defendants on Stitt's urging. Authorization to seek the death penalty was
granted by Attorney General Reno only for Stitt. Four co-defendants did not face the death penalty. Stitt received a sentence of death in
1998 after a joint trial with three of the non-capital codefendants. He has a lengthy record of assaultive conduct. An appeal was rejected
by the Fourth Circuit. 250 F.3d 878 (5/25/01). Penalty phase relief was granted in 2255 review on a claim of ineffective assistance of
counsel. 369 F.Supp.2d 679 (ED VA 2005). The government withdrew the notice of intent to seek the death penalty in 2010.


 Bullock, Joseph                                       E.D. VA No. 3:98CR150
 Guilty plea                                                                    Race & Gender of Def B             M

  Attorney General Reno                                                      Race & Gender of Vict(s) BM
another Richmond, multi-defendant, murder, drug conspiracy prosecution ... this one involving four murders in 1993 and 1994. Bullock
was charged in three murders and was the only defendant who faced the death penalty. Hickman, Lightfoot and Weeks did not.


 Valle-Lassalle, Victor Manuel                         D. PR CR No. 97-284 (JAF)
 Guilty plea                                                                    Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) HM
a large scale drug conspiracy and two 1996 killings by Valle-Lassalle and one by the others in 1996. The second was a witness elimination
-- the government witness was cut up with a machete. The United States Attorney requested permission to seek the death penalty only
against Valle-Lassalle and Rodriguez-Marrero, and the Attorney General required that they also seek the execution of Nieves-Alonso and
Pena-Gonzales. Murder for hire is alleged as an aggravating circumstance. All involved are Hispanic. Valle-Lassalle received a 40 year
sentence.


 Marrero, Jose Rodriguez                               D. PR CR No. 97-284 (JAF)
 Authorization withdrawn                                                        Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) HM
a large scale drug conspiracy and two 1996 killings by Valle-Lassalle and one by the others in 1996. The second was a witness elimination
-- the government witness was cut up with a machete. The United States Attorney requested permission to seek the death penalty only
against Valle-Lassalle and Rodriguez-Marrero, but the Attorney General required that the USAO also seek the execution of Nieves-Alonso
and Pena-Gonzales. Murder for hire is alleged as an aggravating circumstance. All involved are Hispanic. Rodriguez-Marrero is
intellectually disabled and authorization to seek the death penalty was withdrawn.


 Pena-Gonzalez, Nicholas                               D. PR CR No. 97-284 (JAF)
 Authorization withdrawn                                                        Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) HM
a large scale drug conspiracy and two 1996 killings by Valle-Lassalle and one by the others in 1996. The second was a witness elimination
-- the government witness was cut up with a machete. The United States Attorney requested permission to seek the death penalty only
against Valle-Lassalle and Rodriguez-Marrero, and the Attorney General required that they also seek the execution of Nieves-Alonso and
Pena-Gonzales. Murder for hire is alleged as an aggravating circumstance. All involved are Hispanic. After reviewing evidence that
Pena-Gonzales is intellectually disabled, the government withdrew the death notice against him.
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 Nieves-Alonso, Heriberto                              D. PR CR No. 97-284 (JAF)
 Guilty plea                                                                    Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) HM
a large scale drug conspiracy and two 1996 killings by Valle-Lassalle and one by the others in 1996. The second was a witness elimination
-- the government witness was cut up with a machete. The United States Attorney requested permission to seek the death penalty only
against Valle-Lassalle and Rodriguez-Marrero, and the Attorney General required that they also seek the execution of Nieves-Alonso and
Pena-Gonzales. Murder for hire is alleged as an aggravating circumstance. All involved are Hispanic.


 Dhinsa, Gurmeet Singh                                 E.D. NY CR No. 97-672 (S-3) (ERK)
 Life sentence from jury                                                        Race & Gender of Def I             M

  Attorney General Reno                                                      Race & Gender of Vict(s) OM
RICO murders and a murder for hire. A wealthy Indian businessman led a racketeering enterprise which killed two. Murder for hire was
an aggravating circumstance.


 Glover, Cody                                          D. KS CR No. 98-10059-01-MLB
 Guilty plea                                                                    Race & Gender of Def B             M

  Attorney General Reno                                                      Race & Gender of Vict(s) WM
another Kansas Hobbs Act prosecution involving a robbery/murder in a convenience store. Glover, who is black, confessed to entering the
store, demanding money and then attempting to execute the two white store clerks who did not resist, killing one employee and critically
wounding a second. Co-defendant Mark Holley admitted he was to receive part of the robbery proceeds for being the getaway driver.
Holley was not authorized for a capital prosecution but Glover faced the death penalty for use of a gun during a crime of violence, although
the United States Attorney apparently did not request authority to seek Glover's execution. The Attorney General required a capital
prosecution. Glover pled guilty in April 1999 and received a life sentence.


 Locust, Jeremiah                                      W.D. NC No. 2:98CR185
 Authorization withdrawn at trial                                               Race & Gender of Def NA M
  Attorney General Reno                                                      Race & Gender of Vict(s) WM
the killing of 36 year old, white, National Park Service ranger for the Great Smoky Mountains National Park in 1998 by a Native
American who was intoxicated. Locust was threatening visitors to the park with a rifle. Kolodski and other park rangers responded.
(Locust fired at another ranger's car smashing the windshield.) Kolodski was wearing a bullet proof vest but the single shot grazed his vest
before entering his chest and wounding him fatally. The jury rejected a premeditation theory and the government withdrew its request for
the death penalty.


 Kee, Charles Michael                                  S.D. NY CR No. 98-CR-778
 Guilty plea                                                                    Race & Gender of Def B             M

  Attorney General Reno                                                      Race & Gender of Vict(s) BM
a Bronx gang member who attempted to extort money to repay a debt by keeping a female juvenile hostage. A few days later, the girl's
boyfriend was murdered by a juvenile in Kee's presence. Kee was a "Bloods" gang leader, organizing juveniles to commit crimes. The
United States Attorney did not request permission to seek the death penalty, but the Attorney General required a capital prosecution.
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 Aiken, Ian Orville                                    S.D. FL CR No. 97-233-CR- GOLD
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BM
racketeering indictment against a gang known as the "Moscow Posse," who engaged in acts of violence, including murder, robbery,
kidnapping, witness tampering, narcotics trafficking and extortion. Ian Aiken, the kingpin, and Oliver Lyons were accused of murdering
Derrick Christian in New York City on October 27, 1995. Roland Aiken, Daniel Aiken and Eric Morris are accused of gunning down
Desmond LaTouch in a Florida parking lot the next day, at Ian Aiken's request. Aiken was charged with two murders and alleged with
other murders in aggravation. Aiken also faced state murder charges in Miami. (The Moscow Posse was being investigated by authorities
since the massacre at the Taste of the Islands restaurant, where four people died and 18 others were wounded in a gang shootout in August
of 1992.) It is alleged in aggravation that Aiken was involved in a total of four murders, an attempted murder, a burglary, a robbery and a
kidnapping. There may have been as many as 15 homicides alleged. Only Aiken faced the death penalty.


 Peoples, Cornelius                                    W.D. MO CR No. 00 CR 395
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) WM
a cross-racial murder of a federal government witness. Peoples, 24, conspired with co-defendant Lightfoot to prevent the victim from
testifying at Lightfoot's federal trial on charges of bank robbery. Lightfoot contracted the killing of his roommate for becoming a
government witness. The victim, 33, was found dead of gunshot wounds in his home in Kansas City. He contacted government witness,
Anthony Hunter, who contacted Barfield who hired Haskell, the triggerman. Barfield did not face the death penalty and was acquitted.
Haskell was sentenced to life in prison. All defendants are black. The victim is white. After Lightfoot was sentenced to life in prison, the
government withdrew its request for the death penalty for Peoples. The Eighth Circuit reversed the convictions and the government again
sought the death penalty. 250 F.3d 630 (2001). An appeal was rejected. 360 F.3d 892. Peoples entered into a plea agreement involving
cooperation and was sentenced to 20 years, later reduced to 15 years.


 Lightfoot, Xavier Lamar                               W.D. MO No. 00 CR 395
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) WM
a cross-racial murder of a federal witness. Co-defendant Peoples, 24, conspired with Lightfoot to prevent the victim from testifying at
Lightfoot's federal trial on charges of bank robbery. The victim, 33, was Lightfoot's roommate and was found dead of gunshot wounds in
their rental home in Kansas City. Peoples acted as a go-between (along with co-defendant Barfield) with the professional hit man (Haskell)
who committed the murder which Lightfoot arranged from federal prison. Murder for hire is alleged as an aggravating circumstance. All
defendants are black. The victim is white. After Lightfoot was sentenced to life in prison, the government withdrew its request for the
death penalty for Peoples. The Eighth Circuit reversed the convictions and the government again sought the death penalty. 250 F.3d 630
(2001). A "double jeopardy" appeal was rejected. 360 F.3d 892 (8th Cir. 2004).


 Hargrove, Demetrius R.                                D. KS No. 2:03-CR-20192-CM-DJW
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF WM BM
three murders by an African-American federal prisoner already serving a 35 year sentence for kidnapping and use of a firearm, at the
United States Penitentiary in Leavenworth . One of the victims was a potential federal witness. Prosecutors claim Hargrove killed two
Leavenworth residents Elmer Berg and Misty Castor, a brother and a sister, in February of 1998 during a drug trafficking crime. They say
he also murdered an informant, Tyrone Richards, also of Leavenworth, in June 1998 to prevent him from testifying at a federal trial. Berg
and Castor were white, Richards and Hargrove black.
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 Burgett, James Harold                                  W.D. TN CR No. 98-20160- G
 Guilty plea                                                                     Race & Gender of Def W M
  Attorney General Reno                                                        Race & Gender of Vict(s) WF
a witness killing. Burgett killed his ex-wife because she helped authorities arrest him for making pornographic tapes of his 3 year old
daughter. When Burgett found out she secretly tape-recorded him, he shot and killed Diane Wilcox and wounded his 18 year old step-
daughter while on bail awaiting a 27 months prison term for child pornography. State capital charges were dismissed although Burgett pled
guilty in a separate statutory rape state case. Both Burgett and Wilcox are white. Burgett pled guilty and was sentenced to life in prison.


 Al-'Owhali, Mohamed Rashed Daoud                       S.D. NY No. S6 98 CR 1023
 Life sentence from jury                                                         Race & Gender of Def AR M
  Attorney General Reno                                                        Race & Gender of Vict(s) WF +
accomplice of Osama bin Ladin, the organizer of two terrorist bombings of American embassies in Africa. The 1998 bombings in Kenya
and Tanzania killed 224 people (11 in Tanzania), including 12 Americans, and more than 5,000 people injured. Al-'Owhali was a 21 year
old Saudi citizen who was arrested in Nairobi after the Kenya bombing. He is a member of al-Qaida, an international terrorist organization,
led by bin Laden, a Saudi millionaire, who issued various "fatwahs" against the United States. Bin Laden was killed in a 2011 military raid
in Pakistan. Al-'Owhali was ordered to create a diversion for the Kenya bomb by throwing grenades. Mohamed rented the house where
the Tanzania bomb was made. The 12 dead Americans included 4 blacks, 4 whites and 1 Asian. The other victims were mostly black
Africans.


 Mohamed, Khalfan Khamis                                S.D. NY No. S6 98 CR 1023
 Life sentence from jury                                                         Race & Gender of Def AR M
  Attorney General Reno                                                        Race & Gender of Vict(s) WF +
accomplice of Osama bin Ladin, the organizer of two terrorist bombings of American embassies in Africa. The 1998 bombings in Kenya
and Tanzania killed 224 people (11 in Tanzania), including 12 Americans, and more than 5,000 people injured. He is a member of al-
Qaida, an international terrorist organization, led by bin Laden, a Saudi millionaire, who issued various "fatwahs" against the United States.
Bin Laden was killed in a 2011 military raid in Pakistan. Al-'Owhali was ordered to create a diversion for the Kenya bomb by throwing
grenades. Mohamed rented the house where the Tanzania bomb was made. The 12 dead Americans included 4 blacks, 4 whites and 1
Asian. The other victims were mostly black Africans. He remains at ADX Florence.


 Lawrence, Jonathan Huey                                N.D. FL CR No. 3:98CR73 (RV)
 Guilty plea                                                                     Race & Gender of Def W M
  Attorney General Reno                                                        Race & Gender of Vict(s) WM
an apparently motiveless murder on federal property, Outlying Field, a Naval Air Station helicopter training area. The defendants met
while in a state prison mental health facility. The government's theory was that this was a thrill killing. Rodgers shot a man through a
window a month later. He later plead guilty to assault. All parties are white. The Attorney General required a capital prosecution. Both
Lawrence and Rodgers pled guilty in exchange for the government's agreement not to seek the death penalty. Both subsequently received
the death penalty in state court after pleading guilty to shooting an 18 year old woman and cutting off a leg and storing it in a freezer. Both
received life sentences in federal court for the murder of the state victim's intellectually disabled cousin. The two victims were found in
shallow graves a few miles apart. Satanic and Klan material was found in the trailer the former mental patients shared.
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 Rodgers, Jeremiah Martel                               N.D. FL CR No. 3:98CR73 (RV)
 Guilty plea                                                                    Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WM
an apparently motiveless murder on federal property, Outlying Field, a Naval Air Station helicopter training area. The defendants met
while in a state prison mental health facility. The government's theory was that this was a thrill killing. Rodgers also shot a man through a
window a month later. He later plead guilty to assault. All parties are white. The Attorney General required a capital prosecution. Both
Lawrence and Rodgers pled guilty in exchange for the government's agreement not to seek the death penalty. Both subsequently received
the death penalty in state court after pleading guilty to a separate incident involving a gun murder of an 18 year old woman and cutting off
a leg and storing it in a freezer. 846 So.2d 440 (Fla. 2003); 2006 WL 1766734 (Fla.) Both received life sentences in federal court for the
murder of the state victim's intellectually disabled cousin. The two victims were found buried in shallow graves a few miles apart. Satanic
and Klan material was found in the trailer the former mental patients shared.


 Gomez, Edsel Torres                                    D. PR CR No. 98-72
 Guilty plea                                                                    Race & Gender of Def H M
  Attorney General Reno                                                       Race & Gender of Vict(s) HM
seven murders in a cocaine and heroin trafficking conspiracy. In the "Cayey Massacre," four men were tortured and murdered. Later,
three other men were shot and killed in two incidents. Gomez, one of Puerto Rico's major drug dealers, agreed, in concert with another
drug dealer, to eliminate various competitors who were trying to take over Gomez's market. Gomez was charged with four of the murders
and was the only defendant authorized for a capital prosecution. Three co-defendants, including one accused of murders in 1991 and 1993,
did not face the death penalty. Murder for hire is alleged as an aggravating circumstance. All persons involved are Latino.


 Brown, Ricky Lee                                       N.D. WV No. 1:98CR34
 Dismissal after notice by Judge                                                Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WF WM
arson/murder by their parents of five children, after an insurance policy was issued on the dwelling and the Brown's children. Federal
charges were based on the use of the mail and phones. The district court declined to make a pretrial determination on Ricky Brown's
intellectual disability claim. However, the capital counts were dismissed after the Supreme Court's decision in United States v. Jones, 592
U.S. 848 (2000). After a non-capital trial, the Browns were acquitted. Ables pled guilty and became a government witness. All involved
are Caucasian. State charges were also filed.


 Brown, Barbara M.                                      N.D. WV CR No. 1:98CR34
 Dismissal after notice by Judge                                                Race & Gender of Def W F
  Attorney General Reno                                                       Race & Gender of Vict(s) WF WM
arson/murder by their parents of five children, after an insurance policy was issued on the dwelling and the Brown's children. Federal
charges were based on the use of the mail and phones. However, the capital counts were dismissed after the Supreme Court's decision in
United States v. Jones, 592 U.S. 848 (2000). After a non-capital trial, the Browns were acquitted. Ables pled guilty and became a
government witness. All involved are Caucasian. State charges were also filed.
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 Ables, Janette A.                                      N.D. WV CR No. 1:98CR34
 Dismissal after notice by Judge                                                Race & Gender of Def W F
  Attorney General Reno                                                       Race & Gender of Vict(s) WF WM
arson/murder by their parents of five children, after an insurance policy was issued on the dwelling and the Brown's children. Federal
charges were based on the use of the mail and phones. However, the capital counts were dismissed after the Supreme Court's decision in
United States v. Jones, 592 U.S. 848 (2000). After a non-capital trial, the Browns were acquitted. Ables pled guilty and became a
government witness. All involved are Caucasian. State charges were also filed.


 Finley, James A.                                       W.D. NC No. 4:98CR243
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Reno                                                       Race & Gender of Vict(s) WF WM
the murder of two campers at a national park by a young man with a history of drug abuse but no violence. The crime may have been a
robbery\murder. All parties are white. Mitigation involved Finley's drug abuse and depression. The defendant was sentenced to life after
an April 1999 trial.


 Gilbert, Kristin                                       D. MA CR No. 98-30044-MAP
 Life sentence from jury                                                        Race & Gender of Def W F
  Attorney General Reno                                                       Race & Gender of Vict(s) WM
the murder of four patients at a Department of Veterans Affairs Hospital, on federal property, and the attempted killing of three others. Ms.
Gilbert, 31, used epinephrine, a drug that can overstimulate the heart, on her patients. Federal prosecutors said Gilbert murdered one
patient, a 41-year-old invalid, after asking a supervisor if she could "leave early if he died." All involved are Caucasian. The jury
deadlocked and Gilbert was sentenced to life in prison.


 Tello, Plutarco                                        W.D. MO No. 98- 00311-01/05-CR-W-2
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) HM
four Colombians charged in a drug related murder. The alleged ringleader, Hinestroza, was a fugitive who was eventually arrested and
received a life sentence at a separate trial. Hinestroza and his gang sold cocaine in the Kansas City area. The victim and his nephew (who
sold cocaine for the gang) stole $240,000 from them. The defendants tied up, interrogated, duck taped and shot both victims. The nephew
lived, escaped and identified the defendants. Sinisterra shot and killed one victim. Ortiz or Tello shot the surviving victim. Sinisterra and
Ortiz were sentenced to death. The jury deadlocked on punishment for Tello, and he was sentenced to life in prison.


 Hinestroza, Edwin R.                                   W.D. MO No. 98- 00311-01/05-CR-W-2
 Life sentence from jury                                                        Race & Gender of Def H M
  Attorney General Gonzales                                                   Race & Gender of Vict(s) HM
four Colombians charged in a drug related murder. The alleged ringleader, Hinestroza, was a fugitive who was eventually arrested and
received a life sentence at a separate trial. The victim and his nephew (who sold cocaine for the gang) stole $240,000 from them. The
defendants tied up, interrogated, duck taped and shot both victims. The nephew lived, escaped and identified the defendants. Sinisterra
shot and killed one victim. Ortiz or Tello shot the surviving victim. Sinisterra and Ortiz were sentenced to death. The jury deadlocked on
punishment for Tello, and he was sentenced to life in prison.
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 Ortiz, Arboleda                                        W.D. MO No. 98- 00311-01/05-CR-W-2
 Clemency                                                                       Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) HM
four Colombians charged in a drug related murder. The alleged ringleader, Hinestroza, was a fugitive who was eventually arrested and
received a life sentence at a separate trial. The victim and his nephew (who sold cocaine for the gang) stole $240,000 from them. The
defendants tied up, interrogated, duct taped and shot both victims. The nephew lived, escaped and identified the defendants. Sinisterra
shot and killed one victim. Ortiz or Tello shot the surviving victim. Sinisterra and Ortiz were sentenced to death. The jury deadlocked on
punishment for Tello, and he was sentenced to life in prison. Although not litigated at trial, Ortiz has a full scale I.Q. of 54. A 2255
motion for post-conviction relief was denied, after an evidentiary hearing. An appeal was pending when President O’Bama granted
clemency.


 Sinisterra, German                                     W.D. MO No. 98- 00311-01/05-CR-W-2
 Died Before Execution                                                          Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) HM
four Colombians charged in a drug related murder. The alleged ringleader, Hinestroza, was a fugitive who was eventually arrested and
received a life sentence at a separate trial. Hinestroza and his gang sold cocaine in the Kansas City area. The victim and his nephew (who
sold cocaine for the gang) stole $240,000 from them. The defendants tied up, interrogated, duck taped and shot both victims. The nephew
lived, escaped and identified the defendants. Sinisterra shot and killed one victim. Ortiz or Tello shot the surviving victim. Sinisterra and
Ortiz were sentenced to death. The jury deadlocked on punishment for Tello, and he was sentenced to life in prison. A 2255 motion for
post-conviction relief was denied without a hearing. This ruling was reversed on appeal and remanded for an evidentiary hearing. While
the case was pending 2255 proceedings, Sinisterra died.


 Bass, John                                             E.D. MI CR No. 97-80235
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Reno                                                       Race & Gender of Vict(s) BM
eleven death eligible defendants who were charged in a four victim (continuing criminal enterprise) Detroit drug/murder case under 21 U.S.
C. §848(a)(1)(A). Of the eleven, only Bass was chosen to face a federal capital prosecution. All involved are African-American. A
pretrial appeal involved the issue of discovery of Department of Justice charging practices in capital cases. In a per curiam opinion, the
United States Supreme Court reversed the order granting discovery. United States v. Bass, 122 S.Ct. 2389 (2002). John Bass and his
brother Patrick allegedly started a drug gang called the "Dog Pound" (because members owned many pit bulls), which sold crack in
Michigan and Ohio. John Bass is charged with arranging two murders - of his brother and a rival and two other murders. All involved are
black.
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 Edelin, Tommy                                         D. DC CR No. 98-264
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) BM
a drug conspiracy, racketeering, murder CCE prosecution. Tommy Edelin faced the death penalty alone among many capital eligible
defendants, including his father. Edelin, 30, was charged with ordering 14 murders and attempting to have another dozen killed during the
1990's, in his role as the so-called "drug kingpin" of the "1-5 Mob". Murder for hire is alleged as an aggravating circumstance. The gang
was charged with the shooting of a D.C. police officer and in another incident in which three people were shot while attending a crowded
neighborhood picnic. One victim was shot several times while returning from a prom with his girlfriend. Two teenagers were targeted by
mistake on their way to a church Christmas Party. Edelin was acquitted of this double killing by co-defendant Bostick. Much of the
violence stemmed from a turf battle with members of the "Stanton Terrace Crew," which is now essentially out of business after numerous
members were killed or convicted of first-degree murder. Edelin was convicted of four murders, including paying a hit man to kill a 19
year old who alleged robbed an associated. 11 jurors deliberated 3 hours before voting for a life sentence. The capital charge was a
conviction of murder for hire of a 14 year old who allegedly robbed an associate of Tommy Edelin. Edelin was born as a result of a brief
sexual encounter to a convicted drug addict. He had an abusive, deprived, depraved childhood in a crime infested neighborhood. This was
the first death penalty trial in the District of Columbia since the last execution in 1957. D.C. voters rejected the death penalty in 1992.


 Higgs, Dustin                                         D. MD CR No. PJM-98- 0502
 Death row - 2255                                                              Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) BF
the January 1996 triple intrastate kidnapping/murder of three black females from D.C. Patuxent Wildlife Research Center (USFW), federal
property. Haynes, 20, confessed that he fired the shots. He said Higgs, 26, gave him the gun and told him to do it after an argument with
the women. The defendants are African-American and were involved in another shooting six weeks before. Haynes’ jury deadlocked and
he was sentenced to life in prison. Higgs was sentenced to death by an all male jury at a separate, subsequent trial. The government
suggested a witness killing motive at this trial and alleged Higgs plotter to kill a government witness and/or his family. He was already
serving a 17 year sentence on a drug conviction. All involved are African-American. All post-conviction appeals have been denied.


 Haynes, Willis                                        D. MD CR No. PJM-98- 0520
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) BF
the January 1996 triple intrastate kidnapping/murder of three black females from D.C. Patuxent Wildlife Research Center (USFW), federal
property. Haynes has confessed three time, blaming Higgs the first two. A third defendant, Victor Gloria, also confessed and is considered
an accessory after the fact. The government sought the death penalty for both Haynes and Higgs. They were involved in another shooting
six weeks before. Haynes was sentenced to life, Higgs to death, at separate trials. All involved are African-American.


 Clemente, Louis                                       M.D. FL CR No. 98-436 CRT 26B
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Reno                                                     Race & Gender of Vict(s) HM
the murder of two suppliers to whom Clemente owed $35,000 for methamphetamine. The government had initially sought the death
penalty against Clemente, and had said they would seek the death penalty against the two shooters, only one (Hernandez-Miranda) of
whom was arrested. Duran and Krammer claim they were outside when the shooters went into the victims' house. The shooters disposed
of the bodies in an orange grove. Clemente allegedly provided the bleach to clean the house and paid the shooters, who fled. Duran has an
assault conviction. Clemente has claimed that Duran, his uncle, is the main instigator of the murder.
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 Woody, Charles                                       C.D. CA CR No. 99-84-AHM
 Guilty plea                                                                  Race & Gender of Def H M
  Attorney General Reno                                                     Race & Gender of Vict(s) HM
one of three related Mexican Mafia cases. A previous case, involving 12 murders and attempted murders, United States v. Alex Aguirre, et
al.(C.D. CA CR 95-345(A)-RSWL) was not prosecuted as a death penalty case. The Attorney General required a capital prosecution
against Woody. One defendant in the previous was found not guilty and he is said to have been killed by Woody, 28, in a generational
power struggle. Woody was also involved in several murder conspiracies.


 Martinez, Mariano                                    C.D. CA CR No. 99-83-(A)-DT
 Life sentence from jury                                                      Race & Gender of Def H M
  Attorney General Reno                                                     Race & Gender of Vict(s) HM
involves defendants in one of three related Mexican Mafia prosecutions. "Chuy" Martinez, 41, is a defendant in one indictment, and the
target of a murder plot in another. There are a total of four murders and 13 conspiracies to commit murder charged. Three men, one a drug
dealer and two innocent bystanders, were killed in a Monticello autobody shop. Martinez, head of a drug organization orchestrated the
killing using a walkie-talkie. Max Torvisco, once Martinez's right hand man, obtained a plea agreement. He admitted ordering 140
murders and planning to kill Martinez who had survived a 1997 assassination attempt. Wiretaps show Martinez ordering hits on numerous
targets.


 Castillo, Mario                                      C.D. CA CR No. 99-83-(A)-DT
 Acquittal                                                                    Race & Gender of Def H M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) HM
involves murder charges against two co-defendants of Mariano Martinez who were approved for a capital prosecution while Martinez was
on trial. Jacobo, 21, and Castillo, 22, were charged as the triggermen in a November 1998 triple slaying, allegedly by the Mexican Mafia,
La Eme (Spanish for The M). Three men, one a drug dealer and two innocent bystanders, were killed in a Monticello autobody shop.
After three months of trial, the government withdrew its notice of intent to seek the death penalty after the Court threatened to bar the
testimony of two witnesses negligently not discovered or disclosed before trial. 18 U.S.C. § 3432. The witnesses testified but the jury
acquitted both defendants. The trial lasted 6 months. All involved are Hispanic.


 Jacobo, Gerardo                                      C.D. CA CR No. 99-83-(A)-DT
 Acquittal                                                                    Race & Gender of Def H M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) HM
involves murder charges against two co-defendants of Mariano Martinez who were approved for a capital prosecution while Martinez was
on trial. Jacobo, 21, and Castillo, 22, were charged as the triggermen in a November 1998 triple slaying, allegedly by the Mexican Mafia,
La Eme (Spanish for The M). Three men, one a drug dealer and two innocent bystanders, were killed in a Monticello autobody shop.
After three months of trial, the government withdrew its notice of intent to seek the death penalty after the Court threatened to bar the
testimony of two witnesses negligently not discovered or disclosed before trial. 18 U.S.C. § 3432. The witnesses testified but the jury
acquitted both defendants. The trial lasted 6 months. All involved are Hispanic.
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 Alejandro, Joel Rivera                                D. PR CR No. 99-044 (SEC)
 Acquittal                                                                      Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) HM
intrastate kidnapping, killing and dismembering of a Rio Piedras businessman who may have been involved in the illegal numbers racket
called "bolleta," after his family ignored a ransom demand and called the police. The accused allegedly belonged to a gang of kidnappers
suspected in as many as 15 abductions. Alejandro is alleged to be the triggerman. Only Alejandro and Martinez were to face the death
penalty, but the district court declared the death penalty unconstitutional in Puerto Rico. 106 F.Supp. 311 (D. PR 2000). However, this
decision was reversed by the Circuit. 252 F.3d 13 (2002). Both capital defendants have prior local murder convictions. Both were
acquitted at trial. All involved are Hispanic.


 Martinez, Hector Acosta                               D. PR CR No. 99-044 (SEC)
 Acquittal                                                                      Race & Gender of Def H M
  Attorney General Reno                                                      Race & Gender of Vict(s) HM
intrastate kidnapping, killing and dismembering of a Rio Piedras businessman who may have been involved in the illegal numbers racket
called "bolleta," after his family ignored a ransom demand and called the police. The accused allegedly belonged to a gang of kidnappers
suspected in as many as 15 abductions. Alejandro was alleged to be the triggerman. Only Alejandro and Martinez were to face the death
penalty, but the district court declared the death penalty unconstitutional in Puerto Rico. 106 F.Supp. 311 (D. PR 2000). However, this
decision was reversed by the Circuit. 252 F.3d 13 (2002). Both capital defendants had prior local murder convictions. Both were
acquitted at trial. All involved are Hispanic.


 Shakir, Jamal                                         M.D. TN CR No. 3:98-00038 (NIXON)
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BF BM
a gang called the "Rollin" 90s Crips or Bangside 90s faction out of Los Angeles which allegedly moved 150 kilos of crack to Las Vegas.
From there sales operations were allegedly set up in Oklahoma City and Nashville. The government called the gang the "Shakir
Enterprise." A Crips gang member and his wife were killed in Oklahoma City, and their 3 year old daughter, who was also shot, stayed
with her dead parents and slept with them at night for several days. Richard Chambers, 59, was shot to death in Cheatham County,
Tennessee. There may have been up to 13 killings in three states. Three victims were themselves charged with murder in the indictment.
The indictment charged Shakir, 25, with six killings from 1995-97, Payne, 20, with participating in two killings and in the shooting of the
gang associate's 3-year-old-girl, and Young, 24, with helping kill one person and assaulting and torturing two others. Four of the killings
were said to be to silence potential witnesses, other slayings were allegedly motivated by revenge. Murder for hire is alleged as an
aggravating circumstance. Payne was found to be incompetent to stand trial.


 Payne, Eben                                           M.D. TN CR No. 3:98-00038 (NIXON)
 Incompetent after authorization                                                Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BF BM
a gang called the "Rollin 90s Crips” or “Bangside 90s” faction out of Los Angeles which allegedly moved 150 kilos of crack to Las Vegas.
From there sales operations were allegedly set up in Oklahoma City and Nashville. The group has also been called the "Shakir Enterprise."
A Crips gang member and his wife were killed in Oklahoma City, and their 3 year old daughter, who was also shot, stayed with her dead
parents and slept with them at night for several days. Richard Chambers, 59, was shot to death in Cheatham County, Tennessee. There
may have been up to 13 killings in three states. Three victims were themselves charged with murder in the indictment. The indictment
charges Shakir, 25, with six killings from 1995-97, Payne, 20, with participating in two killings and in the wounding of the gang associate's
3-year-old-girl, and Young, 24, with helping kill one person and assaulting and torturing two others. Four of the killings were said to be to
silence potential witnesses, other slayings were allegedly motivated by revenge. Murder for hire is alleged as an aggravating circumstance.
Payne suffers from Schizophrenia and has been declared incompetent to stand trial.
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 Young, Donnell                                        M.D. TN CR No. 3:98-00038 (NIXON)
 Guilty plea at trial                                                           Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
a gang called the "Rollin" 90s Crips or Bangside 90s faction out of Los Angeles which allegedly moved 150 kilos of crack to Las Vegas.
From there sales operations were allegedly set up in Oklahoma City and Nashville. The group has also been called the "Shakir Enterprise."
A Crips gang member and his wife were killed in Oklahoma City, and their 3 year old daughter, who was also shot, stayed with her dead
parents and slept with them at night for several days. Richard Chambers, 59, was shot to death in Cheatham County, Tennessee. There
may have been up to 13 killings in three states. Three victims were themselves charged with murder in the indictment. The indictment
charges Shakir, 25, with six killings from 1995-97, Payne, 20, with participating in two killings and in the shooting of the gang associate's
3-year-old-girl, and Young, 24, with helping kill one person and assaulting and torturing two others. Four of the killings were said to be to
silence potential witnesses, other slayings were allegedly motivated by revenge. Murder for hire is alleged as an aggravating circumstance.
Payne was found to be incompetent to stand trial. After Shakir was sentenced to life improvement after a trial, Attorney General Holder
approved a plea agreement and Young was sentenced to 40 years.


 Lyon, Billy Joe                                       W.D. KY No. 4:99-CR-11-M
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WM
contract killing of men in Alabama and Kentucky. Lyon, 19, and co-defendant Charles Stewart, 54, were charged with conspiracy and
murder for hire. Stewart and Richard Dorman, 62, were partners in an 18-month forged-check and fraud scheme, using the deceased's
identity. Lyon and his deceased father, Stewart's nephew, were hired to murder James Norris in Kentucky. Norris was found under a bale
of hay beaten to death in a barn behind his home. Lyon was also hired to kill James Nichols in Alabama, whose body was discovered in
1999 in a partially submerged van. Nichols' 85 year old mother was also in the van, but survived. Co-conspriator Dorman was kidnapped
(interstate) and locked into the trunk of a car that was then run into the Green River in Henderson County. He survived to be charged as
part of the conspiracy. The elder Lyon committed suicide to avoid apprehension. Stewart was arrested in the Spring of 2000 after
appearing on "America's Most Wanted." Lyon faced the death penalty but was sentenced to life in prison after his jury was instructed that
Stewart would not because the Attorney General took too long to file a notice of intent to seek the death penalty. A third fraud victim is
missing and presumed dead. Lyon committed an unrelated fourth murder. All involved are white.


 Stewart, Charles Louis                                W.D. KY CR No. 4:99-CR-11-M
 Dismissal after notice by Judge                                                Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WM
contract killing of men in Alabama and Kentucky. Lyon, 19, and co-defendant Charles Stewart, 54, are charged with conspiracy and
murder for hire. Stewart and Richard Dorman, 62, are charged with being partners in an 18-month forged-check and fraud scheme, using
the deceased's identity. Lyon and his deceased father, Stewart's nephew, were hired to murder James Norris in Kentucky. Norris was
found under a bale of hay beaten to death in a barn behind his home. Lyon was also hired to kill James Nichols in Alabama, whose body
was discovered in 1999 in a partially submerged van. Nichols' 85 year old mother was also in the van, but survived. Co-conspriator
Dorman was kidnapped (interstate) and locked into the trunk of a car that was then run into the Green River in Henderson County. He
survived to be charged as part of the conspiracy. The elder Lyon committed suicide to avoid apprehension. Stewart was arrested in the
Spring of 2000 after appearing on "America's Most Wanted." Lyon faced the death penalty but was sentenced to life in prison after his jury
was instructed that Stewart would not because the Attorney General took too long to file a notice of intent to seek the death penalty. A
third bank fraud victim is missing and presumed dead. Lyon committed an unrelated fourth murder. All involved are white.
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 Cooper, Carl Derrick                                  D. DC CR No. 99-0266 (Green)
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) WF WM BM
three charges of felony murder. Cooper, 29, confessed in writing to shooting three employees, 25, 24 and 18, in a failed robbery attempt of
Starbucks Coffee Shop. Cooper claimed in his confession to police that he had a struggle with the shop's manager. She apparently was
shot while attempting to flee after being unable to open the safe. Cooper was also arrested in connection with the 1996 wounding of an off-
duty Prince George's County police officer during an attempted robbery. Cooper is black and two of the three victims are white. The
government also alleged a 1993 armed robbery and murder of a security guard, three 1989 armed robberies, three 1996 armed robberies, a
1997 armed robbery, various conspiracies to rob and various shootings. Attorney General Reno required a capital prosecution.


 Friend, Travis                                        E.D. VA CR No. 3:99CR201
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) AM
the carjacking of a Chinese truck driver, who was murdered by out-of- work African-American truckers, who wanted to make off with the
truck and its cargo. A third brother, a juvenile, 15, as well as the mother and a girlfriend are also involved but did not face the death
penalty. Both defendants pled guilty. Eugene may have been involved in a second homicide.


 Friend, Eugene                                        E.D. VA CR No. 3:99CR201
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) AM
the carjacking of a Chinese truck driver, who was murdered by out-of- work African-American truckers, who wanted to make off with the
truck and its cargo. A third brother, a juvenile, 15, as well as the mother and a girlfriend are also involved but did not face the death
penalty. Both defendants pled guilty. Eugene may have been involved in a second homicide.


 Stephens, Charles Lee                                 E.D. TX CR No. 2:99 CR 5
 Killed or died after authorization                                            Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) WF WM
three young black defendants, who were members of the "Crips" gang, were involved in a series of robberies and killings in East Texas.
Stephens, 21, Smith, 20, and Tatum, 20, faced the death penalty in both state and federal court for a botched bank robbery. They were
accused of a bank robbery and fatally shooting teller Betty Paddle, 61. A 54 year old bank manager, was also shot, but survived. They are
also charged with an intrastate kidnapping/robbery of a used car dealership (a Hobbs Act count) in which the victim was killed with a gun
(a 924(j) count). The victim was a 63 year old retired minister. Tatum is also charged in a 1998 slaying of Ronnie Dale Ritch, president of
the First State Bank in Overton. Stephens and Tatum abducted Ritch, 50. Stephens had a brain tumor and died after surgery. The USA
requested permission to seek the death penalty against all three, and was permitted to do so. All three deceased victims were white.
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 Tatum, Kenneth A.                                     E.D. TX No. 2:99 CR 5
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) WF WM
three young black defendants, who were members of the "Crips" gang, were involved in a series of robberies and killings in East Texas.
Stephens, 21, Smith, 20, and Tatum, 20, faced the death penalty in both state and federal court for a botched bank robbery. They were
accused of a bank robbery and fatally shooting teller Betty Paddle, 61. A 54 year old bank manager, was also shot, but survived. They are
also charged with an intrastate kidnapping/robbery of a used car dealership (a Hobbs Act count) in which the victim was killed with a gun
(a 924(j) count). The victim was a 63 year old retired minister. Tatum is also charged in a 1998 slaying of Ronnie Dale Ritch, president of
the First State Bank in Overton. Stephens and Tatum abducted Ritch, 50. Stephens had a brain tumor and died after surgery. The USA
requested permission to seek the death penalty against all three, and was permitted to do so. All three deceased victims were white.


 Smith, Daymon                                         E.D. TX No. 2:99 CR 5
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) WF
three young black defendants, who were members of the "Crips" gang, were involved in a series of robberies and killings in East Texas.
Stephens, 21, Smith, 20, and Tatum, 20, faced the death penalty in both state and federal court for a botched bank robbery. They were
accused of a bank robbery and fatally shooting teller Betty Paddle, 61. A 54 year old bank manager, was also shot, but survived. They are
also charged with an intrastate kidnapping/robbery of a used car dealership (a Hobbs Act count) in which the victim was killed with a gun
(a 924(j) count). The victim was a 63 year old retired minister. Tatum is also charged in a 1998 slaying of Ronnie Dale Ritch, president of
the First State Bank in Overton. Stephens and Tatum abducted Ritch, 50. Stephens had a brain tumor and died after surgery. The USA
requested permission to seek the death penalty against all three, and was permitted to do so. All three deceased victims were white.


 Furrow, Buford                                        C.D. CA CR No. 99-838 (A) -RAP
 Guilty plea                                                                   Race & Gender of Def W M
  Attorney General Reno                                                     Race & Gender of Vict(s) AM
hate crime murder - the racially motivated shooting and killing of an Asian (Filipino) postal worker in 1999. Furrow, 37 and Caucasian, is
alleged to be a member of the Aryian Nation. He also walked into a Jewish Community Care Center and shot five people, including three
children. Furrow then carjacked a Toyota. Furrow described this attack as "a wake up call to America to kill Jews."


 Vialva, Christopher Andre                             W.D. TX No. W99CR070
 Death row - 2255                                                              Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) WF WM
gun murders by Vialva, 19, Bernard, 18, and two juveniles, all with alleged gang affiliations. These African-Americans were convicted of
a 1999 18 U.S.C. § 1111 carjacking/double homicide and robbery of a young white “church” couple. The bodies of the victims were found
in the trunk of their car just inside the Fort Hood boundary, with gunshot wounds to the face and head. The vehicle had been set on fire.
Authorities believe Vialva shot the victims. A 2255 motion for post-conviction relief was denied. An appeal is pending.


 Bernard, Brandon                                      W.D. TX No. W99CR070
 Death row - 2255                                                              Race & Gender of Def B             M

  Attorney General Reno                                                     Race & Gender of Vict(s) WF WM
gun murders by Vialva, 19, Bernard, 18, and two juveniles, all with alleged gang affiliations. These African-Americans were convicted of
a 1999 18 U.S.C. § 1111 carjacking/double homicide and robbery of a young white “church” couple. The bodies of the victims were found
in the trunk of their car just inside the Fort Hood boundary, with gunshot wounds to the face and head. The vehicle had been set on fire.
Authorities believe Vialva shot the victims. A 2255 motion for post-conviction relief was denied. An appeal is pending.
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 Llera-Plaza, Carlos Ivan                               E.D. PA CR No. 98-362
 Guilty plea at trial                                                            Race & Gender of Def H M
  Attorney General Reno                                                        Race & Gender of Vict(s) HM
involves a Puerto Rico/Philadelphia cocaine connection between 1996-1998 and four murders for hire, three in Pennsylvania and one in
Puerto Rico. Rodriguez allegedly ran the organization with a fugitive named Cacerez. Two victims were suspected of abducting a courier
and stealing cocaine. A $25,000 contract was offered but an innocent victim was mistakenly killed in Puerto Rico. One suspect was
located in Philadelphia and two Hispanic males, ages 29 and 17, were killed. The 17 year old was an innocent victim, the high school
student nephew of the target. Later, the second target was located and killed. Martinez-Acosta, 21, allegedly did the shooting in the first
three, on orders of the alleged kingpin Rodriguez. Llera-Plaza was allegedly the middle-man in arranging the killings, the shooter in at
least two and the driver. The triggerman in the fourth killing is cooperating. The government sought the death penalty against Rodriguez
in four killings, Llera-Plaza in three and Martinez-Acosta in two. Attorney General Ashcroft approved plea agreements for Llera-Plaza and
Martinez-Acosta, specifying life sentences. Judge Pollak then declared a mistrial for Rodriguez, who eventually entered into a plea
agreement approved by Attorney General Ashcroft. All involved are Hispanic.


 Rodriguez, Victor                                      E.D. PA CR No. 98-362
 Guilty plea at trial                                                            Race & Gender of Def H M
  Attorney General Reno                                                        Race & Gender of Vict(s) HM
involves a Puerto Rico/Philadelphia cocaine connection between 1996-1998 and four murders for hire, three in Pennsylvania and one in
Puerto Rico. Rodriguez allegedly ran the organization with a fugitive named Cacerez. Two victims were suspected of abducting a courier
and stealing cocaine. A $25,000 contract was offered but an innocent victim was mistakenly killed in Puerto Rico. One suspect was
located in Philadelphia and two Hispanic males, ages 29 and 17, were killed. The 17 year old was an innocent victim, the high school
student nephew of the target. Later, the second target was located and killed. Martinez-Acosta, 21, allegedly did the shooting in the first
three, on orders of the alleged kingpin Rodriguez. Llera-Plaza was allegedly the middle-man in arranging the killings, the shooter in at
least two and the driver. The triggerman in the fourth killing is cooperating. The government sought the death penalty against Rodriguez
in four killings, Llera-Plaza in three and Martinez-Acosta in two. Attorney General Ashcroft approved plea agreements for Llera-Plaza and
Martinez-Acosta, specifying life sentences. Judge Pollak then declared a mistrial for Rodriguez, who eventually entered into a plea
agreement approved by Attorney General Ashcroft. All involved are Hispanic.


 Acosta, Wilfredo Martinez                              E.D. PA CR No. 98-362
 Guilty plea at trial                                                            Race & Gender of Def H M
  Attorney General Reno                                                        Race & Gender of Vict(s) HM
a Puerto Rico/Philadelphia cocaine connection between 1996-1998 and four murders for hire, three in Pennsylvania and one in Puerto Rico.
Rodriguez allegedly ran the organization with a fugitive named Cacerez. Two victims were suspected of abducting a courier and stealing
cocaine. A $25,000 contract was offered but an innocent victim was mistakenly killed in Puerto Rico. One suspect was located in
Philadelphia and two Hispanic males, ages 29 and 17, were killed. The 17 year old was an innocent victim, the high school student nephew
of the target. Later, the second target was located and killed. Martinez-Acosta, 21, allegedly did the shooting in the first three, on orders of
the alleged kingpin Rodriguez. Llera-Plaza was allegedly the middle-man in arranging the killings, the shooter in at least two and the
driver. The triggerman in the fourth killing is cooperating. The government sought the death penalty against Rodriguez in four killings,
Llera-Plaza in three and Martinez-Acosta in two. Attorney General Ashcroft approved plea agreements for Llera-Plaza and Martinez-
Acosta, specifying life sentences. Judge Pollak then declared a mistrial for Rodriguez, who eventually entered into a plea agreement
approved by Attorney General Ashcroft. All involved are Hispanic.
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 Carpenter, Robert L.                                    W.D. TN CR No. 99-20155
 Guilty plea at trial                                                             Race & Gender of Def B               M

  Attorney General Reno                                                        Race & Gender of Vict(s) WF
carjacking case in a suburb of Memphis. The victim was a 63 year old white female and the carjacking occurred "in broad daylight at
noon" at a Sonic "drive-in." The defendants were 18 and 19 and African-American. A third, uncharged defendant was a juvenile. The
Carpenter brothers plead guilty during jury selection. They were tried in Tennessee state court and sentenced to life in prison.


 Carpenter, Antonio                                      W.D. TN CR No. 99-20155
 Guilty plea at trial                                                             Race & Gender of Def B               M

  Attorney General Reno                                                        Race & Gender of Vict(s) WF
carjacking case in a suburb of Memphis. The victim was a 63 year old white female and the carjacking occurred "in broad daylight at
noon" at a Sonic "drive-in." The defendants were 18 and 19 and African-American. A third, uncharged defendant was a juvenile. The
Carpenter brothers plead guilty during jury selection. They were tried in Tennessee state court and sentenced to life in prison.


 Stayner, Cary                                           E.D. CA CR No. CR-F-00- 5217 AWI
 Guilty plea                                                                      Race & Gender of Def W M
  Attorney General Reno                                                        Race & Gender of Vict(s) WF
four homicides in two separate incidents in Yosemite National Park. Stayner, 37 and a motel handyman, confessed to the (intrastate)
kidnapping, sexual assault and decapitation killing of a park naturalist. He also confessed to killing three sightseers, a mother and two
teenage girls, five months earlier. There were initially arrests of ex- convicts for the killing of the sightseers. Stayner's brother was a
highly publicized kidnap victim in 1972. All involved are white. He was sentenced to death in state court.


 Kendall, Michael Robbie                                 N.D. MS CR No. 3:99CR102
 Guilty plea                                                                      Race & Gender of Def W M
  Attorney General Reno                                                        Race & Gender of Vict(s) WM
the murder of an Ole Miss senior accountancy major in 1999. Lowery was shot at Puskus Lake. Others were in the line of fire.


 Garrett, Lemond                                         S.D. GA CR No. 4-99-133
 Life sentence from jury                                                          Race & Gender of Def B               M

  Attorney General Reno                                                        Race & Gender of Vict(s) BM
two young death eligible defendants, ages 18 and 20, involved in a drug conspiracy, in which a long time federal informant was killed.
Both defendants and the victim are African-American. The United States Attorney requested and received permission to seek the death
penalty against Lemond. Savanah police arrested Lemond Garrett in March of 1999 for the shooting death of Joseph Smart, Sr., 52.
DeLoach, the get-a-way driver, was convicted for killing his cousin outside a sports bar in December 1998, and sentenced to life in prison
in state court. Joe Perry Garrett was not arrested until shortly before trial. He ordered the killing of the DEA informant who was wearing a
bullet-proof vest when he was shot. The bullet pierced his side in an unprotected area. The government failed to meet the Court's deadline
as to Joe Perry and he did not face the death penalty.
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 Nelson, Keith D.                                      W.D. MO No. 99-CR-303-1
 Death row - 2255                                                               Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WF
the interstate 1999 kidnapping and murder of a ten year old girl, in violation of 18 U.S.C. §1201. Both the defendant and the victim are
white. A 28 U.S.C. §2255 motion was denied without an evidentiary hearing or the grant of a Certificate of Appealability. The Eighth
Circuit reversed the district court and remanded the case for an evidentiary hearing, after which the §2255 motion was again denied. An
appeal is pending.


 Wills, Christopher Andaryl                            E.D. VA CR No. 99-00396
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) OM
a witness-elimination in Alexandria, Virginia. Wills, 33, an African American, lured the victim from suburban Virginia to Washington, D.
C. by means of a phony job advertisement. The victim disappeared and is presumed to have been murdered. The Afghan national victim
had recently testified against Wills at a preliminary hearing on state burglary charges. Wills was permitted to represent himself. He filed a
motion to dismiss and the Court ruled that Wills cannot be charged with the capital crime of interstate kidnapping leading to death because
his victim crossed state lines voluntarily and alone. The 4th Circuit reversed. 2000 WL 1781402. The jury deadlocked and Wills was
sentenced to life in prison. Wills, who has 5 other felony convictions, is also serving 14 years for an unrelated Baltimore carjacking.


 Sanders, Marcus                                       S.D. AL CR No. 98-0056-CB
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BM
the April 1999 murder of a witness in a federal drug prosecution two days before Sanders drug conspiracy trial. Sanders did not appear for
trial. Sanders was alleged to the triggerman and was the only defendant authorized for a federal capital prosecution, but he was sentenced
to life in prison at a separate trial.


 Thomas, Christopher                                   E.D. VA CR No. 99-477-A
 Lesser included conviction                                                     Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BM
another murder at the District of Columbia Department of Corrections facility in Lorton. The victim allegedly brought a shank to the fight
and the defendant wrestled it from him and stabbed him three times. Thomas was convicted of second degree murder. All involved are
African-American. This was Thomas' third murder conviction.


 Hyles, Tyrese                                         E.D. MO No. 01-CR-73
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
a witness killing §1512 murder for hire involving interstate travel from Tennessee to Missouri. Hyles faced state drug charges. The victim
was murdered after his preliminary hearing testimony. Cannon allegedly murdered the victim by shooting him in his bed. Attorney
General Ashcroft required a capital prosecution. Attorney General Gonzales rejected a jury waiver conditioned upon withdrawal of the
notice of intent to seek the death penalty.
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 Cannon, Amesheo D.                                    E.D. MO No. S1-1:01CR00073RWS
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
a witness killing §1512 murder for hire involving interstate travel from Tennessee to Missouri. Hyles faced state drug charges. The victim
was murdered after his preliminary hearing testimony. Cannon allegedly murdered the victim by shooting him in his bed. Attorney
General Ashcroft required a capital prosecution. Attorney General Gonzales rejected a jury waiver conditioned upon withdrawal of the
notice of intent to seek the death penalty.


 Denis, Jose                                           S.D. FL No. 99-00714 CR (KING)
 Life sentence from jury                                                        Race & Gender of Def H M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) HM
one capital eligible 924(c) count - a homicide occurring during a 1996 drug rip-off at Hialech motel. Everyone involved is Hispanic.
Denis was the alleged triggerman. He had no prior criminal record. The defendant was attending Florida State University at the time of his
arrest. The victim was allegedly tortured prior to his death.


 Minerd, Joseph                                        W.D. PA CR No. 99-215
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WF AM
a case, 1999 New Year's Day arson resulting in the death of the defendant's girlfriend, her three year old child by another man and her
fetus, the defendant's child. The ATF believed there was a pipe bomb as there was a shard of metal found in the deceased's exhumed body.
All involved are white. Attorney General Ashcroft approved a plea agreement but the defendant backed out of the deal. 176 F.Supp. 424.
182 F.Supp.2d 459. 197 F.Supp.2d 272.


 Satcher, Steve                                        D. MD CR No. AW00-0105
 Guilty plea at trial                                                           Race & Gender of Def B              M

  Attorney General Reno                                                      Race & Gender of Vict(s) BF
domestic killing - the carjacking, interstate kidnapping and murder of the mother of Satcher's child. Satcher engaged the services of co-
defendants Horton and Stancil for one-half kilogram of cocaine. They abducted the victim and took her from Maryland to North Carolina in
the trunk of her car. She was strangled and beaten. Horton and Stancil doused the car with gasoline and ignited it. Murder for hire was
alleged as an aggravating circumstance. All three defendants are African-American, as is the victim. Stancil cooperated. Attorney General
Reno refused a request to seek the death penalty against Horton. Attorney General Ashcroft approved a plea agreement to a life sentence
for Satcher


 Gray, Kevin                                           D. DC No. 1:00CR00157
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM HM
a Southeast Washington, D.C., gang, alleged to be connected to approximately 40 slayings. The indictment charges 30 murders. Murder
for hire was alleged as an aggravating circumstance. The leader, Kevin Gray, 28, is charged with carrying out the racketeering slayings of
10 people. Members of this heroin and marijuana conspiracy allegedly gunned down rivals and people they thought might testify against
them, catching victims by surprise at a gas station, a beauty salon and on street corners, sometimes in broad daylight. Three of the victims
were killed because they were viewed as potential witnesses. Another victim was shot by mistake. The 158 count indictment alleges 10
attempted murders. Gang members allegedly took outside contracts as hit men. Gray is charged in 22 murders. He and Moore were the
only defendants to face the death penalty. The victims were Hispanic and African-American.
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 Moore, Rodney                                         D. DC No. 1:00CR00157
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BF BM
a Southeast Washington, D.C., gang, alleged to be connected to approximately 40 slayings. The indictment charges 30 murders. Murder
for hire was alleged as an aggravating circumstance. The leader, Kevin Gray, 28, is charged with carrying out the racketeering slayings of
10 people. Members of this heroin and marijuana conspiracy allegedly gunned down rivals and people they thought might testify against
them, catching victims by surprise at a gas station, a beauty salon and on street corners, sometimes in broad daylight. Three of the victims
were killed because they were viewed as potential witnesses. Another victim was shot by mistake. Moore was charged with 11 murders.
The 158 count indictment alleges 10 attempted murders. Gang members allegedly took outside contracts as hit men. Gray and Moore were
the only defendants to face the death penalty. Moore relied on evidence of low intellectual functioning at trial. The victims were Hispanic
and African-American.


 Gomez-Olmeda, David                                   D. PR CR No. 03-CR-73
 Dismissal after notice by Judge                                                Race & Gender of Def H M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) HM
a killing during an FBI undercover sting operation involving guns. The victim was an FBI confidential informant who was wired at the
time. The FBI witness was shot to death and robbed in an FBI surveillance van. A videotape recorded the murder. The money robbed was
FBI money and the car stolen was an FBI car. David Gomez entered into a plea agreement. However, Attorney General Ashcroft rejected
a plea agreement and required a capital prosecution which was dismissed by the District Court.


 Johnson, Coleman                                      W.D. VA No. 3:00CR00026
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WF
one §844(ii) count for allegedly leaving a pipe bomb in 1997 which killed his ex-girlfriend, who was eight months pregnant, to avoid the
child support that he would have to pay. DNA indicates he was the father of the child the victim was carrying. All involved are white.
136 F.Supp.2d 553.


 Garcia, Rico                                          N.D. CA CR No. 00-CR-20018
 Guilty plea                                                                    Race & Gender of Def H M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) HM
involves five Nuestra Familia murders including the 1998 RICO murder of another gang member in a war for control of the "Salinas
regiment" of the Neustra Familia, a Latino prison gang. Garcia, 35, is charged as the triggerman in this killing. Two others were allegedly
with him. Garcia was originally charged in state court and plead to other charges for a 22 year sentence in exchange for the state dropping
the homicide. The prosecution involves shootings, assaults, robberies and drug dealing. Ramirez is charged in two killings, Garcia was
charged in three and the other defendants one each. Attorney General Ashcroft required a capital prosecution for Garcia but eventually
approved a guilty plea. All involved are Hispanic.


 Quinones, Alan                                        S.D. NY No. 00 CR 0761 (JSR)
 Life sentence from jury                                                        Race & Gender of Def H M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) HM
murder for hire of a New York Police Department informant, who was beaten and tortured. The victim, a drug dealer, had recently
arranged two controlled buys from Quinones. The victim’s body was burned post-mortem. Attorney General Ashcroft rejected a plea
agreement and required a capital prosecution. The district court’s decision that the death penalty was unconstitutional due to the execution
of the innocent was reversed on appeal. 313 F.3d 49 (2nd Cir. 2002). The jury unanimously voted for life. All involved are Hispanic.
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 Rodriguez, Diego                                       S.D. NY No. 00 CR 0761 (JSR)
 Life sentence from jury                                                        Race & Gender of Def H M
  Attorney General Ashcroft                                                   Race & Gender of Vict(s) HM
murder for hire of a New York Police Department informant, who was beaten and tortured. The victim, a drug dealer, had recently
arranged two controlled buys from Quinones. Rodriguez participated in the killing under the direction of Quinones. The victim’s body
was burned post-mortem. Attorney General Ashcroft rejected a plea agreement and required a capital prosecution. The district court’s
decision that the death penalty was unconstitutional due to the execution of the innocent was reversed on appeal. 313 F.3d 49 (2nd Cir.
2002). The jury unanimously voted for life. All involved are Hispanic.


 Pham, Trung Thanh                                      E.D. CA CR No. 00-CR-411
 Guilty plea                                                                    Race & Gender of Def A M
  Attorney General Ashcroft                                                   Race & Gender of Vict(s) AM
the throwing of a Molotov cocktail through a dining room window allegedly by Pham. One victim, Hien Tran, a 9 year old Asian female,
was killed. Others were seriously injured. The target was a man who had an affair with co-defendant Lam's wife. Authorization for Lam
was initially not sought or granted. The jury deadlocked at Lam's first trial. The government produced a new witness who said Lam
ordered the firebombing. Attorney General Reno gave the go-ahead to seek the death penalty at a retrial, but a guilty plea was entered.
Later, the government decided to seek the death penalty against Pham, who, along with two others, was allegedly paid to do the
firebombing. Federal jurisdiction is based on the happenstance that an apartment building was bombed. Attorney General Ashcroft later
approved a plea agreement with Trung Pham who received a life sentence with a possible Rule 35 reduction to 30 years. Tu Trong and
Quac Pham did not face the death penalty. All involved are of Asian descent.


 Johnson, Angela                                        N.D. IA No. 3:01-CR-03046-MWB
 Authorization withdrawn                                                        Race & Gender of Def W F
  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WF WM
five murders in 1993 of a potential witness, his girlfriend (both meth dealers) and two daughters, in a drug conspiracy case. The fifth
victim is Angela Johnson's former boyfriend, another dealer turned informant, who disappeared in November of 1993. Johnson attempted
suicide in jail after she was tricked by a jailhouse informant into revealing the location of the bodies. Attorney General Ashcroft rejected
Honken's attempt to enter a plea to a life sentence. Attorney General Gonzales rejected Johnson's attempt to enter a plea to a life sentence.
Finding ineffective assistance of counsel, the district court in 2012, reversed Johnson’s death sentence. 860 F.Supp.2d 663 (ND IA 2012).
A resentencing trial was scheduled for 2015 but Attorney General Holder withdrew the Notice of Intent to seek the death penalty. All
involved are white.


 Honken, Dustin                                         N.D. IA No.3:01-CR-03047-MWB
 Death row - 2255                                                               Race & Gender of Def W M
  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WF WM
five murders in 1993 of a potential witness, his girlfriend and two daughters, in a drug conspiracy case. The fifth victim is co-defendant
Angela Johnson's former boyfriend, who disappeared in November of 1993. Johnson attempted suicide in jail after she was tricked by a
jailhouse informant into revealing the location of the bodies. All involved are white. A 28 U.S.C. 2255 motion was denied.
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 Jackson, Richard                                      W.D. NC No. 00-CR-74
 Death row - 2255                                                              Race & Gender of Def W M
  Attorney General Reno                                                      Race & Gender of Vict(s) WF
a capital defendant in state court who pled guilty to second degree murder, intrastate kidnaping and rape of a 22 year old woman jogging
Halloween morning in the Pisgah National Forest (USFS). Jackson received a 25 - 31 years sentence in state court. He was charged in
federal court in another case after the North Carolina Supreme Court reversed his original death sentence and conviction, and suppressed
his confession on Edwards grounds. Jackson was 31 years old. The victim was tied with duct tape to a tree on federal land in the Bent
Creek Recreation Area in the Pisgah National Forest off Blue Ridge Parkway, on federal land, raped and shot one time. All involved are
white. All post-conviction motions have been denied.


 Williams, Michael                                     S.D. NY No. 00-CR-1008
 Life sentence from jury                                                       Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
three drug-related murders. Three black men were killed in 1996. The defendants, two brothers and their father, are also black. Attorney
General Ashcroft required a capital prosecution.


 Williams, Xavier                                      S.D. NY CR No. 00-CR-1008
 Authorization withdrawn                                                       Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
involves murder during a narcotics conspiracy. Three black men were killed in 1996. The defendants, two brothers and their father, are
also black. Attorney General Ashcroft required a capital prosecution. Shortly before trial, Attorney General Gonzales withdrew the
notice of intent to seek the death penalty. Xavier was acquitted of the murders.


 Williams, Elijah Bobby                                S.D. NY No. 00-CR-1008
 Life sentence from jury                                                       Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
three drug related murders. Three black men were killed in 1996. The defendants, two brothers and their father, are also black. Attorney
General Ashcroft required a capital prosecution.


 Fell, Donald                                          D. VT 2:01-CR-12-01
 Guilty plea                                                                   Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF WM
three murders, a carjacking and an interstate kidnapping. The defendants were high on crack when an argument erupted with Fell's mother
and a male friend. The male friend's throat was slashed by Fell and Fell's mother stabbed to death by Lee, the co-defendant. The two then
carjacked a 53 year old grandmother at a supermarket. Crossing into New York, they told her to get out and she attempted to run into the
woods. They followed her and allegedly killed her by kicking her. The defendants both made incriminating statements. They were
arrested three days later in Arkansas. All involved are Caucasian. Lee committed suicide in 2001 by hanging himself in jail. Authorities
said it was an accident. Attorney General Ashcroft rejected a plea agreement stipulating life in prison, and required a capital prosecution.
The Attorney General also rejected a bench trial. The court declared the FDPA unconstitutional. 217 F.Supp.2d 469 (2002). This ruling
was reversed by the Second Circuit. 360 F.3d 135 (2004). The direct appeal was denied. 531 F.3d 197 (2008). A 28 USC 2255 motion
was granted on July 24, 2014.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Sablan, William                                       D. CO No. 00-CR-531
 Life sentence from jury                                                        Race & Gender of Def PI M
  Attorney General Reno                                                      Race & Gender of Vict(s) HM
inmate killing at USP Florence - evisceration stabbing of cellmate (in their cell). William Sablan confessed, on videotape, and said that he
was defending himself. The letter "S" was written on the cell wall in the victim's blood. The United States Attorney requested permission
to seek the death penalty and, on her last day in office, Attorney General Janet Reno agreed. The defendants are Pacific Islanders,
"Chmorran", from Saipan. The victim is Hispanic. The defendants, cousins, were doing federal time for a hostage-taking in Guam.
Attorney General Gonzales rejected a plea agreement for William Sablan. William, allegedly more culpable, was sentenced to life. There
was evidence that William suffered from an intellectual disability. A pre-trial claim of being intellectually disabled was rejected after an
evidentiary hearing. William had a 20 year history of violent crime.


 Sablan, Rudy                                          D. CO No. 00-CR-531
 Life sentence from jury                                                        Race & Gender of Def PI M
  Attorney General Reno                                                      Race & Gender of Vict(s) HM
inmate killing at USP Florence - evisceration stabbing of cellmate (in their cell). William Sablan confessed, on videotape, and said that he
was defending himself. The letter "S" was written on the cell wall in the victim's blood. The United States Attorney requested permission
to seek the death penalty and, on her last day in office, Attorney General Janet Reno agreed. The defendants are Pacific Islanders,
"Chmorran", from Saipan. The victim is Hispanic. The defendants, cousins, were doing federal time for a hostage-taking in Guam.
Attorney General Gonzales refused to withdraw the death penalty request as to Rudy Sablan after the more culpable William Sablan was
sentenced to life in prison.


 Church, Walter Lefight                                W.D. VA No. 00-CR-104
 Acquittal                                                                      Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF WM
the April 1989 shotgun murder of a family of three. A federal grand jury indicted Gilmore, a former mayor and convicted cocaine kingpin,
and co-defendants Ealy and Church, charging them with two capital murders in the furtherance of a drug-trafficking enterprise and a third
murder of a potential federal witnesses. They are charged with these murders during an alleged robbery of $30,000 belonging to a drug
ring. The murders occurred one week after Gilmore learned that federal investigators were aware of his ties to drug trafficking. Church is
intellectually disabled.


 Ealy, Samuel Stephen                                  W.D. VA No. 00-CR-104
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF WM
the April 1989 shotgun murder of a family of three. Ealy avoided trial in state court in 1991 by a successful motion to suppress. A federal
grand jury indicted Ealy and Church, charging them with two capital murders in the furtherance of a drug-trafficking enterprise and a third
murder of a potential federal witnesses. They are charged with these killings while trying to rob one victim of $30,000 that he was holding
for a drug ring. The victims were white. 2001 WL 686954, 855894, 1661706. 151 F.Supp.2d 715. 163 F.Supp.2d 633. 2002 WL
229700, 273317, 376880, 1205035.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Gilmore, Charles Wesley                               W.D. VA No. 00-CR-104
 Acquittal                                                                      Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF WM
the April 1989 shotgun murder of a family of three. A federal grand jury indicted Gilmore, a former mayor and convicted cocaine kingpin,
and co-defendants Ealy and Church, charging them with two capital murders in the furtherance of a drug-trafficking enterprise and a third
murder of a potential federal witnesses. They are charged with these murders during an alleged robbery of $30,000 belonging to a drug
ring. The murders occurred one week after Gilmore learned that federal investigators were aware of his ties to drug trafficking.


 Jones, Luke                                           D. CT No. 00-CR-238
 Acquittal                                                                      Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
six murders in two indictments and other attempted murders by the members of gangs called "The Middle," "Q & A Mob" or the "Batman
Crew" 18 U. S. C. §§ 1959 and 924(c). The gangs dealt in cocaine, crack or heroin. Powell, Harris and Baldwin were charged in two 1996
and 1997 racketeering murders. Luke Jones was charged in two 1998 and 1999 murders. The others were charged in one homicide. Luke
and Lance Jones were found wearing bullet proof vest in a car in which several loaded weapons were found. Lance Jones was already
serving a 24 year federal prison term and Luke a 10-year sentence for felon in possession of a gun. Aaron Harris is serving life after his
conviction on the underlying drug conspiracy. All involved are African-American. Attorney General Ashcroft required a capital
prosecution.


 Waldon, Carl                                          M.D. FL No. 3:00-CR-436-J25-TJC
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) OM
involves a CCE-related murder. Sinclair was a narcotics detective and Waldon an uniformed patrol officer. Three drug dealers apparently
implicated Sinclair in drug trafficking as part of a 5K1 deal. Waldon and Sinclair are charged with murder. Sinclair worked as a guard.
He saw an Arab-American storeowner withdraw $50,000 from the bank. Sinclair tipped Waldon who detained the victim on a pretext
traffic stop and tried to rob him. The victim was strangled in the police cruiser, near a school in broad daylight. Two others were present,
including Kenneth McLoughlin, who participated and testified as a government witness. The penalty phase was bifurcated and the jury
deadlocked on whether the mental state threshold (intentional killing) or sole aggravating circumstance (pecuniary gain) was present.
Attorney General Ashcroft required a capital prosecution.


 Haskell, Carl                                         W.D. MO No. 00-CR-395
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WM
involves the sequel to the Peoples and Lightfoot trial in October of 1999, resulting in life sentences. The government's theory is that
Peoples, on behalf of Lightfoot and himself, enlisted the services of hired killers, one of whom allegedly was Haskell, to do away with one
Jovan Ross, a white male. Ross was Lightfoot's homosexual live-in lover. The pair lived in a house in KC. After a lover's quarrel, Ross
informed on Lightfoot regarding robberies pulled by Lightfoot and Peoples in Nebraska and led police to a cache of blank certified checks
stored in the crawl space under the Lightfoot/Ross home. Shortly after, Lightfoot was arrested, and while in jail received information about
Ross' involvement. Not long after that, Ross ended up dead. Attorney General Ashcroft approved Haskell, the alleged triggerman, for a
capital prosecution, but denied permission to seek the death penalty against co-defendant Barfield.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Mosher, Ellis                                          E.D. TX No. 1:06 CR 00101-TH
 Life sentence from jury                                                         Race & Gender of Def W M
  Attorney General Gonzales                                                   Race & Gender of Vict(s) WM
a 1998 BOP inmate killing at Beaumont FCI. An original prosecution was dismissed on the government's motion (99-CR-4-ALL). In
2006, the prosecution resurfaced (06-CR-101). The jury was unable to agree on a sentence after three days of deliberations, so a life
sentence was imposed. All involved are white.


 Lallamand, Sienky                                      N.D. IL CR No. 00 CR 143
 Guilty plea                                                                     Race & Gender of Def B              M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) BM
Mr. Lallamand is accused under 18 U.S.C. §2232(a) with constructing a pipe bomb and delivering it to the victim who was married to a
woman with whom Lallamand was having an affair. The defendant and the deceased are African-American. Lallamand defrauded the
deceased of $200,000 using the victim's identification. A plea agreement was reached but the defendant withdrew. Attorney General
Ashcroft required a capital prosecution. Attorney General Ashcroft eventually approved a plea agreement specifying a life sentence. The
victim was African-American.


 Best, Jason                                            N.D. IN CR No. 2:00CR171RL
 Authorization withdrawn                                                         Race & Gender of Def B              M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) BM
a 1999 drug trafficking 924 (c) and (j), gang murder. The gun murder was allegedly revenge for the robbery of drug trafficking proceeds
from Best's girlfriend. Best was alleged to be a member of the "Bronx Boys" who was released from prison in 1998 after a two year
sentence for cocaine sales. Best pled guilty with others in 1996 after stray shots into a house killed a 10 year old boy in his bed in 1993.
Attorney General Ashcroft required a capital prosecution but eventually allowed prosecutor's to dismiss the murder count after Best was
given a life sentence after a separate trial in the drug case. Murder for hire is alleged as an aggravating circumstance. All involved are
African-American.


 Pennington, Tiffany Dominique                          W.D. KY CR No. 01-CR-35
 Dismissal after notice by Judge                                                 Race & Gender of Def B              M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WF
bank robbery/murder of a white woman by two black defendants. Pennington was the triggerman. Moore provided the gun and was the
get-a-way driver. Only Pennington faced the death penalty. He attempted to plead guilty before the government filed a notice of intent to
seek the death penalty, but the plea was rejected and the government filed its notice. Thereafter, his guilty plea was accepted. Since the
indictment did not allege Post-Ring "special findings," the District Court ultimately dismissed the Notice of Intent to seek the death
penalty. A government appeal was dismissed.


 Wilson, Bryant Lakeith                                 W.D. TN CR No. 01-20041-DV
 Guilty plea                                                                     Race & Gender of Def B              M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WF
bank robbery in which a 79 year old white woman was killed in front of her daughter. This was the last in a series of eight such heists from
Houston to Memphis. The defendants are African-American. Attorney General Ashcroft required a capital prosecution against Wilson, but
then approved a plea agreement specifying a life sentence, the same agreement reached in state court.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Shorter, Ramon Lori                                    W.D. TN CR No. 01-20041-DV
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WF
bank robbery in which a 79 year old white woman was killed in front of her daughter. This was the last in a series of eight such heists from
Houston to Memphis. The defendants are African-American. The Attorney General approved a plea agreement specifying a life sentence,
the same agreement reached in state court.


 Britt, L.J.                                            N.D. TX No. 00-CR-260
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) HM BM
a Fort Worth drug trafficking prosecution of the leaders of an Arlington-based drug ring responsible for three murders. The first killing
involved a 1998 shooting of an African-American, mistaken for the intended victim, in a car traveling on Cential Expressway. A second
1999 killing was of an Hispanic person, mistaken for the intended victim, his brother, who allegedly sold a fake kilo of cocaine to
Robinson. Britt was the triggerman in the third 1999 killing of another drug dealer, a Mexican national, who had stolen 20 kilos from a
Laredo drug kingpin. Robinson was following in another car. Britt and Robinson, African-American, both allegedly fired weapons in the
first and second incidents. Britt was sentenced to life in prison at a separate trial.


 Robinson, Julias Omar                                  N.D. TX No. 00-CR-260
 Death row - 2255                                                               Race & Gender of Def B              M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) HM BM
a Fort Worth drug trafficking prosecution of the leaders of an Arlington-based drug ring responsible for three murders. The first killing
involved a 1998 shooting of an African-American, mistaken for the intended victim, in a car traveling on Cential Expressway. A second
1999 killing was of an Hispanic person, mistaken for the intended victim, his brother, who allegedly sold a fake kilo of cocaine to
Robinson. Britt was the triggerman in the third 1999 killing of another drug dealer, a Mexican national, who had stolen 20 kilos from a
Laredo drug kingpin. Robinson was following in another car. Britt and Robinson, African-American, both allegedly fired weapons in the
first and second incidents. Attorney General Ashcroft rejected a plea agreement involving a life sentence. Co-defendant Britt was
sentenced to life in prison at a separate trial. Robinson has filed a lethal injection lawsuit in the DC Circuit Court. All post-conviction
motions have been denied.


 Taylor, Styles                                         N.D. IN CR No. 2:01 CR 073 JM
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WM
a Hobbs act robbery of a gun store, "Firearms Unlimited" and the killing of the proprietor. 18 U.S.C. §§ 924 and 1951. The defendants are
African-American and the victim was white. Taylor was on parole. He has a juvenile record involving the robbery and shooting of a pizza
delivery man. Taylor was alleged to be more culpable and after the jury voted to sentence him to life in prison, Attorney General Ashcroft
approved withdrawal of the "death notice" as to Thomas. In a rule 11 proffer, Taylor told the government "that the man in the store was
reaching on me."


 Thomas, Keoin                                          N.D. IN No. 2:01 CR 073 JM
 Authorization withdrawn at trial                                               Race & Gender of Def B              M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WM
a Hobbs Act robbery of a gun store, "Firearms Unlimited," and the killing of the proprietor. 18 U.S.C. §§ 924 and 1951. The defendants
are African-American and the victim was white. Taylor was alleged to be more culpable and after the jury voted to sentence him to life in
prison, Attorney General Ashcroft approved withdrawal of the "death notice" as to Thomas.
                    Case 2:18-cr-00292-DWA Document 166-46 Filed 12/23/19 Page 56 of 117
                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Lentz, Jay                                             E.D. VA No. 01-CR-150
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WF
involves a domestic killing. interstate domestic violence and kidnapping resulting in death. The defendant lived in Virginia and his ex-
wife was kidnapped from Maryland. Her body was never located. A bloody car was found in D. C. All involved are white. A government
pretrial appeal involved statements by the defendant. 225 F.Supp.2d 672, aff'd, 2003 WL 253949 (4th Cir. (VA)). Lentz was convicted
and the jury unanimously recommended a life sentence. However, the judge vacated the conviction for lack of any evidence of interstate
kidnapping. 275 F.Supp.2d. A government appeal was successful. 2004 WL 2035326.


 Lien, David                                            N.D. CA CR No. 01-CR-20071
 Authorization withdrawn                                                        Race & Gender of Def A M
  Attorney General Ashcroft                                                   Race & Gender of Vict(s) AM
Fugitive co-defendant Chang was married to the bomb victim’s sister. There were domestic problems and a divorce. Lien was allegedly
sent to the victim’s home with a bomb inside a toy mechanical dog. The victim later purchased batteries, put them in the toy, which blew
up, killing him. The Attorney General required a capital prosecution but authorization was eventually withdrawn by Attorney General
Gonzales after the defense argued that Lien didn’t know what was in the package.


 Agofsky, Shannon Wayne                                 E.D. TX 1:03-CR 173
 Death row - 2255                                                               Race & Gender of Def W M
  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WM
Agofsky, along with his brother, was serving a life sentence for the 1992 abduction and murder of a president of a financial institution.
Agofsky took him to the institution and forced him to open the vault and then killed him. In 2004, Agofsky was convicted of beating,
kicking and stomping to death a fellow inmate at a federal prison in Beaumont, Texas. The victim was serving a term for arson and
firearms. The government alleged this was a premeditated prison "gang" hit. All involved are white. This was the fourth murder at
Beaumont FCI since March of 1997. The Fifth Circuit affirmed. 458 F.3d 369. A 28 U.S.C. §2255 motion is pending.


 Frye, James Ernest                                     S.D. MS No. 01-CR-8
 Life sentence from jury                                                        Race & Gender of Def B               M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) BF BM
involves the 1999 carjacking and gun murders of two black victims, a boyfriend and a girlfriend, who were attempting to buy about
$30,000 worth of cocaine and were ripped off and killed. The male victim was shot first. The female victim, a 19 year old nursing student,
was driven around in the trunk of her auto for an hour before being killed. Both African-American defendants confessed, blaming the other
as the triggerperson. There was a post-mortem attempt to dismember (head and hands) and rebury the bodies. Frye was convicted of
robbery in 1994. He escaped from custody in January of 2000. The Notice of Intent to Seek the Death penalty against Frye was dismissed
as filed too late but the decision was reversed. 372 F.3d 729 (2004). The defendants were each sentenced to life in prison at separate trials.
Cooper's life sentence was affirmed. 2003 WL 21672845 (5th Cir.). The jury was deadlocked after five hours of deliberation.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Cooper, Billy D.                                     S.D. MS No. 01-CR-8
 Life sentence from jury                                                      Race & Gender of Def B              M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BF BM
involves carjacking and killings of two black victims who were attempting to buy about $30,000 worth of cocaine and were ripped off and
killed. The male victim was shot first. The female victim was driven around in the trunk of her auto for an hour before being killed. Both
African-American defendants confessed, blaming the other as the triggerperson. There was a post-mortem attempt to dismember (head and
hands) and rebury the bodies. Cooper has a low I.Q. Frye was convicted of robbery in 1994. He escaped from custody in January of 2000.
The Notice of Intent to Seek the Death penalty against Frye was dismissed as filed too late but the decision was reversed. 372 F.3d 729
(2004). The defendants were each sentenced to life in prison at separate trials. Cooper's life sentence was affirmed. 2003 WL 21672845
(5th Cir.).


 Jones, Milton                                        E.D. MI CR No. 01-80571
 Guilty plea                                                                  Race & Gender of Def B              M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
involves a gang called the "Young Boys Inc.". Milton Jones, the alleged kingpin, is charged along with 13 others, including state
representative Keith Stallworth, with laundering money. Jones wrote an autobiography, "Y.B.I." about his life of crime. Three defendants
faced the death penalty. Jones is charged with three murders. Murder for hire is alleged as an aggravating circumstance. Canty and
Mitchell are charged with killing another in '97. Canty is also charged in two other murders. Attorney General Ashcroft required a capital
prosecution. All involved are African-American. Jones agreed to cooperate with government prosecutors in return for a 30 year sentence.


 Canty, Raymond                                       E.D. MI CR No. 01-80571
 Authorization withdrawn                                                      Race & Gender of Def B              M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
involves a gang called the "Young Boys Inc.". Milton Jones, the alleged kingpin, is charged along with 13 others, including state
representative Keith Stallworth, charged with laundering money. Jones wrote an autobiography, "Y.B.I." about his life of crime. Three
defendants face the death penalty. Jones is charged with two murders in 1998. Murder for hire is alleged as an aggravating circumstance.
Canty and Mitchell are charged with killing another in '97. Canty is also charged in two other murders. Attorney General Ashcroft
required a capital prosecution. All involved are African-American. Jones agreed to cooperate with government prosecutors in return for a
30 year sentence and authorization was withdrawn as to Canty and Mitchell.


 Mitchell, Eugene                                     E.D. MI CR No. 01-80571
 Authorization withdrawn                                                      Race & Gender of Def B              M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
involves a gang called the "Young Boys Inc.". Milton Jones, the alleged kingpin, is charged along with 13 others, including state
representative Keith Stallworth, charged with laundering money. Jones wrote an autobiography, "Y.B.I." about his life of crime. Three
defendants face the death penalty. Jones is charged with two murders in 1998. Murder for hire is alleged as an aggravating circumstance.
Canty and Mitchell are charged with killing another in '97. Canty is also charged in two other murders. Attorney General Ashcroft
required a capital prosecution. All involved are African-American. Jones agreed to cooperate with government prosecutors in return for a
30 year sentence and authorization was withdrawn as to Canty and Mitchell.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Sampson, Gary                                         D. MA No. 01-CR-10384
 Death row - appeal                                                            Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WM
Sampson plead guilty to two separate car-jacking murders in Massachusetts that took place three days apart in the summer of 2001. The
victims were a 69-year old grandfather and a 19-year old college student. Sampson confessed to those crimes as well as to a strangulation
murder in New Hampshire that he committed three days after the second carjacking murder, and to a subsequent unsuccessful attempted
carjacking in Vermont. The crimes all occurred within an 8-day period. He confessed, as well, to having committed a series of 5 bank
robberies in North Carolina prior to coming to New England. The day before he committed the first murder, Sampson had called the FBI
in Boston in an effort to surrender on the bank robberies. The FBI accidentally or deliberately disconnected the call or chose not to follow
up. A 28 U.S.C. §2255 motion was granted. A government interlocutory appeal was denied. 2013 WL 3828663 (1st Cir. 2013). Sampson
was sentenced to death for the murder of the college student, but not the grandfather. All involved are white.


 Ostrander, Michael Paul                               W.D. MI No. 01-CR-00218
 Life sentence from jury                                                       Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WM
slaying of a man on federal land found buried in a previously dug grave in the Manistee National Forest (USFS). The Ostrander brothers
are charged with the August 2000 use of a firearm causing death during drug trafficking, involving marijuana and cocaine. Attorney
General Ashcroft required a capital prosecution.


 Ostrander, Robert Norman                              W.D. MI No. 01-CR-00218
 Life sentence from jury                                                       Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WM
slaying of a man on federal land, found buried in a previously dug grave in the Manistee National Forest (USFS). The Ostrander brothers
are charged with the August 2000 use of a firearm causing death during drug trafficking, involving marijuana and cocaine. Attorney
General Ashcroft required a capital prosecution.


 McClure, Cornell Winfrei                              D. MD No. 01-CR-367
 Life sentence from judge                                                      Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF
the gun murder of a white woman by two black men at a secluded location on federal property, the Beltsville Agricultural Research Center
(USDA). The victim was shot eleven times with two different types of ammunition. There are signed confessions by both defendants.
Millegan confessed that he committed the murder, along with McClure, both shooting the victim with their weapons. McClure wrote that
he told Millegan they should "press her" about a robbery of drugs from Millegan's apartment. The deceased was taken to a road on federal
land in Beltsville, where both allegedly shot her. Attorney General Ashcroft required a capital prosecution. Millegan plead guilty.
McClure declined to plead guilty and had a bench trial.
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                              Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Millegan, Rufus Jerry, Jr.                           D. MD CR No. 01-CR-367
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) WF
the gun murder of a white woman by two black men at a secluded location on federal property, the Beltsville Agricultural Research Center
(USDA). The victim was shot eleven times with two different types of ammunition. There are signed confessions by both defendants.
Millegan confessed that he committed the murder, along with McClure, both shooting the victim with their weapons. McClure wrote that
he told Millegan they should "press her" about a robbery of drugs from Millegan's apartment. The deceased was taken to a road on federal
land in Beltsville, where both allegedly shot her. Attorney General Ashcroft required a capital prosecution. Millegan plead guilty.
McClure declined to plead guilty and had a bench trial.


 Safarini, Zayd Hassan Abd Latif                      D. DC CR No. 91-CR-504
 Dismissal after notice by Judge                                               Race & Gender of Def AR M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) IM +
a Jordamian who was one of the four hijackers who used semiautomatic weapons, hand grenades and explosives to take over a Pan Am
flight in Karachi, Pakistan in 1986. The terrorists left 22 people dead, including 2 Americans of Indian descent and 100 wounded.
Originally, Safarini was convicted and imprisoned in Pakastan but he was released on September 27, 2001. He was arrested the next day as
he was traveling to Jordan. The judge recommended he be sent to Supermax, ADX Florence. He is currently at USP Terre Haute.


 Williams, Tyrone                                     S.D. TX No. 03-CR-221
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) HF HM
an undocumented immigrant smuggling operation that led to 19 immigrants' deaths by dehydration, overhearing and suffocation in the back
of a truck trailer driven by Williams. Joya was alleged to be the leader of this alien smuggling ring. She was extradited from Guatemala.
She was also accused of coordinating three smaller operations, gathering undocumented immigrants together in South Texas, arranging
them to be fed and housed and then placing them on trucks headed north. All involved are Latino, except Williams, who is black.
Williams was the only one of the 17 defendants to face the death penalty in this case and the only undocumented immigrants smuggling
defendant of approximately 70 in the nation to face the death penalty. The first jury failed to reach agreement on the capital charges. The
second jury convicted Williams and he was sentenced to life in prison. The Fifth Circuit reversed and the third trial resulted in 34 year
sentence.


 Davis, Johnny                                        E.D. LA No. 2:01-CR-282
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
involves allegations of four killings - 924(c) 2001 gun murders by a drug gang pushing heroin in a New Orleans Housing project. The
alleged kingpin, Richard Porter, was convicted of one murder and did not face the death penalty. The enforcer for the group, Johnny Davis,
was convicted of three of four murders. All involved are African-American. The government sought the death penalty against only Davis.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Rudolph, Eric Robert                                 N.D. AL No. 00-CR-422
 Guilty plea at trial                                                         Race & Gender of Def W M
  Attorney General Ashcroft                                                Race & Gender of Vict(s) WM
hate crime murders - law enforcement officer victim - two bombing murders including causing the death of a law enforcement officer in a
1998 Southside bombing of a Birmingham abortion clinic resulting in the death of an off-duty white police officer and severe injury to a
white clinic nurse. Rudolph, who is white, was described by Attorney General Ashcroft as "America's most notorious fugitive." Rudolph
was convicted of three bombings in Atlanta: the 1996 Olympic park bombing that killed a black woman and two other bombings in 1997.
He was captured after a 5 year manhunt. Attorney General Gonzales approved a plea agreement specifying a life sentence.


 Haynes, Aaron                                        W.D. TN No. 01-CR-20247
 Life sentence from jury                                                      Race & Gender of Def B             M

  Attorney General Ashcroft                                                Race & Gender of Vict(s) BF
bank robbery resulting in the death of a black female employee of Union Planters Bank. A security guard was also shot in the face by
Johnson, but survived. The defendants are African-American. Haynes was a shooter. The state and federal government both sought the
death penalty against Haynes and Maxwell but not against Johnson who may be intellectually disabled. A federal jury sentenced Haynes to
life imprisonment. After this verdict, Attorney General Ashcroft reversed his position and approved a plea agreement specifying a life
sentence for Maxwell. 242 F.Supp.2d 540. 269 F.Supp.2d 970. 265 F.Supp.2d 914.


 Maxwell, William                                     W.D. TN CR No. 01-CR-20247
 Guilty plea                                                                  Race & Gender of Def B             M

  Attorney General Ashcroft                                                Race & Gender of Vict(s) BF
bank robbery resulting in the death of a black female employee of Union Planters Bank. A security guard was also shot in the face by
Johnson, but survived. The defendants are African-American. Haynes was a shooter. The state and federal government both sought the
death penalty against Haynes and Maxwell but not against Johnson who may be intellectually disabled. A federal jury sentenced Haynes to
life imprisonment. After this verdict, Attorney General Ashcroft reversed his position and approved a plea agreement specifying a life
sentence for Maxwell.


 Moussaoui, Zacarias                                  E.D. VA No. 01-CR-455
 Life sentence from jury                                                      Race & Gender of Def B             M

  Attorney General Ashcroft                                                Race & Gender of Vict(s) WF +
alleged co-conspirator in the September 11, 2001 terrorist attack on the World Trade Center and Pentagon which killed over 3,000 and
resulted in four airline crashes in New York, Pennsyvlania and Washington, D.C. Moussaoui is French of Moroccan descent and is
accused as a member of al-Qaida. He was in jail on September 11 after suspicious actions at a Minnesota flight school. There were
victims of many nationalities and races. Moussaoui plead guilty but the jury deadlocked at the penalty trial. He remains at ADX Florence.


 Purkey, Wesley Ira                                   W.D. MO No. 01-CR-308
 Death row - 2255                                                             Race & Gender of Def W M
  Attorney General Ashcroft                                                Race & Gender of Vict(s) WF
the 1998 interstate kidnapping (from Missouri to Kansas), rape and murder of a 17 year old high school girl, whose body was then
dismembered and burned. Purkey is serving a prison sentence for another killing. Previously, Purkey was paroled after 17 years for
shooting a man. Both victim and defendant are white. All post-conviction motions have been denied.
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                             Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Caraballo, Gilberto                                     E.D. NY No. 01-CR-1367
 Life sentence from jury                                                           Race & Gender of Def H M
  Attorney General Ashcroft                                                     Race & Gender of Vict(s) HM
two drug related CCE murders. Caraballo was the kingpin of a large scale narcotics group in Brooklyn for a decade and the owner of the
5th Avenue Gym. Caraballo was involved in a romantic relationship with Quincy Martinez, the wife of one victim and the mother of his
two daughters. She conspired with Caraballo to have her husband killed. Caraballo paid the others in either drugs, cash or both to assist
him in killing this victim, who was shot to death by Aguilar in the presence of Caraballo in a van owned by Caraballo, and with the
assistance of Taylor. Aguilar confessed to shooting the victim repeatedly with two different guns and implicated the others. Caraballo was
charged in a second murder in 1992 with Molina and Rosario. Only Caraballo and Augilar faced the death penalty.


 Aguilar, Martin                                         E.D. NY No. 01-CR-1367
 Life sentence from jury                                                           Race & Gender of Def H M
  Attorney General Ashcroft                                                     Race & Gender of Vict(s) HM
two drug related CCE murders. Caraballo was the kingpin of a large scale narcotics group in Brooklyn for a decade and the owner of the
5th Avenue Gym. Caraballo was involved in a romantic relationship with Quincy Martinez, the wife of one victim and the mother of his
two daughters. She conspired with Caraballo to have her husband killed. Caraballo paid the others in either drugs, cash or both to assist
him in killing this victim, who was shot to death by Aguilar in the presence of Caraballo in a van owned by Caraballo, and with the
assistance of Taylor. Aguilar confessed to shooting the victim repeatedly with two different guns and implicated the others. Caraballo was
charged in a second murder in 1992 with Molina and Rosario. Only Caraballo and Augilar faced the death penalty. Aguilar, a member of
the Latin Kings, has a history of violence. He was acquitted in 1993 of stabbing a man in the brain with a screwdriver. He stabbed a
person in the prison law library on the first day of trial. He was tried first. Only two jurors voted for the death penalty.


 Duong, Anh The                                          N.D. CA No. 5:01CR20154 JF
 Life sentence from jury                                                           Race & Gender of Def A M
  Attorney General Ashcroft                                                     Race & Gender of Vict(s) AM HM
eight murders by "the Duong" racketeering enterprise involving the armed robbery of jewelry stores, banks and computer-related
companies by defendants of Chinese and Vietnamese descent. Anh The Duong is alleged to be the leader and is charged in all seven RICO
murders. He alone faced the death penalty. He attempted suicide and was in a coma for three weeks. Soewin Chan and Philip Garza were
charged in one 2001 RICO murder during commission of robbery. Lisbio Couto, Ricky Vong, Cuong Chi Yuong, Eng Yong Feng and
Jerry Hu were charged in one 1997 and one 1998 murder. Johnnie Tangha and Ted Vu Nguyen were charged in one 1998 murder. One
robbery/murder in 1997 and one in 1999 were charged as racketeering murders. Four other 1999 murders were charged as 924 murders and
under the Hobbs Act. Duong received 4 death sentences in Los Angeles for a gang-related bar shoot-out. Yuong has a prior murder
conviction.


 Regan, Brian Patrick                                    E.D. VA No. 01-CR-40
 Life sentence from jury                                                           Race & Gender of Def W M
  Attorney General Ashcroft                                                     Race & Gender of Vict(s) none
a 20 year veteran of the Air Force who worked in the headquarters of the National Reconnaissance Office, charged with three counts of
attempted espionage and one count of mishandling classified information. The government charged Regan of creating a “grave risk of
death” to U.S. military pilots patrolling the no-fly zone over Iraq. Regan intended to sell Iraqi president Saddam Hussein secret details
about American satellites. Prosecutors said Regan apparently used a form letter to solicit money from at least two foreign countries.
Investigators said Regan told Hussein in a letter, “If I am caught, I will be imprisoned for the rest of my life, if not executed for this deed.”
Two of the charges carried the death penalty.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Matthews, Lavin                                      N.D. NY No. 3:00 CR-269
 Life sentence from jury                                                      Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
murder during a CCE, motivated by a drug rip off. Another drug dealer was tortured and beaten to death and his marijuana, phone, jewelry
and $2000 cash were stolen. Attorney General Ashcroft required a capital prosecution against three defendants, later withdrawing the
notice of intent as to McMillian, who has intellectual deficits. All involved are African-American.


 McMillian, Christopher                               N.D. NY No. 3:00 CR-269
 Authorization withdrawn at trial                                             Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
murder during a CCE, motivated by a drug rip off. Another drug dealer was tortured and beaten to death and his marijuana, phone, jewelry
and $2000 cash were stolen. Attorney General Ashcroft required a capital prosecution against three defendants, later withdrawing the
notice of intent as to McMillian, who was found to be intellectually disabled by both the defense and government experts. All involved are
African-American.


 Tucker, Tebiah Shelah                                N.D. NY No. 00-CR-269
 Life sentence from jury                                                      Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
murder during a CCE, motivated by a drug rip off. Another drug dealer was tortured and beaten to death and his marijuana, phone, jewelry
and $2000 cash were stolen. Attorney General Ashcroft required a capital prosecution against three defendants, later withdrawing the
notice of intent as to McMillian, who was found to be intellectually disabled by both the defense and government experts. All involved are
African-American.


 Rice, Darrell David                                  W.D. VA CR No. 02-CR-26
 Innocent                                                                     Race & Gender of Def W M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) WF
the 1996 murders of two young female hikers in Virginia's Shenandoah National Park by cutting their throats. The victims were found
bound and gagged. According to Attorney General Ashcroft, who announced pursuit of the death penalty himself, Rice has said he hates
women and enjoys assaulting the vulnerable and that the two women deserved to die because they were lesbians. Review of tape
recordings indicate Rice said only that the government was portraying him that way. Rice is currently serving a 135 month sentence in
federal prison for the 1997 attempted abduction of a female bicyclist in the park. Attorney General Ashcroft stated at a news conference:
"We're inclined to prosecute hate crimes like this one, prosecute them to the fullest." All involved are white. Days before the October
2003 trial date the trial was postponed when the FBI "found a new hair" and also re-examined a hair linking Rice to the women and
admitted there was no connection. The new hair did not come from Rice or the women. There is male DNA on both ligatures that did not
come from Rice. Eventually, the prosecution was dismissed.


 Dixon, Emile                                         E.D. NY No. 01-CR-389
 Life sentence from jury                                                      Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
Dixon is one of the leaders of the inter-state “Patio Crew” gang, charged with taking part in a 2002 gun murder of a witness and another
murder. A government informant, Robert Thompson, 30, was machine-gunned to death in his car, and his brother was wounded. The main
witness, the brother who survived, admitted lying about Dixon. A superceding indictment was filed charging a 1992 drug-related murder.
Attorney General Ashcroft required a capital prosecution overruling, press accounts indicated, his own review committee. Dixon is a
Jamaican immigrant. The victims were African-American.
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 Fields, Sherman Lamont                               W.D. TX No. 01-CR-164
 Death row - 2255                                                              Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BF
a jail escape and a domestic murder. The 2001 domestic killing/gun murder in Waco of a former girlfriend and mother of three young
children, by a twice convicted felon who escaped from jail. Initially, the jury was deadlocked on punishment. Fields was a federal prisoner
who bribed a jail guard to leave a door unlocked. Fields represented himself during the guilt phase. All involved are black. An appeal was
denied. 549 F.3d 963 (2007). All post-conviction motions have been denied.


 Villegas, Hernardo Medina                            D. PR No. 3:02-CR-117
 Life sentence from jury                                                       Race & Gender of Def H M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) HM
the Hobbs Act robbery of a local credit union, while an armored bank truck was making a deposit. A gunfight ensued and an armed guard
was killed with a second head shot by Villegas after he was down. Lorenzo Catalan and Hernando Medina participated in the robbery,
while Quester Sterling was the lookout. The 924(j) murder weapon was allegedly obtained in a carjacking. There are additional non-
capital charges for a prior robbery of the same credit union by the same group. Only Villegas and Roman faced the death penalty. All
involved are Hispanic.


 Roman, Lorenzo Catalan                               D. PR No. 3:02-CR-117
 Life sentence from jury                                                       Race & Gender of Def H M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) HM
the Hobbs Act robbery of a local credit union, while an armored bank truck was making a deposit. A gunfight ensued and an armed guard
was killed with a second head shot by Villegas after he was down. Lorenzo Catalan and Hernando Medina participated in the robbery,
while Quester Sterling was the lookout. The 924(j) murder weapon was allegedly obtained in a carjacking. There are additional non-
capital charges for a prior robbery of the same credit union by the same group. Only Villegas and Roman faced the death penalty. All
involved are Hispanic.


 Perez, Wilfredo                                      D. CT No. 02-CR-7
 Life sentence from jury                                                       Race & Gender of Def H M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) HM
a drug gang, "the Perez Organization" at war with "the Savage Nomads" in Hartford, Connecticut because of a turf dispute and a drug and
money kidnapping and robbery. Gonzalez was the alleged triggerman in this murder for hire. The government claims that Gonzalez is a
hired contract killer responsible for nine other murders. The judge ruled that these unadjudictated homicides were not admissible. 2004
WL 1920492. All involved are Hispanic. Attorney General Ashcroft required a capital prosecution. Santiago Feliciano testified for the
government that he arranged the murder of the head of the Nomads for Perez.


 Gonzalez, Fausto                                     D. CT No. 02-CR-7
 Life sentence from jury                                                       Race & Gender of Def H M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) HM
a drug gang, "the Perez Organization" at war with "the Savage Nomads" in Hartford, Connecticut because of a turf dispute and a drug and
money kidnapping and robbery. Gonzalez was the alleged triggerman in this murder for hire. The government claims that Gonzalez is a
hired contract killer responsible for nine other murders. The judge ruled that these unadjudictated homicides were not admissible. 2004
WL 1920492. All involved are Hispanic. Attorney General Ashcroft required a capital prosecution. Santiago Feliciano testified for the
government that he arranged the murder of the head of the Nomads for Perez.
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 Mitchell, Lezmond                                     D. AZ No. 01-CR-1062
 Death row - 2255                                                               Race & Gender of Def NA M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) NAF
murder on Navajo tribal land. All involved are Native American. The defendant and a juvenile got a ride from a woman and her 9 year old
granddaughter, killed both and stole the car supposedly for use in an armed robbery. Each victim was stabbed at a separate location. In an
attempt to hide the victim's identity, the hands and heads of the victims were removed. Attorney General Ashcroft required a capital
prosecution against Mitchell under a carjacking theory -- although the Navajo tribe has not "opted in" to the federal death penalty. A 28 U.
S.C. §2255 motion was denied. An appeal is pending.


 Mikos, Ronald                                         N.D. IL No. 02-CR 137
 Death row - 2255                                                               Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF
involves the § 1512 murder on January 27, 2002,of a government witness to prevent her testimony before the grand jury. Mikos, a
podiatrist, and another are accused in many counts of defrauding Medicare, HCFA and HHS. When the victim was served with a federal
grand jury subpoena for her testimony regarding treatment/non-treatment by Mikos, he allegedly tried to persuade the victim to lie to the
grand jury either by claiming lack of memory or stating that the surgery had been performed. When she refused he allegedly shot her. All
involved are white. Direct appeal was denied. A 28 USC 2255 motion is pending.


 LeCroy, William Emmett                                N.D. GA No. 02-CR-38
 Death Row - 2255                                                               Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF
a carjacking murder. The victim, a nurse practitioner, came home, was surprised inside her home, bound, raped, stabbed to death in her
bedroom. LeCroy took car keys from her purse and then stole her Ford Explorer. He was arrested two days later in Minnesota trying to
enter Canada with the victim's SUV. All involved are white. His direct appeal was denied. 441 F.3d 914 (11th Cir. 2006). All post-
conviction motions have been denied.


 Green, Darryl                                         D. MA CR No. 02-CR-10301
 Authorization withdrawn                                                        Race & Gender of Def B             M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
two members of the Esmond Street Crew charged with the RICO shooting death of a gang rival ("Franklin Hill Giants") during the
Caribbean Carnival in 2001. Key witnesses were four members of the gang who have plea agreements with federal prosecutors.
Prosecutors allege four other shootings. Family members of the defendants claim the murder was over a girl and not drugs. The
grandmother of the victim and the state prosecutor criticized the decision to seek the death penalty. Both defendants grew up in a violent
neighborhood and Morris was shot when he was 16. An innocent bystander was spared when a bullet hit his rearview mirror. After the
jury hung as to two non-capital defendants at a separate trial, the judge granted a Rule 29 motion for acquittal. The government then
dismissed the indictment and allowed the state to prosecute. All involved are African-American.
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 Morris, Branden                                       D. MA CR No. 02-CR-10301
 Authorization withdrawn                                                        Race & Gender of Def B             M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
two members of the Esmond Street Crew charged with the RICO shooting death of a gang rival ("Franklin Hill Giants") during the
Caribbean Carnival in 2001. Key witnesses were four members of the gang who have plea agreements with federal prosecutors.
Prosecutors allege four other shootings. Family members of the defendants claim the murder was over a girl and not drugs. The
grandmother of the victim and the state prosecutor criticized the decision to seek the death penalty. Both defendants grew up in a violent
neighborhood and Morris was shot when he was 16. An innocent bystander was spared when a bullet hit his rearview mirror. After the
jury hung as to two non-capital defendants at a separate trial, the judge granted a Rule 29 motion for acquittal. The government then
dismissed the indictment and allowed the state to prosecute. All involved are African-American.


 Mikhel, Iouri                                         C.D. CA CR No. 02-220 (A)-NM
 Death row - Appeal                                                             Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF WM
five kidnapping ransom murders by the Russian mob. Wealthy Russian immigrants were kidnapped, held for ransom, murdered and their
bodies dumped in a reservoir. 1.2 million was collected in ransom. All involved are Caucasian. Mikhel and Kadamovas are charged in
four, the others in two, except Krylov, who is charged in three murders. The indictment charged hostage taking resulting in death. 18 U.S.
C. §1203. Mikhel, Kadamovas and Krylov faced the death penalty. Mikhel and Kadamovas were sentenced to death. At a separate trial,
Krylov was sentenced to life imprisonment after Attorney General Gonzales rejected an offer to plead guilty. A direct appeal was denied in
May of 2018.


 Kadamovas, Jurijus                                    C.D. CA CR No. 02-220 (A)-NM
 Death row - Appeal                                                             Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF WM
five kidnapping ransom murders by the Russian mob. Wealthy Russian immigrants were kidnapped, held for ransom, murdered and their
bodies dumped in a reservoir. 1.2 million was collected in ransom. All involved are Caucasian. Mikhel and Kadamovas are charged in
four, the others in two, except Krylov, who is charged in three murders. The indictment charged hostage taking resulting in death. 18 U.S.
C. §1203. Mikhel, Kadamovas and Krylov faced the death penalty. Mikhel and Kadamovas were sentenced to death. At a separate trial,
Krylov was sentenced to life imprisonment after Attorney General Gonzales rejected an offer to plead guilty. A direct appeal was denied in
May of 2018.


 Krylov, Petro                                         C.D. CA CR No. 02-220 (A)-NM
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WM
five kidnapping ransom murders by the Russian mob. Wealthy Russian immigrants were kidnapped, held for ransom, murdered and their
bodies dumped in a reservoir. 1.2 million was collected in ransom. All involved are Caucasian. Mikhel and Kadamovas are charged in
four, the others in two, except Krylov, who is charged in three murders. The indictment charged hostage taking resulting in death. 18 U.S.
C. §1203. Mikhel, Kadamovas and Krylov faced the death penalty. Mikhel and Kadamovas were sentenced to death. At a separate trial,
Krylov was sentenced to life imprisonment after Attorney General Gonzales rejected an offer to plead guilty.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Skiba, Lawrence                                       W.D. PA 01-CR-291
 Guilty plea                                                                   Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WM
an interstate mail fraud murder for hire, allegedly by a hitman in 2000. Skiba and his brother-in-law took out insurance policies on the
victim in 1997. The United States alleges that Skiba was involved in two other suspicious deaths: a fatal fire at a hotel he owned in 1993
to collect insurance money and a 1998 suicide by an intellectually disabled man after Skiba allegedly gave him a gun. Also alleged is an
unsuccessful attempt to kill a man in 2000, three days before his death to collect on a $15,000 life insurance policy. Attorney General
Ashcroft approved a plea agreement to testify against the shooter. Skiba was sentenced to 20 years. All involved are white.


 Corley, Odell                                         N.D. IN No. 02-CR-116
 Death row - 2255                                                              Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF WM
bank robbery and gun murders. Five people, three African-American males, one African-American female and one white woman (the
pregnant girlfriend of Johnson), robbed a bank and shot to death a white female teller, while wounding another white male teller who died
ten weeks after the shooting. A white male security guard was also wounded, leaving him a paraplegic. Corley, who has taken the name
Nasih Khalil Ra'id, was the ring leader who burst into the bank shooting. Johnson was also a gunman. McGregor was a driver. Gay and
Ramsey were some distance away. The robbery was videotaped although the gunman was in disguise. Corley's palm print was found
inside the bank. Corley committed a prior murder in 1998. An appeal was denied. 519 F.3d 716 (7th Cir. 2008). A 28 USC 2255 motion
is pending.


 Foster, Aaron Demarco                                 D. MD CR No. 02-CR-410
 Authorization withdrawn                                                       Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
leaders of one of West Baltimore's most violent drug gangs, the Lexington Terrace Boys, who are charged in eight killings, including one
potential government witness who was killed to prevent him from testifying about an earlier double homicide of two members of a rival
gang, the Stricker Street group. Foster was charged with four murders. Since 1999 the gang operated from the Lexington Terrace and
Edgar Allan Poe Homes public housing projects. During trial, the government presented evidence linking the gang to nine killings. Taylor
had a direct role in seven. The mitigation evidence focused on the trauma of a childhood growing up in this neighborhood. When Moses
was 4, his father was gunned down in a drug hit in the lobby of one of the buildings. Foster was acquitted of attempted murder in state
court in 1998. Taylor and Moses were charged together in the double homicide and in a witness killing. There was also an attempted
kidnapping of another potential witness to the 2001 killings. The latest victim is the third brother of one family to die on the streets of
Baltimore. Investigators claim the group is in some way connected to 40 homicides. Shortly before trial, a critical witness in the case was
shot 10 times and killed. He had been shot at twice before. Separate indictments (03-343 and 03-560) charge Kaarman Hawkins, Parker,
Foster and Taylor in that case. The jury returned unanimous life verdicts for Moses and Taylor in 5 hours. All involved are African-
American.
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 Moses, Keon                                           D. MD No. 02-CR-410
 Life sentence from jury                                                       Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
leaders of one of West Baltimore's most violent drug gangs, the Lexington Terrace Boys, who were charged in eight killings, including a
potential government witness who was killed to prevent him from testifying about an earlier double homicide of two members of a rival
gang, the Stricker Street group. Moses was charged in four murders. Since 1999, the gang operated from the Lexington Terrace and Edgar
Allan Poe Homes public housing projects. During trial, the government presented evidence linking the gang to nine killings. Taylor had a
direct role in seven. The mitigation evidence focused on the trauma of a childhood growing up in this neighborhood. When Moses was 4,
his father was gunned down in a drug hit in the lobby of one of the buildings. Foster was acquitted of attempted murder in state court in
1998. Taylor and Moses were charged together in the double homicide and in a witness killing. There was also an attempted kidnapping
of another potential witness to the 2001 killings. The latest victim is the third brother of one family to die on the streets of Baltimore.
Investigators claim the group is in some way connected to 40 homicides. Shortly before trial, a critical witness in the case was shot 10
times and killed. He had been shot at twice before. Separate indictments (03-343 and 03-560) charge Kaarman Hawkins, Parker, Foster
and Taylor in that case. The jury returned unanimous life verdicts for Moses and Taylor in 5 hours. All involved are African-American.


 Taylor, Michael Lafayette                             D. MD No. 02-CR-410
 Life sentence from jury                                                       Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
leaders of one of West Baltimore's most violent drug gangs, the Lexington Terrace Boys, who are charged in eight killings, including one
potential government witness who was killed to prevent him from testifying about an earlier double homicide of two members of a rival
gang, the Stricker Street group. Taylor was charged in five murders. Since 1999 the gang operated from the Lexington Terrace and Edgar
Allan Poe Homes public housing projects. During trial, the government presented evidence linking the gang to nine killings. Taylor had a
direct role in seven. The mitigation evidence focused on the trauma of a childhood growing up in this neighborhood. When Moses was 4,
his father was gunned down in a drug hit in the lobby of one of the buildings. Foster was acquitted of attempted murder in state court in
1998. Taylor and Moses were charged together in the double homicide and in a witness killing. There was also an attempted kidnapping
of another potential witness to the 2001 killings. The latest victim is the third brother of one family to die on the streets of Baltimore.
Investigators claim the group is in some way connected to 40 homicides. Shortly before trial, a critical witness in the case was shot 10
times and killed. He had been shot at twice before. Separate indictments (03-343 and 03-560) charge Kaarman Hawkins, Parker, Foster
and Taylor in that case. The jury returned unanimous life verdicts for Moses and Taylor in 5 hours. All involved are African-American.


 Cisneros, Luis                                        D. AZ CR No. 03-CR-730
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) HM
three RICO murders by a prison and drug gang, "the Cisneros Organization." Luis Cisneros and Alvarado are charged in all three murders,
the others in two. A father and son were allegedly murdered six months apart by this Hispanic gang. The father was a suspected
government witness/informant. 18 U. S. C. §924 and 1512. Numerous other murders, some of potential witnesses, are alleged as FRE 404
(b) evidence. The least culpable were apparently Llamas and Alvarado, did not face the death penalty. The prosecution was moved from
New Mexico to Arizona after an alleged courthouse security leak. Attorney General Gonzales approved a global plea settlement, a bi-
product of a joint defense agreement, specifying Luis Cisneros, Eppinger and Rivera life sentences and Felipe Cisneros and Llamas
concurrent terms with their state sentences plus two years. All involved are Hispanic.
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 Cisneros, Felipe N.                                   D. AZ CR No. 03-CR-730
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) HM
three RICO murders by a prison and drug gang, "the Cisneros Organization." Luis Cisneros and Alvarado are charged in all three murders,
the others in two. A father and son were allegedly murdered six months apart by this Hispanic gang. The father was a suspected
government withness/informant. 18 U. S. C. §924 and 1512. Numerous other murders, some of potential witnesses, are alleged as FRE
404(b) evidence. The least culpable were apparently Llamas and Alvarado, who did not face the death penalty. The prosecution was
moved from New Mexico to Arizona after an alleged courthouse security leak. Attorney General Gonzales approved a global plea
settlement, a bi-product of a joint defense agreement, specifying Luis Cisneros, Eppinger and Rivera life sentences and Felipe Cisneros and
Llamas concurrent terms with their state sentences plus two years. All involved are Hispanic.


 Eppinger, Paul E.                                     D. AZ CR No. 03-CR-730
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) HM
three RICO murders by a prison and drug gang, "the Cisneros Organization." Luis Cisneros and Alvarado are charged in all three murders,
the others in two. Additional murders were charged in aggravation against Eppinger and Rivera. A father and son were allegedly
murdered six months apart by this Hispanic gang. The father was a suspected government withness/informant. 18 U. S. C. §924 and 1512.
Numerous other murders, some of potential witnesses, are alleged as FRE 404(b) evidence. The least culpable were apparently Llamas and
Alvarado, who did not face the death penalty. The prosecution was moved from New Mexico to Arizona after an alleged courthouse
security leak. Attorney General Gonzales approved a global plea settlement, a bi-product of a joint defense agreement, specifying Luis
Cisneros, Eppinger and Rivera life sentences and Felipe Cisneros and Llamas concurrent terms with their state sentences plus two years.
All involved are Hispanic.


 Rivera, Angel R                                       D. AZ CR No. 03-CR-730
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) HM
three RICO murders by a prison and drug gang, "the Cisneros Organization." Luis Cisneros and Alvarado are charged in all three murders,
the others in two. Additional murders were charged in aggravation against Eppinger and Rivera. A father and son were allegedly
murdered six months apart by this Hispanic gang. The father was a suspected government withness/informant. 18 U. S. C. §924 and 1512.
Numerous other murders, some of potential witnesses, are alleged as FRE 404(b) evidence. The least culpable were apparently Llamas and
Alvarado, who did not face the death penalty. The prosecution was moved from New Mexico to Arizona after an alleged courthouse
security leak. Attorney General Gonzales approved a global plea settlement, a bi-product of a joint defense agreement, specifying Luis
Cisneros, Eppinger and Rivera life sentences and Felipe Cisneros and Llamas concurrent terms with their state sentences plus two years.
All involved are Hispanic.


 Nelson, Brian                                         E.D. LA CR No. 02-CR-304
 Dismissal after notice by Judge                                               Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) WM
September 2002 shotgun murder of a New Orleans man and the carjacking of his wife. The United States Attorney said: "If we're given
the green light, we will seek the death penalty." However, the defendants entered into plea agreements with the United States Attorney.
The defendants are black and the victims a young white married couple. The defendants had been mistakenly released by state authorities
after allegedly being involved in a rape and robbery spree. Dawson and Franklin entered into plea agreements which were accepted and
approved. Attorney General Ashcroft rejected a plea agreement and required a capital prosecution against Nelson, the triggerman, who has
an I.Q. of 67. Nelson tried to shoot the woman but the gun jammed. District court found Nelson intellectually disabled and precluded the
death penalty. 419 F.Supp.2d 891 (2006).
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 McIntosh, Richard                                    S.D. IL CR No. 99-40044 and C.D. CA CR No. 02-00938-GHK
 Authorization withdrawn                                                      Race & Gender of Def W M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
three white inmates at USP Marion alleged to be members of the Aryan Brotherhood (AB) who allegedly killed a black BOP inmate.
Allegedly, Knorr held the victim while McIntosh stabbed him, on Sahakian's orders. Sahakian is allegedly one of three Aryan Brotherhood
commissioners, the leader of the Aryan Brotherhood at Marion. The government claimed the stabbing stems from an Aryan Brotherhood
"war" with blacks from the District of Columbia transferred throughout the BOP from the District of Columbia facility at Lorton, Virginia.
The defendants were also indicted in the Central District of California in a 2002 RICO indictment of 40 reputed members and associates of
the Aryan Brotherhood for a string of murders and violent attacks allegedly designed to expand the power of the white racist prison gang.
The Illinois jury could not reach a verdict. All charges were dismissed without prejudice in July 2005 pending the outcome of the Central
District of California Aryan Brotherhood prosecution. In December of 2007, after four life sentences at two trials, Attorney General
Mukasey authorized prosecutors to abandon pursuit of the death penalty against Aryan Brotherhood members.


 Knorr, Carl                                          S.D. IL CR No. 99-40044 and C.D. CA CR No. 02-00938-GHK
 Authorization withdrawn                                                      Race & Gender of Def W M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
three white inmates at USP Marion alleged to be members of the Aryan Brotherhood (AB) who allegedly killed a black BOP inmate.
Allegedly, Knorr held the victim while McIntosh stabbed him, on Sahakian's orders. Sahakian is allegedly one of three Aryan Brotherhood
commissioners, the leader of the Aryan Brotherhood at Marion. The government claimed the stabbing stems from an Aryan Brotherhood
"war" with blacks from the District of Columbia transferred throughout the BOP from the District of Columbia facility at Lorton, Virginia.
The defendants were also indicted in the Central District of California in a 2002 RICO indictment of 40 reputed members and associates of
the Aryan Brotherhood for a string of murders and violent attacks allegedly designed to expand the power of the white racist prison gang.
The Illinois jury could not reach a verdict. All charges were dismissed without prejudice in July 2005 pending the outcome of the Central
District of California Aryan Brotherhood prosecution. In December of 2007, after four life sentences at two trials, Attorney General
Mukasey authorized prosecutors to abandon pursuit of the death penalty against Aryan Brotherhood members. Knorr eventually pled
guilty to one count of manslaughter and was sentenced to 138 months.


 Sahakian, David Michael                              S.D. IL CR No. 99-40044
 Authorization withdrawn                                                      Race & Gender of Def W M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
three white inmates at Marion alleged to be members of the Aryan Brotherhood (AB) who allegedly killed a COP inmate. Allegedly,
Knorr held the victim while McIntosh stabbed him, on Sahakian's orders. Sahakian is allegedly one of three Aryan Brotherhood
commissioners, the leader of the Aryan Brotherhood at Marion. The government claims the stabbing stems from an Aryan Brotherhood
"war" with blacks from the District of Columbia transferred throughout the BOP from the District of Columbia facility at Lorton, Virginia.
The defendants were also indicted in the Central District of California in a 2002 RICO indictment of 40 reputed members and associates of
the Aryan Brotherhood for a string of murders and violent attacks allegedly designed to expland the power of the white racist prison gang.
The Illinois jury could not reach a verdict. All charges were dismissed without prejudice in July 2005 pending the outcome of the Central
District of California Aryan Brotherhood prosecution. Sahakian is charged in four murders. In December of 2007, after four life
sentences at two trials, Attorney General Mukasey authorized prosecutors to abandon pursuit of the death penalty against Aryan
Brotherhood members.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Mills, Barry Byron                                    C.D. CA CR No. 02-00938-GHK
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) WM BM
a RICO indictment of 40 reputed members and associates of the Aryan Brotherhood [AB] for a string of murders and violent attacks
allegedly designed to expand the power of the white racist prison gang, which was founded at San Quentin state prison in 1964.
Authorities say the gang has about 100 members. In 1980, the federal faction of the AB allegedly formed a three-man "Commission" to
oversee AB members in federal prisons, and, in 1993, the Federal Commission allegedly formed a "Council" to oversee the day-to-day
activities of the federal faction. 17 murders were alleged. Mills was charged with eleven murders. At least six murders have occurred
since 1996. Twenty-seven defendants initially were eligible for the death penalty. Mills and Bingham are alleged to have made all major
decisions involving the criminal activities of the federal faction. Mills was also charged with personally committing one murder and
involvement in as many as a dozen murders. AB members selected to face the death penalty were: McIntosh, Knorr, Sahakian,
McElhiney, Littrell, Bridgewater, Terflinger, Schwyhart, Houston, Griffin, Chance, Stinson, Mills and Bingham. Mills and Bingham were
sentenced to life in prison in 2006, as were Bridgewater and Houston at a separate trial in 2007.


 Stinson, John William                                 C.D. CA CR No. 02-00938-GHK
 Authorization withdrawn at trial                                               Race & Gender of Def W M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) WM
a RICO indictment of 40 reputed members and associates of the Aryan Brotherhood [AB] for a string of murders and violent attacks
allegedly designed to expand the power of the white racist prison gang, which was founded at San Quentin state prison in 1964.
Authorities say the gang has about 100 members. In 1980, the federal faction of the AB allegedly formed a three-man "Commission" to
oversee AB members in federal prisons, and, in 1993, the Federal Commission allegedly formed a "Council" to oversee the day-to-day
activities of the federal faction. 17 murders were alleged. Stinson was charged with six murders. At least six murders have occurred since
1996. Twenty-seven defendants initially were eligible for the death penalty. Mills and Bingham are alleged to have made all major
decisions involving the criminal activities of the federal faction. Mills is also charged with personally committing one murder and
involvement in numerous bad acts, as many as a dozen murders. Stinson, Terflinger, Griffin and Chance, allegedly made all major
decisions involving the criminal activities of the California faction of the AB. Slocum, a member of both the Federal and California
councils allegedly relayed information between the two and is alleged to have participated in actual murders. McElhiney and Sahakian are
alleged to be responsible for running the day-to-day operations of the AB at USP Marion in Illinois. Littrell, Roy, West, Grizzle, Kennedy
and Filkins are accused of allegedly murdering AB members/inmates who had run afoul of the organization or violated rules. Grizzle
allegedly helped Litrell in one strangulation in the victim's cell. Bridgewater, a member of the Federal Council, is alleged to have
murdered two black inmates. Campbell is accused of participating in three murders. Stinson, Terflinger, Chance and Burnett are charged
with murders of white inmates who had conflicts with the gang. Sahakian, McIntosh and Knorr are accused of murdering a black inmate at
Marion and faced federal capital charges at trial in Illinois at which the jury deadlocked. Sahakian faced three additional murder charges in
the California indictment. Schwyhart and Hourston are accused of taking part in the murders of two black inmates. Slocum, Bridgewater,
Campbell and Houston were also charged with two BOP prison murders of black men in Pennsylvania at Lewisburg's USP. Charges were
dismissed in Pennsylvania. AB members selected to face the death penalty were: McIntosh, Knorr, Sahakian, McElhiney, Littrell,
Bridgewater, Terflinger, Schwyhart, Houston, Griffin, Chance, Stinson, Mills and Bingham. Mills and Bingham were sentenced to life in
prison in 2006, as were Bridgewater and Houston at a separate trial in 2007. In December of 2007, Attorney General Mukasey authorized
prosecutors to abandon pursuit of the death penalty against the remaining AB gang members.
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                             Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Terflinger, Richard Lloyd                              C.D. CA No. 02-00938-GHK
 Authorization withdrawn                                                        Race & Gender of Def W M
  Attorney General Gonzales                                                   Race & Gender of Vict(s) WM
a RICO indictment of 40 reputed members and associates of the Aryan Brotherhood [AB] for a string of murders and violent attacks
allegedly designed to expand the power of the white racist prison gang, which was founded at San Quentin state prison in 1964.
Authorities say the gang has about 100 members. In 1980, the federal faction of the AB allegedly formed a three-man "Commission" to
oversee AB members in federal prisons, and, in 1993, the Federal Commission allegedly formed a "Council" to oversee the day-to-day
activities of the federal faction. At least six murders have occurred since 1996. Twenty-seven defendants initially were eligible for the
death penalty. Mills and Bingham are alleged to have made all major decisions involving the criminal activities of the federal faction.
Mills is also charged with personally committing one murder and involvement in numerous bad acts, as many as a dozen murders. Stinson,
Terflinger, Griffin and Chance, allegedly made all major decisions involving the criminal activities of the California faction of the AB.
Slocum, a member of both the Federal and California councils allegedly relayed information between the two and is alleged to have
participated in actual murders. McElhiney and Sahakian are alleged to be responsible for running the day-to-day operations of the AB at
USP Marion in Illinois. Littrell, Roy, West, Grizzle, Kennedy and Filkins are accused of allegedly murdering AB members who had run
afoul of the organization or violated rules. Grizzle allegedly helped Litrell in one strangulation in the victim's cell. Bridgewater, a member
of the Federal Council, is alleged to have murdered two black inmates. Campbell is accused of participating in three murders. Stinson,
Terflinger, Chance and Burnett are charged with murders of white inmates who had conflicts with the gang. Sahakian, McIntosh and Knorr
are accused of murdering a black inmate at Marion and faced federal capital charges at trial in Illinois at which the jury deadlocked.
Sahakian faced three additional murder charges in the California indictment. Schwyhart and Hourston are accused of taking part in the
murders of two black inmates. Slocum, Bridgewater, Campbell and Houston were also charged with two BOP prison murders of black
men in Pennsylvania at Lewisburg's USP. Charges were dismissed in Pennsylvania. Terflinger was charged with five murders. AB
members/inmates selected to face the death penalty were: McIntosh, Knorr, Sahakian, McElhiney, Littrell, Bridgewater, Terflinger,
Schwyhart, Houston, Griffin, Chance, Stinson, Mills and Bingham. Mills and Bingham were sentenced to life in prison in 2006, as were
Bridgewater and Houston at a separate trial in 2007. Charges were ultimately dismissed. In December of 1997, Attorney General Mukasey
authorized prosecutors to abandon pursuit of the death penalty against the remaining AB gang members.


 Griffin, Robert Lee                                    C.D. CA CR No. 02-00938-GHK
 Authorization withdrawn at trial                                               Race & Gender of Def W M
  Attorney General Gonzales                                                   Race & Gender of Vict(s) WM
a RICO indictment of 40 reputed members and associates of the Aryan Brotherhood [AB] for a string of murders and violent attacks
allegedly designed to expand the power of the white racist prison gang, which was founded at San Quentin state prison in 1964.
Authorities say the gang has about 100 members. In 1980, the federal faction of the AB allegedly formed a three-man "Commission" to
oversee AB members in federal prisons, and, in 1993, the Federal Commission allegedly formed a "Council" to oversee the day-to-day
activities of the federal faction. 17 murders were alleged. Griffin was charged with six murders. At least six murders have occurred since
1996. Twenty-seven defendants initially were eligible for the death penalty. Mills and Bingham are alleged to have made all major
decisions involving the criminal activities of the federal faction. Mills is also charged with personally committing one murder and
involvement in numerous bad acts, as many as a dozen murders. Stinson, Terflinger, Griffin and Chance, allegedly made all major
decisions involving the criminal activities of the California faction of the AB. AB members selected to face the death penalty were:
McIntosh, Knorr, Sahakian, McElhiney, Littrell, Bridgewater, Terflinger, Schwyhart, Houston, Griffin, Chance, Stinson, Mills and
Bingham. Mills and Bingham were sentenced to life in prison in 2006, as were Bridgewater and Houston at a separate trial in 2007. The
Notice of Intent to Seek the Death Penalty was withdrawn as to Griffin, Chance, Stinson and Schwyhart.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Bingham, Tyler Davis                                 C.D. CA CR No. 02-00938-GHK
 Life sentence from jury                                                      Race & Gender of Def W M
  Attorney General Gonzales                                                 Race & Gender of Vict(s) WM BM
a RICO indictment of 40 reputed members and associates of the Aryan Brotherhood [AB] for a string of murders and violent attacks
allegedly designed to expand the power of the white racist prison gang, which was founded at San Quentin state prison in 1964.
Authorities say the gang has about 100 members. In 1980, the federal faction of the AB allegedly formed a three-man "Commission" to
oversee AB members in federal prisons, and, in 1993, the Federal Commission allegedly formed a "Council" to oversee the day-to-day
activities of the federal faction. 17 murders were alleged. Bingham was charged with five murders. At least six murders have occurred
since 1996. Twenty-seven defendants initially were eligible for the death penalty. Mills and Bingham are alleged to have made all major
decisions involving the criminal activities of the federal faction. Mills is also charged with personally committing one murder and
involvement in numerous bad acts, as many as a dozen murders. AB members selected to face the death penalty were: McIntosh, Knorr,
Sahakian, McElhiney, Littrell, Bridgewater, Terflinger, Schwyhart, Houston, Griffin, Chance, Stinson, Mills and Bingham. Mills and
Bingham were sentenced to life in prison in 2006, as were Bridgewater and Houston at a separate trial in 2007.


 McElhiney, Michael Patrick                           C.D. CA No. 02-00938-GHK
 Authorization withdrawn                                                      Race & Gender of Def W M
  Attorney General Gonzales                                                 Race & Gender of Vict(s) WM BM
a RICO indictment of 40 reputed members and associates of the Aryan Brotherhood [AB] for a string of murders and violent attacks
allegedly designed to expand the power of the white racist prison gang, which was founded at San Quentin state prison in 1964.
Authorities say the gang has about 100 members. In 1980, the federal faction of the AB allegedly formed a three-man "Commission" to
oversee AB members in federal prisons, and, in 1993, the Federal Commission allegedly formed a "Council" to oversee the day-to-day
activities of the federal faction. At least six murders have occurred since 1996. Twenty-seven defendants initially were eligible for the
death penalty. McElhiney was charged in four murders. Mills and Bingham are alleged to have made all major decisions involving the
criminal activities of the federal faction. Mills is also charged with personally committing one murder and involvement in numerous bad
acts, as many as a dozen murders. Stinson, Terflinger, Griffin and Chance, allegedly made all major decisions involving the criminal
activities of the California faction of the AB. Slocum, a member of both the Federal and California councils allegedly relayed information
between the two and is alleged to have participated in actual murders. McElhiney and Sahakian are alleged to be responsible for running
the day-to-day operations of the AB at USP Marion in Illinois. Littrell, Roy, West, Grizzle, Kennedy and Filkins are accused of allegedly
murdering AB members who had run afoul of the organization or violated rules. Grizzle allegedly helped Litrell in one strangulation in the
victim's cell. Bridgewater, a member of the Federal Council, is alleged to have murdered two black inmates. Campbell is accused of
participating in three murders. Stinson, Terflinger, Chance and Burnett are charged with murders of white inmates who had conflicts with
the gang. Sahakian, McIntosh and Knorr are accused of murdering a black inmate at Marion and faced federal capital charges at trial in
Illinois at which the jury deadlocked. Sahakian faces three additional murder charges in the California indictment. Schwyhart and
Hourston are accused of taking part in the murders of two black inmates. Slocum, Bridgewater, Campbell and Houston were also charged
with two BOP prison murders of black men in Pennsylvania at Lewisburg's USP. Charges were dismissed in Pennsylvania. AB
members/inmates selected to face the death penalty were: McIntosh, Knorr, Sahakian, McElhiney, Littrell, Bridgewater, Terflinger,
Schwyhart, Houston, Griffin, Chance, Stinson, Mills and Bingham. Mills and Bingham were sentenced to life in prison in 2006, as were
Bridgewater and Houston at a separate trial in 2007. The Notice of Intent to Seek the Death Penalty was also withdrawn as to Griffin,
Chance, Stinson and Schwyhart. Charges were ultimately dismissed against McElhiney.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Chance, David Alan                                   C.D. CA CR No. 02-00938-GHK
 Authorization withdrawn at trial                                             Race & Gender of Def W M
  Attorney General Gonzales                                                 Race & Gender of Vict(s) WM
a RICO indictment of 40 reputed members and associates of the Aryan Brotherhood [AB] for a string of murders and violent attacks
allegedly designed to expand the power of the white racist prison gang, which was founded at San Quentin state prison in 1964. In 1980,
the federal faction of the AB allegedly formed a three-man "Commission" to oversee AB members in federal prisons, and, in 1993, the
Federal Commission allegedly formed a "Council" to oversee the day-to-day activities of the federal faction. 17 murders were alleged. At
least six murders have occurred since 1996. Twenty-seven defendants initially were eligible for the death penalty. Stinson, Terflinger,
Griffin and Chance allegedly made all major decisions involving the criminal activities of the California faction of the AB. Stinson,
Terflinger, Chance and Burnett are charged with murders of white inmates who had conflicts with the gang. AB members selected to face
the death penalty were: McIntosh, Knorr, Sahakian, McElhiney, Littrell, Bridgewater, Terflinger, Schwyhart, Houston, Griffin, Chance,
Stinson, Mills and Bingham. Mills and Bingham were sentenced to life in prison in 2006, as were Bridgewater and Houston at a separate
trial in 2007. The Notice of Intent to Seek the Death Penalty was withdrawn as to Griffin, Chance, Stinson and Schwyhart after a jury was
seated. The indictment against Chance was dismissed.


 Littrell, Gary Joe                                   C.D. CA No. 02-00938-GHK
 Dismissal after notice by Judge                                              Race & Gender of Def W M
  Attorney General Gonzales                                                 Race & Gender of Vict(s) WM
a RICO indictment of 40 reputed members and associates of the Aryan Brotherhood [AB] for a string of murders and violent attacks
allegedly designed to expand the power of the white racist prison gang, which was founded at San Quentin state prison in 1964.
Authorities say the gang has about 100 members. 17 murders were alleged. At least six murders have occurred since 1996. Twenty-seven
defendants initially were eligible for the death penalty. Littrell, Roy, West, Grizzle, kennedy and Filkins are accused of allegedly
murdering AB members who had run afoul of the organization or violated rules. Grizzle allegedly helped Littrell in one strangulation in
the victim’s cell. AB members selected to face the death penalty were: McIntosh, Knorr, Sahakian, McElhiney, Littrell, Bridgewater,
Terflinger, Schwyhart, Houston, Griffin, Chance, Stinson, Mills and Bingham. Mills and Bingham were sentenced to life in prison in 2006,
as were Bridgewater and Houston at separate trials in 2007. The Notice of Intent to Seek the Death Penalty was withdrawn as to Griffin,
Chance, Stinson and Schwyhart. The judge dismissed the death notice against Littrell because more culpable co-defendants had been
sentenced to life in prison. The charges were ultimately dismissed.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Bridgewater, Wayne                                   C.D. CA CR No. 02-00938-GHK
 Life sentence from jury                                                      Race & Gender of Def W M
  Attorney General Gonzales                                                 Race & Gender of Vict(s) BM
a RICO indictment of 40 reputed members and associates of the Aryan Brotherhood [AB] for a string of murders and violent attacks
allegedly designed to expand the power of the white racist prison gang, which was founded at San Quentin state prison in 1964.
Authorities say the gang has about 100 members. In 1980, the federal faction of the AB allegedly formed a three-man "Commission" to
oversee AB members in federal prisons, and, in 1993, the Federal Commission allegedly formed a "Council" to oversee the day-to-day
activities of the federal faction. 17 murders were alleged. Bridgewater was charged with three murders. At least six murders have
occurred since 1996. Twenty-seven defendants initially were eligible for the death penalty. Mills and Bingham are alleged to have made
all major decisions involving the criminal activities of the federal faction. Mills is also charged with personally committing one murder
and involvement in numerous bad acts, as many as a dozen murders. Stinson, Terflinger, Griffin and Chance, allegedly made all major
decisions involving the criminal activities of the California faction of the AB. Slocum, a member of both the Federal and California
councils allegedly relayed information between the two and is alleged to have participated in actual murders. McElhiney and Sahakian are
alleged to be responsible for running the day-to-day operations of the AB at USP Marion in Illinois. Littrell, Roy, West, Grizzle, Kennedy
and Filkins are accused of allegedly murdering AB members who had run afoul of the organization or violated rules. Grizzle allegedly
helped Litrell in one strangulation in the victim's cell. Bridgewater, a member of the Federal Council, is alleged to have murdered two
black inmates. Campbell is accused of participating in three murders. Stinson, Terflinger, Chance and Burnett are charged with murders of
white inmates who had conflicts with the gang. Sahakian, McIntosh and Knorr are accused of murdering a black inmate at Marion and
faced federal capital charges at trial in Illinois at which the jury deadlocked. Sahakian faces three additional murder charges in the
California indictment. Schwyhart and Hourston are accused of taking part in the murders of two black inmates. Slocum, Bridgewater,
Campbell and Houston were also charged with two BOP prison murders of black men in Pennsylvania at Lewisburg's USP. Charges were
dismissed in Pennsylvania. AB members/inmates selected to face the death penalty were: McIntosh, Knorr, Sahakian, McElhiney, Littrell,
Bridgewater, Terflinger, Schwyhart, Houston, Griffin, Chance, Stinson, Mills and Bingham. Mills and Bingham were sentenced to life in
prison in 2006, as were Bridgewater and Houston at a separate trial in 2007. The Notice of Intent to Seek the Death Penalty was withdrawn
as to Griffin, Chance, Stinson and Schwyhart.


 Schwyhart, Jason Lee                                 C.D. CA No. 02-00938-GHK
 Authorization withdrawn                                                      Race & Gender of Def W M
  Attorney General Gonzales                                                 Race & Gender of Vict(s) BM
a RICO indictment of 40 reputed members and associates of the Aryan Brotherhood [AB] for a string of murders and violent attacks
allegedly designed to expand the power of the white racist prison gang, which was founded at San Quentin state prison in 1964.
Authorities say the gang has about 100 members. In 1980, the federal faction of the AB allegedly formed a three-man "Commission" to
oversee AB members in federal prisons, and, in 1993, the Federal Commission allegedly formed a "Council" to oversee the day-to-day
activities of the federal faction. 17 murders were alleged. Schwyhart was charged with three murders. At least six murders have occurred
since 1996. Twenty-seven defendants initially were eligible for the death penalty. Mills and Bingham are alleged to have made all major
decisions involving the criminal activities of the federal faction. Mills is also charged with personally committing one murder and
involvement in numerous bad acts, as many as a dozen murders. Stinson, Terflinger, Griffin and Chance, allegedly made all major
decisions involving the criminal activities of the California faction of the AB. Slocum, a member of both the Federal and California
councils allegedly relayed information between the two and is alleged to have participated in actual murders. McElhiney and Sahakian are
alleged to be responsible for running the day-to-day operations of the AB at USP Marion in Illinois. Littrell, Roy, West, Grizzle, Kennedy
and Filkins are accused of allegedly murdering AB members who had run afoul of the organization or violated rules. Grizzle allegedly
helped Litrell in one strangulation in the victim's cell. Bridgewater, a member of the Federal Council, is alleged to have murdered two
black inmates. Campbell is accused of participating in three murders. Stinson, Terflinger, Chance and Burnett are charged with murders of
white inmates who had conflicts with the gang. Sahakian, McIntosh and Knorr are accused of murdering a black inmate at Marion and
faced federal capital charges at trial in Illinois at which the jury deadlocked. Sahakian faces three additional murder charges in the
California indictment. Schwyhart and Hourston are accused of taking part in the murders of two black inmates. Slocum, Bridgewater,
Campbell and Houston were also charged with two BOP prison murders of black men in Pennsylvania at Lewisburg's USP. Charges were
dismissed in Pennsylvania. AB members/inmates selected to face the death penalty were: McIntosh, Knorr, Sahakian, McElhiney, Littrell,
Bridgewater, Terflinger, Schwyhart, Houston, Griffin, Chance, Stinson, Mills and Bingham. Mills and Bingham were sentenced to life in
prison in 2006, as were Bridgewater and Houston at a separate trial in 2007. The Notice of Intent to Seek the Death Penalty was withdrawn
as to Griffin, Chance, Stinson and Schwyhart.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Houston, Henry Michael                                C.D. CA CR No. 02-00938-GHK
 Life sentence from jury                                                       Race & Gender of Def W M
  Attorney General Gonzales                                                 Race & Gender of Vict(s) BM
a RICO indictment of 40 reputed members and associates of the Aryan Brotherhood [AB] for a string of murders and violent attacks
allegedly designed to expand the power of the white racist prison gang, which was founded at San Quentin state prison in 1964.
Authorities say the gang has about 100 members. In 1980, the federal faction of the AB allegedly formed a three-man "Commission" to
oversee AB members in federal prisons, and, in 1993, the Federal Commission allegedly formed a "Council" to oversee the day-to-day
activities of the federal faction. 17 murders were alleged. Houston was charged with three murders. At least six murders have occurred
since 1996. Twenty-seven defendants initially were eligible for the death penalty. Mills and Bingham are alleged to have made all major
decisions involving the criminal activities of the federal faction. Mills is also charged with personally committing one murder and
involvement in numerous bad acts, as many as a dozen murders. Stinson, Terflinger, Griffin and Chance, allegedly made all major
decisions involving the criminal activities of the California faction of the AB. Slocum, a member of both the Federal and California
councils allegedly relayed information between the two and is alleged to have participated in actual murders. McElhiney and Sahakian are
alleged to be responsible for running the day-to-day operations of the AB at USP Marion in Illinois. Littrell, Roy, West, Grizzle, Kennedy
and Filkins are accused of allegedly murdering AB members who had run afoul of the organization or violated rules. Grizzle allegedly
helped Litrell in one strangulation in the victim's cell. Bridgewater, a member of the Federal Council, is alleged to have murdered two
black inmates. Campbell is accused of participating in three murders. Stinson, Terflinger, Chance and Burnett are charged with murders of
white inmates who had conflicts with the gang. Sahakian, McIntosh and Knorr are accused of murdering a black inmate at Marion and
faced federal capital charges at trial in Illinois at which the jury deadlocked. Sahakian faces three additional murder charges in the
California indictment. Schwyhart and Hourston are accused of taking part in the murders of two black inmates. Slocum, Bridgewater,
Campbell and Houston were also charged with two BOP prison murders of black men in Pennsylvania at Lewisburg's USP. Charges were
dismissed in Pennsylvania. AB members/inmates selected to face the death penalty were: McIntosh, Knorr, Sahakian, McElhiney, Littrell,
Bridgewater, Terflinger, Schwyhart, Houston, Griffin, Chance, Stinson, Mills and Bingham. Mills and Bingham were sentenced to life in
prison in 2006, as were Bridgewater and Houston at a separate trial in 2007. The Notice of Intent to Seek the Death Penalty was withdrawn
as to Griffin, Chance, Stinson and Schwyhart.


 Fulks, Chadrick                                       D. SC No. 02-CR-992
 Death row - 2255                                                              Race & Gender of Def W M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) WF
carjacking and interstate kidnapping from a WalMart parking lot of a woman whose body was never recovered. A video camera captured
part of the abduction. Witnesses saw her with the defendants later that day in North Carolina. The defendants had escaped 10 days earlier
from a Kentucky jail. Basham was arrested three days later after allegedly trying to hijack a car at an Ashland, Kentucky mall. He has
been charged with attempted murder and robbery. Fulks was arrested six days later, in Goshen, Indiana. The defendants are also accused
of kidnapping a Kentucky man and leaving him tied to a tree in Evansville, Indiana. Basham has told the FBI that he and Fulks abducted
another victim, a 19-year-old West Virginia college student, three days before the South Carolina abduction. Her car was found burned in
West Virginia. A separate federal capital indictment was filed in that state and both defendants pled guilty and were sentenced to life in
prison. All involved are white. All post-conviction motions have been denied.
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 Basham, Branden                                       D. SC No. 02-CR-992
 Death row - 2255                                                              Race & Gender of Def W M
  Attorney General Ashcroft                                                 Race & Gender of Vict(s) WF
carjacking and interstate kidnapping from a WalMart parking lot of a woman whose body was never recovered. A video camera captured
part of the abduction. Witnesses saw her with the defendants later that day in North Carolina. The defendants had escaped 10 days earlier
from a Kentucky jail. Basham was arrested three days later after allegedly trying to hijack a car at an Ashland, Kentucky mall. He has
been charged with attempted murder and robbery. Fulks was arrested six days later, in Goshen, Indiana. The defendants are also accused
of kidnapping a Kentucky man and leaving him tied to a tree in Evansville, Indiana. Basham has told the FBI that he and Fulks abducted
another victim, a 19-year-old West Virginia college student, three days before the South Carolina abduction. Her car was found burned in
West Virginia. A separate federal capital indictment was filed in that state and both defendants pled guilty and were sentenced to life in
prison . All involved are white. A direct appeal was denied. 561 F.3d 302 (4th Cir. 2009). A 28 USC 2255 motion was denied. An
appeal is pending.


 Bolden, Robert, Sr.                                   E.D. MO No. 4:02-CR 0557 CEF (AGF)
 Death row - 2255                                                              Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) WM
a cross-racial 2002 bank robbery gun murder. 18 U.S.C. §§924(c), 1111 and 2113. The victim was a white security guard, the son of a
police officer, who encountered three robbers in the parking lot of the Bank of America. The defendants are African-American. Only
Bolden faced the death penalty. Bolden’s conviction and death sentence were affirmed on appeal. 545 F.3d 609 (8th Cir. 2008).


 Brown, Meier Jason                                    S.D. GA CR No. 403-01
 Death row - 2255                                                              Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) WF
the stabbing murder of a United States Postal Service employee during a robbery at a United States Post Office. Brown confessed and
blood was found on his jacket and bike. The victim is white and the defendant is black. She was stabbed 10 times. There was a conditional
plea agreement specifying a life sentence but Attorney General Ashcroft rejected it and required a capital trial.


 James, Richard                                        E.D. NY CR No. 02-778 (S-1) (SJ)
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
two insurance fraud murders for hire involving defendants from Guyana. The victims are also from Guyana. One died there. Both died
from alcohol and drug ingestion. James is an insurance broker. Mallay and James are alleged to have arranged at least two other deaths in
an insurance fraud scheme. Also charged in one murder is the son of one victim. He did not face the death penalty. James was acquitted
of one murder. All involved are black.


 Mallay, Ronald                                        E.D. NY CR No. 02-778 (S-1) (SJ)
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Ashcroft                                                 Race & Gender of Vict(s) BM
two insurance fraud murders for hire involving defendants from Guyana. The victims are also from Guyana. One died there. Both died
from alcohol and drug ingestion. James is an insurance broker. Mallay and James are alleged to have arranged at least two other deaths in
an insurance fraud scheme. Also charged in one murder is the son of one victim. He did not face the death penalty. James was acquitted
of one murder. All involved are black.
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 Zapata, Jairo                                         E.D. NY CR No. 01-516
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) HM
Attorney General Ashcroft rejected a plea agreement and required a capital prosecution against a defendant from Columbia who had a
signed cooperation agreement. Zapata is charged in one CCE drug-related murder for hire in 1993. Two separate homicides are alleged in
aggravation, all three occurred during a seven month period in 1993. As he was announcing his resignation, Attorney General Ashcroft
approved a plea to life in prison. He was sentenced to 30 years.


 Williams, Vincent                                     E.D. PA No. 01-CR-512
 Authorization withdrawn at trial                                              Race & Gender of Def B              M

  Attorney General Gonzales                                                  Race & Gender of Vict(s) BF BM
a prosecution against a drug gang, the Boyle Street Boys, charging cocaine sales and four gun murders between 1996 and 2002, including
the 2001 execution-style slaying of a witness who was killed before she could testify about an illegal gun ring. Brian Rogers, who shot the
female victim to prevent her from testifying against Vincent Williams in a federal gun case, reached a plea agreement. Jamain Williams
and Andre Cooper allegedly assisted Rogers in that shooting. Vincent Williams and Andre Cooper are charged with the 2000 murder of a
teenage drug seller. Vincent Williams was allegedly the shooter. Jamain Williams was allegedly the triggerman in a second 2000 RICO
murder. Both Williams and Cooper committed a third RICO murder in 1999. Cooper was allegedly the shooter. All involved are African
American. Vincent Williams was found to be intellectually disabled and authorization was withdrawn during trial.


 Williams, Jamain                                      E.D. PA No. 01-CR-512
 Life sentence from jury                                                       Race & Gender of Def B              M

  Attorney General Gonzales                                                  Race & Gender of Vict(s) BF BM
a prosecution against a drug gang, the Boyle Street Boys, charging cocaine sales and four gun murders between 1996 and 2002, including
the 2001 execution-style slaying of a witness who was killed before she could testify about an illegal gun ring. Brian Rogers, who shot the
female victim to prevent her from testifying against Vincent Williams in a federal gun case, reached a plea agreement. Jamain Williams
and Andre Cooper allegedly assisted Rogers in that shooting. Vincent Williams and Andre Cooper are charged with the 2000 murder of a
teenage drug seller. Vincent Williams was allegedly the shooter. Jamain Williams was allegedly the triggerman in a second 2000 RICO
murder. Both Williams and Cooper committed a third RICO murder in 1999. Cooper was allegedly the shooter. All involved are African
American.


 Cooper, Andre                                         E.D. PA No. 01-CR-512
 Life sentence from jury                                                       Race & Gender of Def B              M

  Attorney General Gonzales                                                  Race & Gender of Vict(s) BF BM
a drug gang, the Boyle Street Boys, charging cocaine sales and four gun murders between 1996 and 2002, including the 2001 execution-
style slaying of a witness who was killed before she could testify about an illegal gun ring. Brian Rogers, who shot the female victim to
prevent her from testifying against Vincent Williams in a federal gun case, reached a plea agreement. Jamain Williams and Andre Cooper
allegedly assisted Rogers in that shooting. Vincent Williams and Andre Cooper are charged with the 2000 murder of a teenage drug seller.
Vincent Williams was allegedly the shooter. Jamain Williams was allegedly the triggerman in a second 2000 RICO murder. Both
Williams and Cooper committed a third RICO murder in 1999. Cooper was allegedly the shooter. All involved are African American.
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                            Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Ward, Israel                                           W.D. MO CR No. 3:02 CR 05025
 Guilty plea                                                                    Race & Gender of Def B               M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WF BM
two gun murders during course of drug trafficking by black defendants from Tulsa selling crack in Tulsa. Smith is alleged to be a leader.
A black victim allegedly stole drugs and was shot to death along with a white female who was with him at the time. Attorney General
Ashcroft required a capital prosecution. Attorney General Gonzales approved a plea agreement with Ward.


 Smith, Thomas                                          W.D. MO No. 3:02 CR 05025
 Life sentence from jury                                                        Race & Gender of Def B               M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WF BM
two gun murders during course of drug trafficking by black defendants from Tulsa selling crack in Tulsa. Smith is alleged to be a leader in
the double murder. A black victim allegedly stole drugs and was shot to death along with a white female who was with him at the time.
Attorney General Ashcroft required a capital prosecution as to Smith and Ward, and DOJ twice refused to withdrawn the Notice of Intent
against Street. Attorney General Gonzales approved a plea agreement with Ward after Street was sentenced to life imprisonment by a jury.


 Breeden, Shawn                                         W.D. VA No. 03-CR-13
 Life sentence from jury                                                        Race & Gender of Def B               M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) BM
involves four defendants from D.C. who drove to Virginia with the intent to commit robbery. Cassell was the driver. Breeden is alleged to
be the organizer, having lost his girlfriend's car payment while gambling. Carpenter allegedly held the victim, a drug dealer, at gunpoint.
Carpenter shot the victim in the knee with a shotgun. Then Breeden allegedly stabbed the victim 7 times in the chest and neck.
Outterbridge then shot the victim in the head. All involved are African-American, except the victims of a violent, but non-fatal, robbery of
a white couple using an ATM that resulted in serious injury. The group also committed another robbery. Attorney General Ashcroft
required a capital prosecution against Breeden, Carpenter and Cassell. Outterbridge, 19 and the youngest, was a cooperator. Breeden has a
prior stabbing conviction. The district court rejected a claim that the notice of intent to seek the death penalty was filed too late. 2003 WL
22019060.


 Carpenter, Michael Anthony                             W.D. VA No. 03-CR-13
 Life sentence from jury                                                        Race & Gender of Def B               M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) BM
involves four defendants from D.C. who drove to Virginia with the intent to commit robbery. Cassell was the driver. Breeden is alleged to
be the organizer, having lost his girlfriend's car payment while gambling. Carpenter allegedly held the victim, a drug dealer, at gunpoint.
Carpenter shot the victim in the knee with a shotgun. Then Breeden allegedly stabbed the victim 7 times in the chest and neck.
Outterbridge then shot the victim in the head. All involved are African-American, except the victims of a violent, but non-fatal, robbery of
a white couple using an ATM that resulted in serious injury. The group also committed another robbery. Attorney General Ashcroft
required a capital prosecution against Breeden, Carpenter and Cassell. Outterbridge, 19 and the youngest, was a cooperator. Breeden has a
prior stabbing conviction. The district court rejected a claim that the notice of intent to seek the death penalty was filed too late. 2003 WL
22019060.
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 Cassell, Kevin Thomas                                  W.D. VA CR No. 03-CR-13
 Guilty plea                                                                    Race & Gender of Def B               M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) BM
involves four defendants from D.C. who drove to Virginia with the intent to commit robbery. Cassell was the driver. Breeden is alleged to
be the organizer, having lost his girlfriend's car payment while gambling. Carpenter allegedly held the victim, a drug dealer, at gunpoint.
Carpenter shot the victim in the knee with a shotgun. Then Breeden allegedly stabbed the victim 7 times in the chest and neck.
Outterbridge then shot the victim in the head. All involved are African-American, except the victims of a violent, but non-fatal, robbery of
a white couple using an ATM that resulted in serious injury. The group also committed another robbery. Attorney General Ashcroft
required a capital prosecution against Breeden, Carpenter and Cassell. Outterbridge, 19 and the youngest, was a cooperator. Breeden has a
prior stabbing conviction. The district court rejected a claim that the notice of intent to seek the death penalty was filed too late. 2003 WL
22019060.


 Ayala-Lopez, Carlos L.                                 D. PR No. 03-CR-55
 Life sentence from jury                                                        Race & Gender of Def H M
  Attorney General Ashcroft                                                   Race & Gender of Vict(s) HM
robbery of a gun and murder of a Veteran's Administration Hospital guard. Attorney General Ashcroft rejected a plea agreement calling for
a sentence of 35 years to life and required a capital prosecution. Ayala-Lopez was a leader of a gang that sold drugs. A juvenile co-
defendant was the triggerman.


 Hatten, Charles                                        S.D. WV CR No. 8:02-00232-02
 Dismissal after notice by Judge                                                Race & Gender of Def W M
  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WM
a drug gun murder of a possible government cooperating witness, a member of a multi-state methampetamine drug trafficking ring. Both
the defendant and the victim have substantial criminal records. All involved are white. Attorney General Ashcroft required a capital
prosecution but the District Court dismissed the Notice of Intent to Seek the Death Penalty as filed late. 276 F.Supp.2d 574 (2003). A
government appeal was dismissed on motion by the Department of Justice.


 Karake, Francois                                       D. DC No. 02-CR-256
 Dismissal after notice by Judge                                                Race & Gender of Def B               M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WF WM
the 1999 cross-racial kidnapping and murder of eight English speaking tourists in Uganda. The defendants seized 20 tourists who were
looking for gorillas at the national park associated with Diane Fosse. They separated out the eight who spoke English, raped one of the two
Americans and killed all eight with axes. The two Americans were a married couple from Seattle. The defendants are black and the
victims are white. The defendants were tortured in Uganda and confessions were excluded leading to dismissal of the prosecution.


 Nyaminani, Gregoire                                    D. DC No. 02-CR-256
 Dismissal after notice by Judge                                                Race & Gender of Def B               M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WF WM
the 1999 cross-racial kidnapping and murder of eight English speaking tourists in Uganda. The defendants seized 20 tourists who were
looking for gorillas at the national park associated with Diane Fosse. They separated out the eight who spoke English, raped one of the two
Americans and killed all eight with axes. The two Americans were a married couple from Seattle. The defendants are black and the
victims are white. The defendants were tortured in Uganda and confessions were excluded leading to dismissal of the prosecution.
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 Bimenyimana, Leonidas                                  D. DC No. 02-CR-256
 Dismissal after notice by Judge                                                 Race & Gender of Def B              M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WF WM
the 1999 cross-racial kidnapping and murder of eight English speaking tourists in Uganda. The defendants seized 20 tourists who were
looking for gorillas at the national park associated with Diane Fosse. They separated out the eight who spoke English, raped one of the two
Americans and killed all eight with axes. The two Americans were a married couple from Seattle. The defendants are black and the
victims are white. The defendants were tortured in Uganda and confessions were excluded leading to dismissal of the prosecution.


 Bourgeois, Alfred                                      S.D. TX CR No. 02-216
 Death row - 2255                                                                Race & Gender of Def B              M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) BF
killing on federal land - a two year old child who died from "shaken baby syndrome". The baby was found unresponsive beside her father's
tractor-trailer. Bourgeois and his wife told authorities the toddler had fallen out of the cab while they were making a delivery at Naval Air
Station Corpus Christi. The toddler had seven major hemorrhages - two behind her right ear, two above her right eye and three in the back
of her skull. The pathologist who examined the toddler's body called it "one of the worst cases of child abuse she'd ever seen." Bourgeois's
wife and his 7-year-old daughter alleged Bourgeois had abused the toddler before. "(Bourgeois) hit her as hard as he would hit another
man," the wife told the FBI, according to an affidavit. All involved are African-American. The death sentence was affirmed on appeal.
423 F.3d 501 (5th Cir. 2005).


 Fields, Edward                                         E.D. OK No. 6:03-CR-00073
 Death row - 2255                                                                Race & Gender of Def W M
  Attorney General Ashcroft                                                   Race & Gender of Vict(s) WF WM
a robbery and gun murder of a married couple on federal land in the Winding Stair Campgrounds in the Quachita National Forest (USFS).
All involved are white. Fields has no prior criminal record, a good military record and a history of intellectual disability. Fields had been
living in the forest. The murders occurred around July 10, 2004. Fields, a former prison guard, went on a shopping spree with the victim's
credit cards. He confessed expressing remorse. Fields pled guilty and was sentenced to death by jury.


 Stone, Samuel                                          E.D. CA No. 1:12-CR-00072-AWI-DLB
 Guilty plea                                                                     Race & Gender of Def NA M
  Attorney General Holder                                                     Race & Gender of Vict(s) NAM
the 2003 stabbing death of a BOP inmate serving a life sentence, who was housed in SHU at USP Atwater by a cellmate serving a life
sentence for a prior murder. Stone was also convicted of a second prior murder. Both are Native American but from rival tribes.


 Benjamin, Terrance                                     E.D. LA No. 03-CR-274
 Guilty plea at trial                                                            Race & Gender of Def B              M

  Attorney General Ashcroft                                                   Race & Gender of Vict(s) HM BM
a drug gang conspiracy in the Cooper housing Projects charging four gun murders. The indictments charged two §924(j) murders and two
§1959 RICO murders in 1997, 2000 and 2003. The 2003 victim was an innocent bystander person. Winston Gilmore was charged in two
homicides, Cobbins, Washington, Simpson and Louis Gilmore are charged in one each. Benjamin is charged as the triggerman in three
homicides and faced the death penalty. Louis Gilmore, Cobbins and Washington were sentenced to 300 months. Simpson, Winston
Gilmore and Terrance Benjamin were sentenced to life in prison. All involved are African-American.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Barnes, Khalid                                        S.D. NY No. 7:04-CR-00186-SCR
 Life sentence from jury                                                       Race & Gender of Def B              M

  Attorney General Gonzales                                                  Race & Gender of Vict(s) BM HM
two drug related murders, charged as §848 CCE and as §924 gun murders. Attorney General Gonzales required a capital prosecution. All
involved are black.


 Mayhew, John Richard                                  S.D. OH CR No. 02 03-165
 Life sentence from jury                                                       Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WF
domestic gun murders of Mayhew's ex-wife, her boyfriend and his 18 year old daughter, with whom Mayhew had an incestuous
relationship. Mayhew is charged in federal court with interstate kidnapping. He shot a West Virginia state trooper in the chest and shot his
daughter to death and then shot himself. The seats in the car were rigged with bombs. All involved are white.


 Irby, James Allen                                     D. MD No. 8:03-CR-00490-RDB
 Lesser included conviction                                                    Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
the victim was an informant who provided information to the ATF in a DC firearms investigation, which resulted in a search warrant.
Shortly after, the victim, a potential government witness, was found in a burning apartment, shot three times and with 184 stab wounds. A
wired informant obtained an admission from the defendant. Attorney General Ashcroft rejected an offer to plead guilty to a life sentence.
All involved are black.


 Le, Cuong Gia                                         E.D. VA CR No. 03-CR-48
 Guilty plea                                                                   Race & Gender of Def A M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) AM
a Vietnamese American gang (the "Oriental Playboys") member who came to the United States when he was 10 or 11 years old. Le is
accused of mulitple (two) RICO murders in a shooting involving rival gang members in a Vietnamese restaurant on May 13, 2001. He hit
three people. One person died immediately and one died later. A rival gang member survived, identifying Le. Le fled and was arrested in
July of 2003. Le was charged with intentionally killing another in aggravation. The court denied a motion to bar the death penalty due to a
belated notice of intent. Attorney General Ashcroft eventually approved a plea agreement involving cooperation. Le also admitted
involvement in an uncharged 1997 murder.


 Lighty, Kenneth Jamal                                 D. MD No. 8:03-CR-00457-PJM
 Death row - 2255                                                              Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
 three defendants, and possibly another, kidnapped the teenage victim in D.C., transported him to Maryland, where he was shot to death.
The victim was the son of a Washington police officer. Lighty is charged as the shooter, and the other two with assisting him. All
involved are African-American. Co-defendant Wilson was convicted of conspiracy to kidnap but acquitted of kidnapping and weapons
charges. A direct appeal was denied. A 28 USC 2255 motion is pending.
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 Johnson, John                                         E.D. LA No. 2:04-CR-00017-HGB-SS
 Authorization withdrawn                                                        Race & Gender of Def B             M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WM
a cross-racial bank robbery gun murder of an off-duty police officer security guard by convicted felons. Jones, Johnson and Smith entered
the Iberia Bank and Smith disarmed the security guard. Another guard, hidden from view, opened fire, wounding Smith and Johnson, who
was unable to flee the bank. Johnson returned fire, killing one guard and wounding another. Jones fled the bank but all three defendants
were arrested within moments. The defendants are black and were over 50 years old. They each have criminal records including bank
robbery. The deceased guard is white , the wounded guard is black. While pending retrial, the government withdrew authorization.


 Smith, Joseph                                         E.D. LA No. 2:04-CR-00017-HGB-SS
 Dismissal after notice by Judge                                                Race & Gender of Def B             M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WM
bank robbery cross-racial gun murder of an off-duty police officer security guard. Jones, Johnson and Smith entered the Iberia Bank and
Smith disarmed the security guard. Another guard, hidden from view, opened fire, wounding Smith and Johnson, who was unable to flee
the bank. Johnson returned fire, killing one guard and wounding another. Jones fled the bank but all three defendants were arrested within
moments. The defendants are black and were over 50 years old. They each have criminal records, including bank robbery. The deceased
guard is white , the wounded guard is black. Smith was found to be intellectually disabled. 2011 WL 2532437.


 Mitchell, Willie Edward                               D. MD No. 1:04-CR-00029-MJG
 Authorization withdrawn                                                        Race & Gender of Def B             M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BF BM
racketeering conspiracy, murder in aid of racketeering, drug trafficking and armed robbery charges against the alleged leaders of a violent
Northwest Baltimore gang that allegedly used profits from city drug sales to try to make a name in the rap music industry. They are
allegedly responsible for five city homicides, all carried out within a five-month stretch in early 2002. The killings include the double
slaying of an associate of former heavyweight boxing champion Hasim Rahman and an innocent woman the man was dating at the time.
Mitchell is described as the head of the group and is the registered agent of a business called Shake Down Entertainment. Mitchell and
Harris are charged in four murders, Gardner in three and Martin in two. Martin will not face the death penalty. Gardner is already serving
a life sentence in state prison. The defendants have adopted a "flesh and blood" defense insisting that the Court does not have the
jurisdiction and refusing to cooperate with defense counsel. United States v. Mitchell, 2005 WL 3464983 (D MD). Without explanation,
Attorney General Gonzales withdrew the request to seek the death penalty. All involved are African American.


 Harris, Shelton Lee                                   D. MD No. 1:04-CR-00029-MJG
 Authorization withdrawn                                                        Race & Gender of Def B             M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BF BM
racketeering conspiracy, murder in aid of racketeering, drug trafficking and armed robbery charges against the alleged leaders of a violent
Northwest Baltimore gang that allegedly used profits from city drug sales to try to make a name in the rap music industry. They are
allegedly responsible for five city homicides, all carried out within a five-month stretch in early 2002. The killings include the double
slaying of an associate of former heavyweight boxing champion Hasim Rahman and a woman the man was dating at the time. Mitchell is
described as the head of the group and is the registered agent of a business called Shake Down Entertainment. Mitchell and Harris are
charged in four murders, Gardner in three and Martin in two. Martin will not face the death penalty. Gardner is already serving a life
sentence in state prison. The defendants have adopted a "flesh and blood" defense insisting that the Court does not have the jurisdiction
and refusing to cooperate with defense counsel. United States v. Mitchell, 2005 WL 3464983 (D MD). All involved are African
American.
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 Gardner, Shawn Earl                                    D. MD No. 1:04-CR-00029-MJG
 Authorization withdrawn                                                         Race & Gender of Def B               M

  Attorney General Ashcroft                                                    Race & Gender of Vict(s) BF BM
racketeering conspiracy, murder in aid of racketeering, drug trafficking and armed robbery charges against the alleged leaders of a violent
Northwest Baltimore gang that allegedly used profits from city drug sales to try to make a name in the rap music industry. They are
allegedly responsible for five city homicides, all carried out within a five-month stretch in early 2002. The killings include the double
slaying of an associate of former heavyweight boxing champion Hasim Rahman and a woman the man was dating at the time. Mitchell is
described as the head of the group and is the registered agent of a business called Shake Down Entertainment. Mitchell and Harris are
charged in four murders, Gardner in three and Martin in two. Martin will not face the death penalty. Gardner is already serving a life
sentence in state prison. The defendants have adopted a "flesh and blood" defense insisting that the Court does not have the jurisdiction
and refusing to cooperate with defense counsel. United States v. Mitchell, 2005 WL 3464983 (D MD). All involved are African
American.


 Simmons, Brent                                         W.D. VA No. 5:04-CR-30014-SGW
 Life sentence from jury                                                         Race & Gender of Def B               M

  Attorney General Ashcroft                                                    Race & Gender of Vict(s) WF WM
a black state prisoner charged in this 1996 cross-racial case with stalking his white ex-college girlfriend, 25, and killing her and her white
boyfriend, 23, with two shots to the head each. The victims were James Madison University students. The state prosecution ended with a
controversial 20 year plea agreement after a hung jury. The Virginia Supreme Court rejected an appeal in 2003. Simmons has no prior
convictions, is college educated and has an excellent institutional record in state prison in Virginia. The new charges were based on the
Violence Against Women Act (a gun murder) and on an interstate stalking law. A 9mm was eventually discovered near Simmon’s home
and was alleged to be the murder weapon. The male victim's father is a retired New York City police officer. Simmons was sentenced to
life in prison after six hours of deliberations.


 Pepin-Taveras, Humberto                                E.D. NY CR No. 04-0156
 Life sentence from jury                                                         Race & Gender of Def H M
  Attorney General Ashcroft                                                    Race & Gender of Vict(s) HM
two drug related gun murders by a Dominican Republican. The capital murder charge alleged a 1995 homicide. 21 U.S.C. § 848. Pepin-
Tavares was serving a sentence for a drug conspiracy when he called the police to "cooperate" and obtain a reduced sentence. He admitted
two murders of drug dealers and the dismemberment and disposal of the corpses. A 1992 murder was being prosecuted in state court, but
was transferred to federal court. Pepin shot the victims, cut up their bodies and dumped them by the roadside. All involved are Hispanic.


 Rodriguez, Alfonso, Jr.                                D. ND No. 04-CR-55
 Death row - 2255                                                                Race & Gender of Def H M
  Attorney General Ashcroft                                                    Race & Gender of Vict(s) WF
the interstate kidnapping murder of a 22 year old white female victim who disappeared from a Grand Forks shopping mall parking lot on
November 22, 2003. Her body was found April 17, 2004. Rodriguez, 53, is a convicted sex offender, who had been released from prison
in May of 2003 after serving a 23 year sentence for attempted kidnapping, assault and other convictions for attempted rape and aggravated
rape. Before he was released, Rodriguez requested help from a Minnesota prison psychologist. The Hispanic defendant allegedly crossed
state lines while committing the crime. This was the first death sentence in North Dakota in 100 years.
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 Shields, Sonny Adam                                   W.D. TN No. 2:04-CR-20254-BBD-tmp-4
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Mukasey                                                   Race & Gender of Vict(s) BM
a 2004 carjacking and interstate kidnapping gun murder. Two males armed with a handgun abducted the victim from Memphis, Tennessee,
at gunpoint and forced him into his 1995 Mitsubishi Diamante and fled the scene. The victim was taken to an ATM and forced to withdraw
money. He was later found dead, shot and burned in Crittenden County, Arkanas. His vehicle was found burned in Memphis, Tennessee.
Sonny Shields allegedly identified his cousin, Shannon Shields, as the person involved in the carjacking and kidnapping and as the person
who shot the victim. He further allegedly identified Parker and Stafford as the males who assisted him in taking the victim to Arkansas and
killing him. Shannon Shields received medical treatment for burns he received allegedly while setting the victim’s vehicle on fire. Parker
and Stafford also allegedly made statements that both Shannon Shields and Stafford were involved. Shannon Shields was found to be
intellectually disabled. Thereafter, Attorney General Holder approved a plea agreement and a life sentence for Sonny Shields. All are
African-American, as is the victim.


 Shields, Shannon                                      W.D. TN No. 2:04-CR-20254-BBD-tmp-4
 Dismissal after notice by Judge                                                Race & Gender of Def B              M

  Attorney General Mukasey                                                   Race & Gender of Vict(s) BM
a 2004 carjacking and interstate kidnapping gun murder. Two males armed with a handgun abducted the victim from Memphis, Tennessee,
at gunpoint and forced him into his 1995 Mitsubishi Diamante and fled the scene. The victim was taken to an ATM and forced t o
withdraw money. He was later found dead, shot and burned in Crittenden County, Arkanas. His vehicle was found burned in Memphis,
Tennessee. Sonny Shields allegedly identified his cousin, Shannon Shields, as the person involved in the carjacking and kidnapping and as
the person who shot the victim. He further allegedly identified Parker and Stafford as the males who assisted him in taking the victim to
Arkansas and killing him. Shannon Shields received medical treatment for burns he received allegedly while setting the victim’s vehicle
on fire. Parker also allegedly made statements that both Shannon Shields and Stafford were involved. Stafford allegedly made statements
that both Shannon Shields and Parker were involved. Shannon Shields was found to be intellectually disabled after a pre-trial evidentiary
hearing. Thereafter, Attorney General Holder approved a plea agreement and a life sentence for Sonny Shields. All are African-American,
as is the victim.


 Becton, Charod                                        S.D. NY CR No. 1:02-CR-00451-MBM
 Guilty plea                                                                    Race & Gender of Def B              M

  Attorney General Gonzales                                                  Race & Gender of Vict(s) BF HM
three drug related murders. Becton and Henderson and two others, one of whom is cooperating with the prosecution and the other who
committed suicide allegedly, went to rob some drug dealers. Inside the apartment were two males and one female. The female was the
girlfriend of another drug dealer, but was also involved with Henderson. She let the defendants into the apartment. Once inside, it is
alleged that the defendants bound and gagged the occupants, including the female, tortured them until they revealed where the drugs were
stashed and then stabbed them to death. Before leaving, it is alleged that the defendants left the gas on in the apartment where candles were
lit, in an attempt to blow the apartment up and cover their tracks. Becton was allowed to plead guilty shortly before trial by Attorney
General Gonzales. Henderson was acquitted of the murders.
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 Henderson, Darryl                                    S.D. NY No. 1:02-CR-00451-MBM
 Acquittal                                                                    Race & Gender of Def B             M

  Attorney General Gonzales                                                Race & Gender of Vict(s) BF HM
drug related murders. Becton and Henderson and two others, one of whom cooperated with the prosecution and the other who committed
suicide, went to rob drug dealers. Inside the apartment were two males and one female. The female was the girlfriend of another drug
dealer, but was allegedly involved with Henderson. She let the defendants into the apartment. Once inside, they bound and gagged the
occupants, including the female, tortured them until they revealed where the drugs were stashed, and then stabbed them to death. Before
leaving, the defendants left the gas on in the apartment where candles were lit, in an attempt to blow the apartment up and cover their
tracks. Becton pled guilty. Henderson was acquitted of the murders.


 Jordan, Peter                                        E.D. VA No. 04-CR-58
 Life sentence from jury                                                      Race & Gender of Def B             M

  Attorney General Ashcroft                                                Race & Gender of Vict(s) BM
a drug conspiracy murder of a drug dealer who was burned to death. All involved are African-American. Jordan was previously charged
with bank robbery, auto-theft and drug possession. Gordan faced drug and gun possession charges as a juvenile.


 Gordon, Lorenzo                                      E.D. VA No. 04-CR-58
 Life sentence from jury                                                      Race & Gender of Def B             M

  Attorney General Ashcroft                                                Race & Gender of Vict(s) BM
a drug conspiracy murder of a drug dealer who was burned to death. All involved are African-American. Jordan was previously charged
with bank robbery, auto-theft and drug possession. Gordan faced drug and gun possession charges as a juvenile.


 Rivera, Denis                                        E.D. VA No. 04-CR-283
 Acquittal                                                                    Race & Gender of Def H M
  Attorney General Ashcroft                                                Race & Gender of Vict(s) HF
four members of the MS-13 street gang who murdered a pregnant 17 year old who had joined the gang and later became a federal
informant. She had just left the witness protection program. She was stabbed many times in 2003. Rivera allegedly ordered the murder
from prison, where he is serving a life sentence for a prior 2001 murder. Rivera and Garcia-Orellana were acquitted. Cisneros and Grande
were sentenced to life. All involved are Hispanic.


 Garcia-Orellana, Oscar Alexander                     E.D. VA No. 04-CR-283
 Acquittal                                                                    Race & Gender of Def H M
  Attorney General Ashcroft                                                Race & Gender of Vict(s) HF
four members of the MS-13 street gang who murdered a pregnant 17 year old in 2003 who had joined the gang and later became a federal
informant. She had just left the witness protection program. She was stabbed many times in 2003. Rivera allegedly ordered the murder
from prison, where he is serving a life sentence for a 2001 murder. Rivera and Garcia-Orellano were acquitted. Cisneros and Grande were
sentenced to life. All involved are Hispanic.
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 Grande, Oscar                                         E.D. VA No. 04-CR-283
 Life sentence from jury                                                       Race & Gender of Def H M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) HF
four members of the MS-13 street gang who murdered a pregnant teenager in 2003 who had joined the gang and later became a federal
informant. The deceased government witness was a 17 year old minor. She had just left the witness protection program. She was stabbed
many times in 2003. Rivera allegedly ordered the murder from prison, where he is serving a life sentence for a 2001 murder. Rivera and
Garcia-Orellano were acquitted. Cisneros and Grande were sentenced to life. All involved are Hispanic.


 Cisneros, Ismael                                      E.D. VA No. 04-CR-283
 Life sentence from jury                                                       Race & Gender of Def H M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) HF
four members of the MS-13 street gang who murdered a pregnant teenager in 2003 who had joined the gang and later became a federal
informant. The deceased government witness was a 17 year old minor. She had just left the witness protection program. She was stabbed
many times in 2003. Rivera allegedly ordered the murder from prison, where he is serving a life sentence for a 2001 murder. Rivera and
Garcia-Orellano were acquitted. Cisneros and Grande were sentenced to life. All involved are Hispanic. Intellectual disability was raised
and argued in the penalty phase.


 Bodkins, Lanny Benjamin                               W.D. VA No. 4:04-CR-70083-JLK
 Authorization withdrawn at trial                                              Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
a 1999 drug related gun murder-for-hire contract on a possible government witness involving interstate stalking. Plunkett, who allegedly
hired Taylor, and the victim are black. Bodkins, the alleged triggerman, and Taylor are white. Bodkins and Plunkett were approved for a
death penalty trial. Taylor, the driver, was not. The government agreed to withdraw the death penalty after Bodkins testified and expressed
remorse.


 Plunkett, Antoine                                     W.D. VA No. 4:04-CR-70083-JLK
 Authorization withdrawn at trial                                              Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
a 1999 drug related gun murder-for-hire contract on a possible government witness involving interstate stalking. Plunkett, who allegedly
hired Taylor, and the victim are black. Bodkins, the alleged triggerman, and Taylor are white. Bodkins and Plunkett were approved for a
death penalty trial. Taylor, the driver, was not. The government agreed to withdraw the death penalty after Bodkins testified and expressed
remorse.


 Wilk, Kenneth                                         S.D. FL No. 04-CR-60216
 Life sentence from jury                                                       Race & Gender of Def W M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) HM
law enforcement officer victim - the gun murder of a law enforcement officer,Todd Fatta, and the attempted murder of Sgt. Angelo
Cedeno, deputy sheriffs who were trying to serve a federal warrant. Wilk was being investigated for child pornography. Wilk, a
homosexual, apparently has AIDS and allegedly dementia. The government refused an offer to plead guilty in return for a life sentence, a
resolution said to have been acceptable to the victim's family. Wilk is white and the deceased officer is Hispanic. Wilk's once allegedly
listed "hunting cops" as a hobby on an internet profile. Trial proceedings were stayed in 2005 pending a speedy trial interlocutory appeal
which was denied. It was claimed the “death notice” was filed too late.
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                             Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Clay, Vertis                                            E.D. AR No. 4:04-CR-00035 WRW
 Life sentence from jury                                                           Race & Gender of Def B               M

  Attorney General Gonzales                                                     Race & Gender of Vict(s) BM
a murder-for-hire drug-related 2004 gun murder during the course of a burglary and robbery to steal drugs and money. Clay and Walker
were sent to kill the victim by Stovall. The deceased had knowledge about Stovall's misdeeds unknown to his Mexican drug suppliers.
Walker proffered repeatedly in an attempt to cooperate. Only Clay was authorized. The murder is alleged to be gruesome. All involved
are black.


 Wilson, Ronell                                          E.D. NY No. 1:04-CR-01016-NGG
 Dismissal after notice by Judge                                                   Race & Gender of Def B               M

  Attorney General Gonzales                                                     Race & Gender of Vict(s) BM
the execution style RICO murders of two undercover NYPD detectives during a gun sting operation. The case was charged as a
racketeering conspiracy. The Staten Island District Attorney asked the United States Attorney to charge Wilson after the New York State
Court of Appeals ruled in June 2004, that the state’s death-penalty law was unconstitutional. All involved are African-American. The
death sentence was reversed on appeal. 610 F.3d 168 (2d Cir. 2009). The trial court subsequently ruled that Wilson is not intellectually
disabled. He was resentenced to death, but a panel of the Second Circuit Court of Appeals remanded the case to the district court for
consideration of the Supreme Court’s decision in Hall v. Florida on the intellectual disability determination. Wilson was found
intellectually disabled.


 Lopez, Wilver                                           E.D. NY 2:04-CR-00939-LDW
 Authorization withdrawn                                                           Race & Gender of Def H M
  Attorney General Gonzales                                                     Race & Gender of Vict(s) HM
seven members of La Mara Salvatrucha 13, MS-13, accused of gun murders including the shooting and stabbing to death of a female
associate suspected of being a police informant. Lopez was captured on a wiretap admitting to shooting a 24 year old man. He stated that
Berrios and Salino-Galiano were with him and repeatedly stabbed the victim. Lopez was not charged with the murder of a 16 year old
female cooperating witness. The Court set a deadline for a DOJ decision and DOJ responded by filing “Protective Notices of Intent to Seek
the Death Penalty,” against Lopez, Berrios, Salino-Galiano and Luis. The government withdrew the notices as to all but Lopez. Attorney
General Holder eventually withdrew the Notice of Intent to Seek the Death Penalty.


 Barrett, Kenneth Eugene                                 E.D. OK CR No. 04-100-M-S
 Death row - 2255                                                                  Race & Gender of Def W M
  Attorney General Gonzales                                                     Race & Gender of Vict(s) WM
law enforcement officer victim. Barrett lived in a small, rural, self-built cabin without electricity and running water. A “no-knock”
warrant was issued based on allegations that he was a drug manufacturer/dealer, a gun owner and had previously made statements about
killing law enforcement officers. During a late night raid, Barrett grabbed a gun and started shooting at an unmarked Ford Bronco
approaching the cabin. The police shot back and Barrett was wounded. A state law enforcement officer was killed. There are numerous
drug-related charges in the complaint. Barrett was tried twice in state court - the first trial resulting in a hung jury and the second resulting
in manslaughter and assault with intent to kill convictions. All involved are white. His conviction and death sentence were affirmed on
direct appeal. 496 F.3d 1079 (10th Cir. 2007).
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Taylor, Rejon                                         E.D. TN No. 1:04-CR-00160-1
 Death row - Appeal                                                             Race & Gender of Def B              M

  Attorney General Gonzales                                                  Race & Gender of Vict(s) WM
a cross-racial interstate kidnapping, carjacking, gun murder of an Atlanta restaurant owner who was a potential witness against Taylor in an
identity theft scheme. The victim was abducted in Atlanta and killed in Tennessee. Fearing prosecution, the defendants robbed, kidnapped
and threatened the deceased who was shot and killed while trying to escape. Matthews fired also and was himself accidentally shot by
Taylor. Taylor fired the fatal shots. Taylor was charged with participating in additional murders in aggravation. The defendants are
black, the victim white.


 Massino, Joseph                                       E.D. NY CR No. 1:03-CR-00929-NGG
 Guilty plea                                                                    Race & Gender of Def W M
  Attorney General Ashcroft                                                  Race & Gender of Vict(s) WM
a 1999 RICO mob murder ordered by the Boss of the Bonanno crime family, Joseph Massino. DeFilippo and Spirito were also charged.
The jury hung as to DeFilipo. Only Massino, who was convicted of seven murders in July of 2004, faced the death penalty. Attorney
General Ashcroft required a capital prosecution shortly before his resignation, despite the fact that Massino was secretly cooperating with
the government. Shortly after, Massino was allegedly told by the Acting Boss, Vincent Basciano, of a murder Basciano odered and a plot
to kill an Assistant United States Attorney. Subsequently, Massino was accepted as a cooperating witness and Attorney General Gonzales
withdrew the death penalty request. All involved are white.


 McGriff, Kenneth                                      E.D. NY CR No. 04-966 (ERK) (VVP)
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Ashcroft                                                  Race & Gender of Vict(s) BM
Kenneth "Supreme" McGriff was the leader of a notorious Queens-based drug gang, "The Supreme Team," that operated in the 1980's. He
went to prison after pleading to a CCE and receiving a 12-year sentence. Upon his release he resumed drug trafficking. The case also
features a Murder, Inc. connection involving a film McGriff was producing with the soundtrack provided by several well-know rap artists
from the label. McGriff and co-defendants David Crosby and Emanuel Mosley were charged with two RICO murders that took place in
2001. The government alleged that the murders were committed in retaliation for a murder of a McGriff associate by one of the victims,
Eric Smith (who was a rapper a/k/a "E Money Bags"). The second murder victim, Troy Singleton, was allegedly killed to prevent him
from retaliating for the E Money Bags murder. Both victims had a reputation for street violence. Both were carrying loaded handguns at
the time of their deaths. A third defendant, Nicole Brown, Crosby's girlfriend, was charged in the E Money Bags murder only and is
alleged to have acted as a look-out, video-taping the victim, and/or to have directed the shooters to the victim's location. The government's
theory was that McGriff hired Mosley to provide the actual shooters. It is not clear whether any of the defendants were on the scene.
Victor Wright was charged with the double-murder of two men in a suburb of Baltimore, Owings Mills, Md. The motive alleged for one
of the killings was that the victim was suspected of being a cooperating witness in a drug investigation. The second victim just happened to
be there. The crime took place in the parking lot of an up-scale apartment complex where McGriff maintained a stash house. The
Government filed “Protective” Notices of Intent to Seek the Death Penalty as to five defendants, but withdrew as to four. The Court
declined to strike the notice as filed late. Only McGriff faced the death penalty. All involved are African-American.


 Street, John P.                                       W.D. MO No. 4:04-CR-00298-GAF
 Life sentence from jury                                                        Race & Gender of Def W M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) WM
a 1998 drug (methamphetamine) related gun murder of a potential government witness. Police recovered the male victim’s body from the
trunk of a car. He had been beaten, stabbed and shot in the back of the head. Street was already serving 15 years on drug and gun charges.
All involved are white. The jury at the first trial deadlocked. The jury at the second trial convicted Street and sentenced him to life in
prison. The 8th Circuit reversed and Street was acquitted.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Lawrence, Daryl                                      S.D. OH No. 2:05-CR-00011-GLF-1
 Death row - 2255                                                             Race & Gender of Def B             M

  Attorney General Gonzales                                                 Race & Gender of Vict(s) WM
a cross-racial law enforcement officer victim - a January 2004 gun murder of a law enforcement officer during a bank robbery. Lawrence
committed other bank robberies in August and September of 2004. The Columbus, Ohio police officer and bank security guard victim is
white and the defendant is black. A new trial motion was granted in October 2006, but the Sixth Circuit reversed. 555 F.3d 254 (2009).
An appeal was denied. 735 F.3d 385.


 Hall, Eric                                           D. MD No. JFM-04-0323
 Authorization withdrawn                                                      Race & Gender of Def B             M

  Attorney General Gonzales                                                 Race & Gender of Vict(s) BM
a RICO prosecution against a drug gang alleged to have committed four gun murders and three attempted murders. The "Rice
Organization" is alleged to have trafficked in cocaine and heroin. Hall was charged with two murders, as well as participating in other
murders in aggravation. Only Hall was chosen to face the death penalty. After Attorney General Gonzales “authorized” a death penalty
prosecution against Hall, a superseding indictment dropped one of the murders. Eventually, Attorney General Gonzales withdrew the
Notice of Intent to Seek the Death Penalty. All involved are African-American.


 Caro, Carlos David                                   W.D. VA No. 06 CR 00001
 Death row - 2255                                                             Race & Gender of Def H M
  Attorney General Gonzales                                                 Race & Gender of Vict(s) HM
a 2003 BOP prison inmate strangulation murder of a cellmate at USP Lee by an alleged member of the Texas Syndicate prison gang. Caro
was serving a 71 month sentence, had supervised release revoked and then received 327 months (27 years) in 2003 for conspiracy to
murder involving a prison gang related stabbing. The murder was triggered by a dispute over a food tray. All involved are Hispanic. A
direct appeal was denied. 597 F.3d 608, reh’ing den., 614 F.3d 101 (4th Cir. 2010).


 Montgomery, Lisa                                     W.D. MO No. 5:05-CR-06002-GAF
 Death Row - 2255                                                             Race & Gender of Def W F
  Attorney General Gonzales                                                 Race & Gender of Vict(s) WF
a baby girl was cut of her murdered mother's womb and taken across state lines. She was found alive in the possession of a Kansas woman,
who police charged with interstate kidnapping resulting in death. Kevin and Lisa Montgomery have two older children, but she had
recently lost a baby. The victim was eight months pregnant and strangled with a rope. Montgomery confessed. All involved are white.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 O’Reilly, Timothy                                   E.D. MI No. 05-80025
 Life sentence from jury                                                     Race & Gender of Def W M
  Attorney General Gonzales                                               Race & Gender of Vict(s) BM
the 2001 gun, bank robbery murder of a Total Armed Services (TAS) armored truck which was delivering cash to the Dearborn Federal
Credit Union (DFCU) in Dearborn, Michigan. There were six potential capital defendants. Three hooded subjects, armed with shotguns,
opened fire, fatally wounding a black TAS guard/messenger, the father of five. The subjects grabbed bags containing $204,000 in currency
and a .38 caliber revolver owned by TAS (carried by the victim). O'Reilly, Duncan and Watson were allegedly directly responsible for the
shooting and killing of the TAS messenger. They faced the death penalty. O'Reilly, Duncan and Broom also committed a 2003 robbery,
where another guard was seriously wounded and $170,000 was stolen. Six robbers participated in the DFCU robbery/murder. They were
provided the vehicle by Archie Broom, who worked at a U-Haul facility. Cromer, Duncan , Broom and O'Reilly were members of the Blue
Stone Motorcycle Club (BSMC), a defunct black motorcycle club. A conversation was recorded between O'Reilly and a confidential
informant, wherein O'Reilly said that he and Watson were the subjects who shot the TAS guard and Johnson was the get-away driver.
Duncan was armed and participated in the robberies. Broom helped get the weapons and supplied the U-Haul used at the DFCU
robbery/murder. Broom obtained a cooperation agreement. Duncan is serving a 12-20 year sentence for an attempted robbery where an
accomplice was killed. O'Reilly is white, the other defendants are black. O’Reilly was previously charged with murder but was acquitted.
O'Reilly and Duncan were alleged to be the most culpable.


 Duncan, Norman                                      E.D. MI No. 05-80025
 Authorization withdrawn                                                     Race & Gender of Def B            M

  Attorney General Gonzales                                               Race & Gender of Vict(s) BM
the 12/14/2001 gun, bank robbery murder of a Total Armed Services (TAS) armored truck which was delivering cash to the Dearborn
Federal Credit Union (DFCU) in Dearborn, Michigan. There were six potential capital defendants. Three hooded subjects, armed with
shotguns, opened fire, fatally wounding a black TAS guard/messenger, the father of five. The subjects grabbed bags containing $204,000
in currency and a .38 caliber revolver owned by TAS (carried by the victim). O'Reilly, Duncan and Watson were allegedly directly
responsible for the shooting and killing of the TAS messenger. They will face the death penalty. O'Reilly, Duncan and Broom also
committed a June 19, 2003 robbery, where another guard was seriously wounded and $170,000 was stolen. Six robbers participated in the
DFCU robbery/murder. They were provided the vehicle by Archie Broom, who worked at a U-Haul facility. Cromer, Duncan , Broom and
O'Reilly were members of the Blue Stone Motorcycle Club (BSMC), a defunct black motorcycle club. A conversation was recorded
between O'Reilly and a confidential informant, wherein O'Reilly said that he and Watson were the subjects who shot the TAS guard and
Johnson was the get-away driver. Duncan was armed and participated in the robberies. Broom helped get the weapons and supplied the U-
Haul used at the DFCU robbery/murder. Broom obtained a cooperation agreement. Duncan is serving a 12-20 year sentence for an
attempted robbery where an accomplice was killed. O'Reilly is white, the other defendants are black. O'Reilly and Duncan are alleged to
be the most culpable.
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 Watson, Kevin                                          E.D. MI No. 05-80025
 Authorization withdrawn                                                        Race & Gender of Def B               M

  Attorney General Gonzales                                                   Race & Gender of Vict(s) BM
the 12/14/2001 gun, bank robbery murder of a Total Armed Services (TAS) armored truck which was delivering cash to the Dearborn
Federal Credit Union (DFCU) in Dearborn, Michigan. There were six potential capital defendants. Three hooded subjects, armed with
shotguns, opened fire, fatally wounding a black TAS guard/messenger, the father of five. The subjects grabbed bags containing $204,000
in currency and a .38 caliber revolver owned by TAS (carried by the victim). O'Reilly, Duncan and Watson were allegedly directly
responsible for the shooting and killing of the TAS messenger. They will face the death penalty. O'Reilly, Duncan and Broom also
committed a June 19, 2003 robbery, where another guard was seriously wounded and $170,000 was stolen. Six robbers participated in the
DFCU robbery/murder. They were provided the vehicle by Archie Broom, who worked at a U-Haul facility. Cromer, Duncan , Broom and
O'Reilly were members of the Blue Stone Motorcycle Club (BSMC), a defunct black motorcycle club. A conversation was recorded
between O'Reilly and a confidential informant, wherein O'Reilly said that he and Watson were the subjects who shot the TAS guard and
Johnson was the get-away driver. Duncan was armed and participated in the robberies. Broom helped get the weapons and supplied the U-
Haul used at the DFCU robbery/murder. Broom obtained a cooperation agreement. Duncan is serving a 12-20 year sentence for an
attempted robbery where an accomplice was killed. O'Reilly is white, the other defendants are black. O'Reilly and Duncan are alleged to
be the most culpable.


 Cheever, Scott                                         D. KS CR No. 05-10050-01-06-MLB
 Authorization withdrawn at trial                                               Race & Gender of Def W M
  Attorney General Gonzales                                                   Race & Gender of Vict(s) WM
law enforcement officer victim - A drug manufacturing facility was raided resulting in a shooting and killing of a deputy sheriff while he
was attempting to serve a search warrant. It is alleged that Cheever tried to kill three other officers when he was holed up after the initial
shooting. Cheever struggled with addiction to methamphetamine since he graduated from high school. The indictment alleges a gun
murder in the course of drug trafficking and the murder of a witness, in violation of 18 U.S.C. §§924 and 1512. The government dismissed
the federal case as the jury was being selected. All involved are white. Cheever was sentenced to death in state court.


 Gooch, Larry                                           D. DC CR No. 04-128
 Life sentence from jury                                                        Race & Gender of Def B               M

  Attorney General Gonzales                                                   Race & Gender of Vict(s) BF BM
a drug (cocaine, PCP, MDA) gang accused of six murders, a double murder in 2000, one in 2002, three in 2003, including a double murder.
Gooch is charged with four murders, Dorsey and Robinson in two and Bell, Franklin and Simmons in one. Attorney General Gonzales
required a capital prosecution against Gooch only. He was acquitted of one of the four murders.


 Lujan, Larry                                           D. NM No. 05-924
 Life sentence from jury                                                        Race & Gender of Def H M
  Attorney General Gonzales                                                   Race & Gender of Vict(s) WM
2005 interstate (Texas to New Mexico) kidnapping murder of a 16 year old potential federal witness. The victim owed a drug debt, failing
to pay Lujan a tax for selling drugs on Lujan’s “turf.” The boy was beaten, forced to perform oral sex and nearly decapitated with a meat
cleaver. His body was found 3 weeks later. The defendant is Hispanic, the victim white. Mr. Lujan is also linked by DNA to a 1998
murder of a couple in the same area who were allegedly involved in drug trafficking. Only Lujan faced the death penalty. All of the co-
defendants, including two juveniles, made statements implicating Lujan.
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 Diaz, Edgar                                         N.D. CA No. 05-00167 (WHA)
 Guilty plea                                                                Race & Gender of Def B            M

  Attorney General Gonzales                                               Race & Gender of Vict(s) BF BM
a seven RICO murder prosecution against eight members of a San Francisco drug (crack, marijuana, Ecstasy)
trafficking gang, the Down Below Gangsters. The indictment alleged five 2004 killings, including a double murder,
one murder in 2003 and another in 2005. Diaz, Johnson, Fort and Calloway are charged in three murders, Rollins in
two, Ellis, Milburn and Jackson in one. An innocent child, a seven week old baby, was killed by a stray bullet.
There are two uncharged homicides. Diaz and Fort agreed to plead guilty and receive a 40 year sentence, but
Attorney General Mukasey rejected Fort’s plea agreement. Later, during trial, Attorney General Holder approved a
plea agreement for Fort, specifying 41.3 years, just before opening statements. A guilty plea was then approved for
Diaz, specifying 40 years. All involved are African-American.


 Fort, Emile                                         N.D. CA No. 05-00167 (WHA)
 Guilty plea at trial                                                       Race & Gender of Def B            M

  Attorney General Gonzales                                               Race & Gender of Vict(s) BM
a seven RICO murder prosecution against eight members of a San Francisco drug (crack, marijuana, Ecstasy)
trafficking gang, the Down Below Gangsters. The indictment alleged five 2004 killings, including a double murder,
one murder in 2003 and another in 2005. Diaz, Johnson, Fort and Calloway are charged in three murders, Rollins in
two, Ellis, Milburn and Jackson in one. An innocent child, a seven week old baby, was killed by a stray bullet.
There are two uncharged homicides. Diaz and Fort agreed to plead guilty and receive a 40 year sentence, but
Attorney General Mukasey rejected Fort’s plea agreement. Later, during trial, Attorney General Holder approved a
plea agreement for Fort, specifying 41.3 years, just before opening statements. A guilty plea was then approved for
Diaz, specifying 40 years. All involved are African-American.


 McTier, James                                       E.D. NY CR No. 05-401
 Life sentence from jury                                                    Race & Gender of Def B            M

  Attorney General Gonzales                                               Race & Gender of Vict(s) BF BM
five RICO murders in 2000 and 2001 by the drug gang "Folk Nation" of the nationwide "Gangster Disciples" gang, who sold cocaine and
marijuana. McTier was charged with three murders, Stone in two murders and Nieves in one. An innocent bystander was killed in a drive-
by shooting. Nieves is Hispanic. Everyone else is black. Only McTier faced the death penalty.


 Covarrubius, Javier                                 C.D. CA No. 05 CR 578
 Guilty plea at trial                                                       Race & Gender of Def H M
  Attorney General Gonzales                                               Race & Gender of Vict(s) HF
law enforcement officer victim - three RICO murders by the "Vineland Boys" (VBS) drug gang formed in the 1980's by a San Fernando
Valley football team. One of it's founding members was murdered in 1999. The VBS pays taxes to the Mexican Mafia. Covarrubius,
Ledesma and Sandoval are charged in one 2003 murder and Robledo and David Garcia are charged in two 2003 murders. The government
alleges the murder of a police officer and a 16 year old girl who was a witness against a gang member. Four attempted murders were
charged. Attorney General Gonzales required a capital trial. Robledo, Covarrubuis and Ledesma entered guilty pleas on the 4th day of
jury selection. All involved are Hispanic.
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 Ledesma, Jose                                        C.D. CA No. 05 CR 578
 Guilty plea at trial                                                        Race & Gender of Def H M
  Attorney General Gonzales                                                Race & Gender of Vict(s) HF
law enforcement officer victim - three RICO murders by the "Vineland Boys" (VBS) drug gang formed in the 1980's by a San Fernando
Valley football team. One of it's founding members was murdered in 1999. The VBS pays taxes to the Mexican Mafia. Covarrubius,
Ledesma and Sandoval are charged in one 2003 murder and Robledo and David Garcia are charged in two 2003 murders. The government
alleges the murder of a police officer and a 16 year old girl who was a witness against a gang member. Four attempted murders were
charged. Attorney General Gonzales required a capital trial. Robledo, Covarrubuis and Ledesma entered guilty pleas on the 4th day of
jury selection. All involved are Hispanic.


 Robledo, Raul                                        C.D. CA No. 05 CR 578
 Guilty plea at trial                                                        Race & Gender of Def H M
  Attorney General Gonzales                                                Race & Gender of Vict(s) HF
law enforcement officer victim - three RICO murders by the "Vineland Boys" (VBS) drug gang formed in the 1980's by a San Fernando
Valley football team. One of it's founding members was murdered in 1999. The VBS pays taxes to the Mexican Mafia. Covarrubius,
Ledesma and Sandoval are charged in one 2003 murder and Robledo and David Garcia are charged in two 2003 murders. The government
alleges the murder of a police officer and a 16 year old girl who was a witness against a gang member. Four attempted murders were
charged. Attorney General Gonzale required a capital trial. Robledo, Covarrubuis and Ledesma entered guilty pleas on the 4th day of jury
selection. All involved are Hispanic.


 Hardy, Damion                                        E.D. NY CR No. 04-706 (S6) (FB)
 Authorization withdrawn                                                     Race & Gender of Def B             M

  Attorney General Keisler, AAG                                            Race & Gender of Vict(s) BM
five RICO gun murders by the gang "Cash Money Brothers" who were involved in murder, robbery, kidnapping and drug trafficking in
Brooklyn, New York. The indictment alleges one murder in 1999, three in 2000 and one in 2003, four by Hardy, three by Moore, two by
Meyers, two by Raheem and one by Sarkissian. There is an uncharged vehicular homicide of an innocent bystander - white male who was
run over by one of the gunshot victim's car. Hardy was found incompetent. All involved are black.


 Moore, Eric                                          E.D. NY CR No. 04-706 (S6) (FB)
 Authorization withdrawn                                                     Race & Gender of Def B             M

  Attorney General Keisler, AAG                                            Race & Gender of Vict(s) BM
five RICO gun murders by the gang "Cash Money Brothers" who were involved in murder, robbery, kidnapping and drug trafficking in
Brooklyn, New York. The indictment alleges one murder in 1999, three in 2000 and one in 2003, four by Hardy, three by Moore, two by
Meyers, two by Raheem and one by Sarkissian. There is an uncharged vehicular homicide of an innocent bystander - white male who was
run over by one of the gunshot victim's car. All involved are black.


 Price, Gerard                                        E.D. NY No. 05-492
 Authorization withdrawn                                                     Race & Gender of Def B             M

  Attorney General Gonzales                                                Race & Gender of Vict(s) BM
a 1999 drug (crack) related RICO gun murder. The indictment alleges five attempted murders. All involved are black. Attorney General
Gonzales required a capital prosecution, but then withdrew the Notice of Intent to seek the death penalty.
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 Casey, Lashaun                                      D. PR No. 3:05-CR-0277-JAG
 Life sentence from jury                                                     Race & Gender of Def B            M

  Attorney General Gonzales                                               Race & Gender of Vict(s) HM
murder of an Hispanic law enforcement officer. Casey, who is black, was born in America and sent to live in Puerto Rico, was accused of
the carjacking murder of an Hispanic undercover cop who disappeared during a drug transaction. The victim's body was found by the side
of the road. The officer's cellphone, marked bills from the drug buy with blood on them and a gun were discovered at the defendant's
grandfather's home. The defendant was caught driving the police officer's car.


 Williams, Michael Dennis                            C.D. CA No. 05-CR-920
 Authorization withdrawn                                                     Race & Gender of Def B            M

  Attorney General Mukasey                                                Race & Gender of Vict(s) HM
Hobbs Act bank robbery and murder. Robbers armed with high-powered assault rifles ambushed an armored car behind a South Los
Angeles bank, killing a guard, a 61 year old father of ten children. The robbers fired more than 50 shots. There were eight men and
women who are suspects in this bank robbery murder (including two accomplices in a van and two women watching the bank for the
robbers). The robbery/murder was highly coordinated, involving at least three vehicles and surveillance and may involve street gang
members. Attorney General Mukasey required a capital prosecution despite a local recommendation that the death penalty not be sought.
Attorney General Holder withdrew the request for the death penalty on the first day of trial.


 Johnson, Antoine Lamont                             C.D. CA No. 05-CR-920
 Authorization withdrawn                                                     Race & Gender of Def B            M

  Attorney General Mukasey                                                Race & Gender of Vict(s) HM
Hobbs Act bank robbery and gun murder. Robbers armed with high-powered assault rifles ambushed an armored car behind a South Los
Angeles bank, killing a guard, a 61 year old father of ten children. The robbers fired more than 50 shots. There are eight men and women
who are suspects in this bank robbery murder (including two accomplices in a van and two women watching the bank for the robbers). The
robbery/murder was highly coordinated, involving at least three vehicles and surveillance and may involve street gang members. Attorney
General Mukasey required a capital prosecution despite a local recommendation that the death penalty not be sought. Attorney General
Holder withdrew the request for the death penalty on the first day of trial.


 Lecco, George                                       S.D. WV CR No. 2:05-00107
 Life sentence from jury                                                     Race & Gender of Def W M
  Attorney General Gonzales                                               Race & Gender of Vict(s) WF
a 2005 gun murder-for-hire of a cooperating witness/informant in a drug (cocaine) prosecution. Lecco asked Burton, who asked Friend to
help kill the female victim who was shot and beaten to death and buried in a shallow grave. Attorney General Gonzales required a death
penalty prosecution. Lecco and Friend were sentenced to death at a joint trial but a new trial was granted by the trial judge when the
government revealed that a juror was under federal investigation for child pornography. 634 F.Supp.2d 633 (SD WV 2009). Friend
entered into a plea agreement approved by Attorney General Holder and testified against Lecco, who was sentenced to life in prison.
Friend was sentenced to 35 years, Burton to 30 years. All involved are white.
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 Friend, Valeri                                         S.D. WV CR No. 2:05-00107
 Guilty plea                                                                    Race & Gender of Def W F
  Attorney General Gonzales                                                   Race & Gender of Vict(s) WF
a 2005 gun murder-for-hire of a cooperating witness/informant in a drug (cocaine) prosecution. Lecco asked Burton, who asked Friend to
help kill the female victim who was shot and beaten to death and buried in a shallow grave. Attorney General Gonzales required a death
penalty prosecution. Lecco and Friend were sentenced to death at a joint trial but a new trial was granted by the trial judge when the
government revealed that a juror was under federal investigation for child pornography. 634 F.Supp.2d 633 (SD WV 2009). Friend
entered into a plea agreement approved by Attorney General Holder and testified against Lecco, who was sentenced to life in prison at a
retrial. Friend received 35 years. All involved are white.


 Williams, Naeem                                        D. HI No. 1:06-CR-00079-DAE
 Life sentence from jury                                                        Race & Gender of Def B              M

  Attorney General Gonzales                                                   Race & Gender of Vict(s) BF
the murder of a five year old child, who was in Special Education, on federal land, the Schofield (US Army) Barracks. There were bruises
on the child's arms, chest, knees and thighs, as well as a small laceration on her back. The father, Naeem Williams, confessed to hitting his
daughter on numerous occasions. His wife, Delilah Williams (the victim’s stepmother), 21, confessed to having knowledge of these
beatings. The child's room had no mattress, no blankets and no furniture, as all had been removed by her parents as a form of punishment.
Blood spatters could be seen throughout the residence from whipping with a belt. Naeem faced the death penalty. Attorney General
Gonzales required a capital trial. Attorney General Holder rejected a plea agreement.


 Duncan, Joseph                                         D. ID CR No. 07-23-N-EJL
 Death row - 2255                                                               Race & Gender of Def W M
  Attorney General Gonzales                                                   Race & Gender of Vict(s) WM
interstate kidnapping and four murders, including sexual abuse, torture and murder of innocent children. Two adults and a 13 year old boy
were beaten to death in North Idaho. Two young children, a girl 8 years old and a boy 9, were kidnapped. Duncan is a registered sex
offender, having been released in 2000 after many years in a Washington state prison. Both children were tortured and sexually abused and
the 8 year old girl watched her 9 year old brother die. Duncan videotaped the abuse and torture. The 8-year old girl was seen with Duncan
and was rescued. Duncan confessed to a double child kidnapping murder in Seattle, Washington and a child murder in Riverside,
California. Duncan pled guilty to other murders in Idaho. Duncan pled guilty, was found competent and represented himself, putting up no
defense at the penalty trial. All involved are white. Duncan was found competent after the Ninth Circuit remanded the case for a
retrospective competency determination. An appeal is pending.


 Ball, Antwuan                                          D. DC CR No. 05-0100 (RWR)
 Dismissal after notice by Judge                                                Race & Gender of Def B              M

  Attorney General Gonzales                                                   Race & Gender of Vict(s) BM
a RICO drug conspiracy responsible for five gun murders, one in 1996, a double in 1998, one in 2002 and another in 2004. Wilson is
charged in three murders, Ball in two and Samuels in one. All involved are African-American.


 Wilson, David                                          D. DC CR No. 05-0100 (RWR)
 Dismissal after notice by Judge                                                Race & Gender of Def B              M

  Attorney General Gonzales                                                   Race & Gender of Vict(s) BF BM
a RICO drug conspiracy responsible for five gun murders, one in 1996, a double in 1998, one in 2002 and another in 2004. Wilson is
charged in three murders, Ball in two and Samuels in one. All involved are African-American.
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 Moreira, Juan                                         D. MD No. 8:05 CR 00393-DKC
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) HM
five RICO gun murders by members of the Langley Park clique of MS-13 gang, including the murder of a potential government witness by
Argueta, Guillen and Palacios, a 2003 double murder, various attempted murders and a gang rape of two women. Bernal is charged in two
murders and the others in one. Villatoro and Canales were not charged in federal court. Villatoro received a life sentence in state court.
There are three additional uncharged related murders. Moreira was implicated in one. All involved are Hispanic.


 Amador, Jorge                                         D. MD No. 8:05 CR 00393-DKC
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) HM
five RICO gun murders by members of the Langley Park clique of MS-13 gang, including the murder of a potential government witness by
Argueta, Guillen and Palacios, a 2003 double murder, various attempted murders and a gang rape of two women. Bernal is charged in two
murders and the others in one. Villatoro and Canales were not charged in federal court. Villatoro received a life sentence in state court.
There are three additional uncharged related murders. Amador is implicated in one 2005 murder. Attorney General Holder authorized a
plea agreement specifying 30 years. All involved are Hispanic.


 Argueta, Antonio                                      D. MD No. 8:05 CR 00393-DKC
 Life sentence from jury                                                       Race & Gender of Def H M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) HF
five RICO gun murders by members of the Langley Park clique of MS-13 gang, including the 2004 murder of a female potential
government witness by Argueta, Guillen and Palacios, a 2003 double murder, various attempted murders and a gang rape of two women.
Bernal is charged in two murders and the others in one. Villatoro and Canales were not charged in federal court. Villatoro received a life
sentence in state court. There are three additional uncharged related murders. All involved are Hispanic.


 Hans, Eric Preston                                    D. SC No. 6:05 CR 01227-HMH
 Life sentence from jury                                                       Race & Gender of Def W M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) WF BF BM
a 2004 arson of a Comfort Inn in Greenville, South Carolina, resulting in six deaths, one white male, two white females, two black males
and one black female. Hans is white. He was allegedly obsessed with a woman who was reconciling with her boyfriend at the motel. At
sentencing, the government abandoned a claim that Hans intended to kill.


 Gladding, Noah                                        W.D. NY No. 6:05-CR-06166-CJS
 Authorization withdrawn                                                       Race & Gender of Def W M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) WM
an interstate (Connecticut to New York) kidnapping gun murder motivated by a substantial drug debt. Connelly assisted in the abduction.
Gladding hit the victim with a rock. Gladding was the shooter and Howenstine provided the gun. Connelly and Howenstine torched the
car afterward. Attorney General Gonzales withdrew the notice of intent to seek the death penalty. All involved are white.
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 Johnson, Herman Norman                                E.D. MI No. 2:05-CR-80337-CGC-SDP
 Authorization withdrawn                                                        Race & Gender of Def B             M

  Attorney General Gonzales                                                  Race & Gender of Vict(s) OM
gun murder of a cooperating witness to money laundering and/or installing hidden compartments in vehicles for transporting drugs. The
murder weapon was found in Johnson’s apartment and gun shot residue on his hoodie. The defendant is black, the victim Chaldean.


 Natson, Michael Antonio                               M.D. GA No. 4:05-CR-00021-CDL-GMF
 Life sentence from jury                                                        Race & Gender of Def B             M

  Attorney General Gonzales                                                  Race & Gender of Vict(s) BF
a 24 year old U.S. Air Force military police officer charged with the gun murder a pregnant 23 year old Georgia Southern University
student in 2003. The victim's skeletal remains were found by hunters on a remote part of Fort Benning, Georgia. Evidence suggests the
victim was romantically involved with the defendant. All involved are African-American.


 Hanner, Claron Levi                                   W.D. PA No. 2:05-CR-00385-TFM
 Guilty plea                                                                    Race & Gender of Def B             M

  Attorney General Gonzales                                                  Race & Gender of Vict(s) WM
involves a contract gun murder of a 53-year-old father of a jailed witness who was cooperating (and due to testify the next day) against
Soloman. Hanner rang the doorbell and shot the witness’s father when he answered the door. Solomon hired Hanner who dropped his
cellphone near the scene of the murder. Hanner pled guilty and testified against Solomon. The victim is white, with five children.
Solomon and Hanner are African-American.


 Solomon, Jelani                                       W.D. PA No. 2:05-CR-00385-TFM
 Life sentence from jury                                                        Race & Gender of Def B             M

  Attorney General Gonzales                                                  Race & Gender of Vict(s) WM
involves a contract gun murder of a 53-year-old father of a jailed witness who was cooperating (and due to testify the next day) against
Soloman. Hanner rang the doorbell and shot the witness’s father when he answered the door. Solomon hired Hanner who dropped his
cellphone near the scene of the murder. Hanner pled guilty and testified against Solomon. The victim is white, with five children.
Solomon and Hanner are African-American.


 Petzold, Michael Alan                                 D. ND CR No. 3:05-CR-00101-RRE
 Guilty plea                                                                    Race & Gender of Def H M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) HM
a drug-related (methamphetamine and marijuana) conspiracy in North Dakota, Washington, Minnesota, Nebraska and California and a
2005 CCE gun murder. All involved as Hispanic. Petzold, a “manager” for the Arandas drug organization, allegedly assisted the shooter
and was present. Only Petzold was authorized. He entered into a plea agreement approved by Attorney General Gonzales, who did not
authorize a capital prosecution against the others: Arandas, Martinez and Wessels.
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 Jackson, David Lee                                   E.D. TX No. 1:06-CR-51
 Death Sentence Vacated and Authorization Withdrawn                           Race & Gender of Def B             M

  Attorney General Gonzales                                                 Race & Gender of Vict(s) BM
a 1999 BOP inmate stabbing murder at the USP in Beaumont, Texas. Jackson was incarcerated for a bank robbery. Co-defendant Gully
was in prison for drug trafficking. Both were sent to ADX in Florence, Colorado after the homicide. Gully did not face the death penalty.
All involved are black. A direct appeal was denied. 549 F.3d 963 (5th Cir. 2008). A 28 USC 2255 motion was granted when the
government conceded a Brady error. He was resentenced to life when the Department of Justice agreed.


 Cyrus, Dennis, Jr.                                   N.D. CA No. 05-00324-MMC
 Life sentence from jury                                                      Race & Gender of Def B             M

  Attorney General Gonzales                                                 Race & Gender of Vict(s) BM
a San Francisco based drug conspiracy from 1994 to 2005 alleging three separate 2002 RICO murders including the killing of a
government witness, 18 U.S.C. §1512. Cyrus faced three murder charges, Peterson faced one.


 Peterson, Aquil                                      N.D. CA No. 05-00324-MMC
 Authorization withdrawn                                                      Race & Gender of Def B             M

  Attorney General Gonzales                                                 Race & Gender of Vict(s) BM
a San Francisco based conspiracy from 1994 to 2005 alleging three separate 2002 RICO murders including the killing of a government
witness. 18 U.S.C. §1512. Cyrus faces three murder charges, Peterson faces one.


 Eye, Gary                                            W.D. MO No. 4:05-CR-00344-ODS
 Life sentence from jury                                                      Race & Gender of Def W M
  Attorney General Gonzales                                                 Race & Gender of Vict(s) BM
a 2005 18 U.S.C. §924(c) gun, hate crime murder of a §1512 government witness. The indictment alleged the victim was killed by the
white defendants because he is an African-American. State murder charges were dismissed. The United States Attorney announced that
the death penalty would not be sought, but the Department of Justice required counsel to submit a mitigation letter. "Learned" counsel
were not appointed until Attorney General Gonzales required a death penalty prosecution. Both defendants are young with juvenile
records.


 Sandstrom, Steven                                    W.D. MO No. 4:05-CR-00344-ODS
 Life sentence from jury                                                      Race & Gender of Def W M
  Attorney General Gonzales                                                 Race & Gender of Vict(s) BM
a 2005 18 U.S.C. §924(c) gun, hate crime murder of a §1512 government witness. The indictment alleged the victim was killed by the
white defendants because he is an African-American. State murder charges were dismissed. The United States Attorney announced that
the death penalty would not be sought, but the Department of Justice required counsel to submit a mitigation letter. "Learned" counsel
were not appointed until Attorney General Gonzales required a death penalty prosecution. Both defendants are young with juvenile
records.
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 Henderson, Thomas                                    S.D. OH No. 2:06-CR-00039
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Gonzales                                                 Race & Gender of Vict(s) BM
the 1996 and 1998 18 U.S.C. § 1513 murders of witnesses who testified against Henderson in an earlier bank robbery prosecution and the
witness’ boyfriend. In addition, three additional murders were alleged in aggravation. All involved are African-American.


 Basciano, Vincent                                    E.D. NY No. 05-CR-0060 (S-3) (NGG)
 Life sentence from jury                                                       Race & Gender of Def W M
  Attorney General Gonzales                                                 Race & Gender of Vict(s) WM
two mob RICO murders by the Acting Boss of the Bonanno crime family in 2001, involving Indelicator and Donato, and in 2004,
involving Basciano, Cicale, Aiello and Mancuso. Joe Massino, the Boss of the Family, avoided a death penalty trial by secretly taping
Basciano. Subsequently, Cicale began cooperating. Basciano was convicted of the 2001 murder and sentenced to life in prison. He was
separately tried and convicted of the 2004 murder case and Massino testified against him. Attorney General Holder rejected the judge’s
request to withdraw the Notice of Intent to seek the death penalty. The jury unanimously voted to reject the death penalty. All involved
are white.


 Jones, Ulysses                                       W.D. MO 6:10-CR-03090-DGK
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Holder                                                   Race & Gender of Vict(s) BM
a BOP murder by a black inmate of another black inmate at the US Medical Correctional Facility in Springfield, Illinois. Jones was serving
a life sentence for a previous murder of an inmate. He currently receives dialysis treatment three times a week. Jones has two prior
murders out of D.C.


 Galan, Thomas A.                                     N.D. OH No. 3:06-CR-00730-JGC-1
 Life sentence from jury                                                       Race & Gender of Def H M
  Attorney General Gonzales                                                 Race & Gender of Vict(s) HM
drug related double gun murder of two brothers in 2006. They were found in a crushed van. The defendant is white, the victims Hispanic.
Galan distributed cocaine and marijuna in Northwest Ohio.


 Hager, Thomas Morocco                                E.D. VA No. 1:05-CR-00264-TSE
 Death row - 2255                                                              Race & Gender of Def B             M

  Attorney General Gonzales                                                 Race & Gender of Vict(s) WF
the 1993 stabbing death of a white Fairfax County woman by a black convict who is also serving a life sentence. Since 1992, Hager
allegedly killed five other people and ordered the slaying of a seventh person. Co-defendants Barnett and Johnson, juveniles, pled guilty
and received life sentences for the 1993 murder of Barbara White, a 19-year-old single mother. They stabbed the victim 82 times in her
bathtub while her 13 month old daughter was elsewhere in the apartment. Hager, a crack cocaine dealer, was involved in the stabbing.
Hager is also serving a minimum 87 year sentence for killing another man in March of 1995. He broke into that victim’s apartment and
shot him. In 1999 he was convicted of manslaughter in an October 1996 shooting. Hager was involved in crime dating to a conviction for
dealing cocaine as a 16-year-old. He was involved in robbing people, including rival drug dealers, of drugs, money and other valuables.
Hager is suspected in, but has not been charged in several other killings. He was also involved in other murders in 1992, two in 1996 and
1997. He attempted murder in 1993 by shooting two rival drug dealers. Since being jailed in 1999 he was armed and involved in four
assaults. Hager bragged that he trained his juvenile accomplices to be killers. A 28 USC 2255 motion is pending.
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 Brown, Jarvis                                        S.D. IN EV06-CR-0014-01-Y/H
 Guilty plea                                                                  Race & Gender of Def B             M

  Attorney General Gonzales                                                Race & Gender of Vict(s) WF BM
four gun murders, including the killing of a government witness, and eight other shootings in eleven days in 2005. The defendants robbed
and murdered an Evansville drug dealer. Later, a woman who was with them who was gunned down on the street because the defendants
suspected she was an informant. Jordan and Brown were charged in all four murders, Weems in three. Jordan and Brown faced the death
penalty. Weems agreed to testify against them. Later, Jordan entered into a plea agreement. All involved are black, except the female
witness victim, who was white. Attorney General Mukasey approved a plea agreement specifying a life sentence, but Brown declined to
enter a plea. Subsequently, he changed his mind and the plea was accepted.


 Jordan, Gabriel                                      S.D. IN EV06-CR-0014-01-Y/H
 Guilty plea                                                                  Race & Gender of Def B             M

  Attorney General Gonzales                                                Race & Gender of Vict(s) WF BM
four gun murders, including the killing of a government witness, and eight other shootings in eleven days in 2005. The defendants robbed
and murdered an Evansville drug dealer. Later, a woman who was with them who was gunned down on the street because the defendants
suspected she was an informant. Jordan and Brown were charged in all four murders, Weems in three. Jordan and Brown faced the death
penalty. Weems agreed to testify against them. Later, Jordan entered into a plea agreement. All involved are black, except the female
witness victim, who was white. Attorney General Mukasey approved a plea agreement. Jordan was sentenced to 28 years.


 Cooya, Shawn                                         M.D. PA No 4:08-CR-70
 Guilty plea                                                                  Race & Gender of Def NA M
  Attorney General Holder                                                  Race & Gender of Vict(s) NAM
a BOP inmate killing at FCC Allenwood allegedly motivated because the victim was converting to Christianity. The stabbing murder is on
videotape. All involved are Native-American. Attorney General Holder required the United States Attorney to seek the death penalty as to
both and rejected plea agreements for Cooya (25 years) and Williams (20 years), who has a prior second degree murder conviction.


 Williams, Ritz                                       M.D. PA No 4:08-CR-70
 Guilty plea                                                                  Race & Gender of Def NA M
  Attorney General Holder                                                  Race & Gender of Vict(s) NAM
a BOP inmate killing at FCC Allenwood allegedly motivated because the victim was converting to Christianity. The stabbing murder is on
videotape. All involved are Native-American. Attorney General Holder required the United States Attorney to seek the death penalty as to
both and rejected plea agreements for Cooya (25 years) and Williams (20 years), who has a prior second degree murder conviction.


 Ebron, Joseph                                        E.D. TX No. 1:07-CR-142 (1:08-CR-00036)
 Death row - 2255                                                             Race & Gender of Def B             M

  Attorney General Keisler, AAG                                            Race & Gender of Vict(s) BM
a USP Beaumont BOP inmate murder. All involved are blacks from Washington D.C. (the “DC Crew”) who were in USP Atlanta, then
USP Beaumont, together. The deceased was a government witness against two of Ebron's associates in an aggravated robbery in 1997.
Ebron held the deceased while Mosely stabbed him 100 times. Mosely died before he could be charged. Ebron was previously convicted
in 1999 of murder in Washington, D.C. A 28 USC 2255 motion is pending.
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 Bacote, Michael                                        E.D. TX No. 1:07-CR-142
 Authorization withdrawn                                                         Race & Gender of Def B              M

  Attorney General Keisler, AAG                                               Race & Gender of Vict(s) BM
a USP Beaumont BOP inmate murder. All involved are blacks from Washington D.C. (the “DC Crew”) who were in USP Atlanta, then
USP Beaumont, together. The deceased was a government witness against two of Ebron's associates in an aggravated robbery in 1997.
Ebron held the deceased while Mosely stabbed him 100 times. Mosely died before he could be charged. Ebron was previously convicted
in 1999 of murder in Washington, D.C. Bacote, who is intellectually disabled, was incarcerated for armed robbery.


 Green, Steven                                          W.D. KY No. 5:06-CR-00019-TBR
 Life sentence from jury                                                         Race & Gender of Def W M
  Attorney General Gonzales                                                   Race & Gender of Vict(s) ARF ARM
the 2006 murders of an Iraqi family of four, including two children, and the rape murder of their daughter by three United States soldiers.
Four of Green’s fellow soldiers, including three squad leaders, were murdered in 12 days. Green, age 20, who is white, told counselors and
commanding officers that he wanted to kill Iraqis. Green was discharged before his arrest and indicted in United States District Court.


 Baskerville, William                                   D. NJ CR No. 03-836 (JAP)
 Life sentence from jury                                                         Race & Gender of Def B              M

  Attorney General Gonzales                                                   Race & Gender of Vict(s) BM
Baskerville is a “career offender” in his early thirties who was the target of a federal narcotics investigation. The victim was a government
informant who made a series of taped drug buys from Baskerville (as well as others). Four months after Baskerville was arrested, the
government witness was killed. Baskerville ordered the hit from his jail cell. The shooter, Anthony Young, cooperated and did not face
the death penalty.


 Rico, Jose Rios                                        D. AZ No. 05-0272-PHX-JAT
 Guilty plea                                                                     Race & Gender of Def H M
  Attorney General Gonzales                                                   Race & Gender of Vict(s) WF
drug (meth) related contract gun murder of a white woman suspected of being a government witness by an Hispanic. Attorney General
Gonzales required a capital prosecution. Attorney General Mukasey approved a plea agreement.


 Moonda, Donna                                          N.D. OH No. 1:06-CR-00395-DDD
 Life sentence from jury                                                         Race & Gender of Def W F
  Attorney General Gonzales                                                   Race & Gender of Vict(s) IM
a 2005 “interstate stalking,” 18 U.S.C. §2261A, §924 domestic gun murder of a millionaire urologist while he was driving on the Ohio
Turnpike. Co-defendant Bradford, a black male, allegedly traveled from Pennsylvania to Ohio to kill Dr. Gulam Moonda. Bradford struck
a deal for 17 years in return for testimony that Mrs. Moonda offered him money to kill her husband. He was having an affair with the
doctor's wife. The deceased was 69 and of Indian descent. Mrs. Moonda, 47, faced the death penalty for charges of murder for hire.
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 Burgos-Montes, Edison                                 D. PR No. 06-009 JAG
 Life sentence from jury                                                        Race & Gender of Def H M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) HF
a carjacking murder of a government witness who was Burgos’ girlfriend, an informant for the DEA, investigating Burgos as the alleged
leader of a drug conspiracy. Burgos allegedly found out and threatened to kill her. She disappeared shortly thereafter and her body has
never been found. All involved are Hispanic.


 Lopez-Matias, Rodney                                  D. PR No. 06-368 (JAF)
 Authorization withdrawn                                                        Race & Gender of Def H M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) HM
a carjacking murder. The victim was stabbed and beaten and then drowned. The judge dismissed the notice of intent to seek the death
penalty because case was authorized without defendants being afforded opportunity to develop and present information during the
authorization process. The First Circuit reversed. 522 F.3d 150 (1st Cir. 2008). Attorney General Holder withdrew the Notice of Intent to
Seek the Death Penalty. All involved are Hispanic.


 Riera-Crespo, Eduardo                                 D. PR No. 06-368 (JAF)
 Authorization withdrawn                                                        Race & Gender of Def H M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) HM
a carjacking murder. The victim was stabbed and beaten and then drowned. The judge dismissed the notice of intent to seek the death
penalty because case was authorized without defendants being afforded opportunity to develop and present information during the
authorization process. The First Circuit reversed. 522 F.3d 150 (1st Cir. 2008). Attorney General Holder withdrew the Notice of Intent to
Seek the Death Penalty. All involved are Hispanic.


 Alers-Santiago, Raymond                               D. PR No. 06-368 (JAF)
 Guilty plea                                                                    Race & Gender of Def H M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) HM
a carjacking murder. The victim was stabbed and beaten and then drowned. The judge dismissed the notice of intent to seek the death
penalty because case was authorized without defendants being afforded opportunity to develop and present information during the
authorization process. The First Circuit reversed. 522 F.3d 150 (1st Cir. 2008). Attorney General Mukasey authorized a plea pursuant to a
cooperation agreement. All involved are Hispanic.


 Talik, Eugene J., Jr.                                 N.D. WV No. 5:06-CR-51
 Guilty plea at trial                                                           Race & Gender of Def W M
  Attorney General Gonzales                                                  Race & Gender of Vict(s) WF
interstate domestic strangulation murder for hire of a single white female with children by a 38 year old white trucking supervisor and his
accomplice.
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 Sanchez, Ricardo                                      S.D. FL 06-80171-CR-HURLEY/VITUNAC(s)(s)
 Death Row - 2255                                                              Race & Gender of Def H M
  Attorney General Mukasey                                                   Race & Gender of Vict(s) HF HM
four gun carjacking murders of a man allegedly involved in cocaine trafficking and his wife and two children, ages 4 and 3 on the Florida
Turnpike. All involved are Hispanic. 28 USC 2255 proceedings are pending.


 Troya, Danny                                          S.D. FL 06-80171-CR-HURLEY/VITUNAC(s)(s)
 Death Row - 2255                                                              Race & Gender of Def H M
  Attorney General Mukasey                                                   Race & Gender of Vict(s) HF HM
four gun carjacking murders of a man allegedly involved in cocaine trafficking and his wife and two children, ages 4 and 3. All involved
are Hispanic. 28 USC 2255 proceedings are pending.


 Davis, Earl                                           D. MD No. 8:07-CR-00199-RWT
 Dismissal after notice by Judge                                               Race & Gender of Def B              M

  Attorney General Mukasey                                                   Race & Gender of Vict(s) WM
the cross-racial gun murder of a security guard driving an armored vehicle during a delivery to a bank. The robbery is on videotape. DNA
from a baseball cap at the scene matches Davis. Other murders (four) are alleged. Davis was found to be intellectually disabled after a pre-
trial evidentiary hearing. 611 F.Supp.2d 472 (2009). The accused is black. The victim is white.


 Aquart, Azibo                                         D. CT 3:06CR160 (PCD)
 Death Row - Appeal                                                            Race & Gender of Def B              M

  Attorney General Mukasey                                                   Race & Gender of Vict(s) BF BM
a triple murder of a rival in the drug business, his girlfriend and a visitor, who were bound and gagged and bludgeoned to death with a
baseball bat by leaders of a Jamaican drug gang. All the defendants and victims are black. The Aquart brothers faced the death penalty.
Johnson, who cooperated, did not. After Azibo’s trial, his brother, Azikiwe, entered into a plea agreement and was sentenced to life in
prison. A direct appeal is pending.


 Aquart, Azikiwe                                       D. CT 3:06CR160 (PCD)
 Guilty plea                                                                   Race & Gender of Def B              M

  Attorney General Mukasey                                                   Race & Gender of Vict(s) BF BM
a triple murder of a rival in the drug business, his girlfriend and a visitor, who were bound and gagged and bludgeoned to death with a
baseball bat by leaders of a Jamaican drug gang. All the defendants and victims are black. The Aquart brothers faced the death penalty.
Johnson, who is cooperating, did not.


 Taylor, Donald Scott                                  D. NM No. 07-1244
 Guilty plea                                                                   Race & Gender of Def W M
  Attorney General Mukasey                                                   Race & Gender of Vict(s) WM
an Aryan Brotherhood 2005 drug-related (methamphetamine) RICO gun murder for hire of an elderly (71 years of age) rancher. Taylor
was involved in a previous botched WalMart robbery. He stabbed a guard while awaiting trial. All involved are white. Attorney General
Holder approved a plea agreement on the verge of trial.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Baker, Antoine Demetris                               E.D. AR No. 4:06 CR 00041 GTE
 Guilty plea at trial                                                          Race & Gender of Def B              M

  Attorney General Gonzales                                                  Race & Gender of Vict(s) BM
a drug-related witness murder. Baker was involved in a crack cocaine conspiracy and was arrested on a state robbery charge. He was
visited at the local jail by two individuals and instructed them to kill the robbery victim who was shortly murdered. The killer, Baker’s
cousin, Mario Dedman, was prosecuted in state court, convicted of capital murder and sentenced to life imprisonment. A third accomplice,
Willie Lee Davis, Jr., was indicted in this case with Baker, pled guilty and was sentenced to life imprisonment. All involved are black.
Baker was serving a 50 year sentence for another murder. Attorney General Holder approved a plea agreement during jury selection.


 Savage, Kaboni                                        E.D. PA No. 2:07-CR-00550-RBS
 Death row - Appeal                                                            Race & Gender of Def B              M

  Attorney General Holder                                                    Race & Gender of Vict(s) BF BM HM
thirteen murders allegedly orchestrated by Philadelphia drug kingpin Kaboni Savage, already serving 30 years for drug trafficking.
Thirteen murders are charged, including a 2004 arson fire that killed six people, including four children - ages 15, 12, 10 and 1. The fire
was set to retaliate against a federal informant who was testifying against Savage. Kaboni Savage is charged in twelve murders, Merritt in
six, Kidada Savage in four involving the arson and Northington in two. All involved are black, except one victim, who is an Hispanic
male. A direct appeal is pending.


 Northington, Steven                                   E.D. PA No. 2:07-CR-00550-RBS
 Life sentence from jury                                                       Race & Gender of Def B              M

  Attorney General Holder                                                    Race & Gender of Vict(s) BM
involves murders allegedly orchestrated by Philadelphia drug kingpin Kaboni Savage, already serving 30 years for drug trafficking.
Thirteen murders are charged, including a 2004 arson fire that killed six people, including four children - ages 15, 12, 10 and 1. The fire
was set to retaliate against a federal informant who was testifying against Savage. Kaboni Savage is charged in twelve murders, Merritt in
six, Kidada Savage in four involving the arson and Northington in two. All involved are black, except one victim, who is an Hispanic
male. The trial court rejected a claim that Northington is intellectually disabled.


 Merritt, Robert                                       E.D. PA No. 2:07-CR-00550-RBS
 Acquittal                                                                     Race & Gender of Def B              M

  Attorney General Holder                                                    Race & Gender of Vict(s) BF BM HM
involves murders allegedly orchestrated by Philadelphia drug kingpin Kaboni Savage, already serving 30 years for drug trafficking.
Thirteen murders are charged, including a 2004 arson fire that killed six people, including four children - ages 15, 12, 10 and 1. The fire
was set to retaliate against a federal informant who was testifying against Savage. Kaboni Savage is charged in twelve murders, Merritt in
six, Kidada Savage in four involving the arson and Northington in two. All involved are black, except one victim, who is an Hispanic
male.


 Smith, Danny Damon                                    E.D. VA No. 3:07CR433
 Authorization withdrawn                                                       Race & Gender of Def B              M

  Attorney General Mukasey                                                   Race & Gender of Vict(s) BF
the gun murder of a female informant in a drug (crack) case.
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 Tisdale, Jason                                        D. KS No. 07-10142
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Mukasey                                                  Race & Gender of Vict(s) BF BM
four RICO and drug-related murders by the Crips gang. Tisdale was charged in three murders, a double homicide in 1998 and another in
2004. Campbell was charged in one 2006 murder. All involved are African-American.


 Julian, Jermaine Michael                              M.D. FL No. 8:07-CR-9-T-27TGW
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Keisler, AAG                                             Race & Gender of Vict(s) BM
a robbery of a drug house and an execution style gun murder and two attempted murders. The gunmen forced their way into the house.
Only Julian faced the death penalty. He shot the deceased victim Potts but the gun jammed when he tried to shoot two associates. All
involved are black.


 Andrews, Patrick                                      N.D. WV No. 1:12-CR-00100-IMK-JSK
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Holder                                                   Race & Gender of Vict(s) BM
a BOP inmate murder at USP Hazelton on videotape by two defendants. Andrews is serving consecutive 37 years to life sentences out of
D.C. for two prior murders. Bellinger, also from D.C., is serving a life sentence for assault with intent to kill. Attorney General Holder
rejected a plea agreement to manslaughter and 15 years. Attorney General Holder rejected a second offer to plead guilty to second degree
murder and 30 years. Eventually, Andrews offered to plead to a life sentence, which was accepted in the final weeks before trial. Bellinger
did not face the death penalty. He also received a life sentence after a non-capital trial. All involved are African-American.


 Dinkins, James                                        D. MD No. 1:06-CR-00309-JFM
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Mukasey                                                  Race & Gender of Vict(s) BM
three drug-related gun murders. Dinkins was charged in two in 2005, the others in one. 18 U.S.C. §§846 and 924.


 Gilbert, Melvin                                       D. MD No. 1:06-CR-00309-JFM
 Life sentence from jury                                                       Race & Gender of Def B             M

  Attorney General Mukasey                                                  Race & Gender of Vict(s) BM
three drug-related gun murders. Dinkins was charged in two in 2005, the others in one. 18 U.S.C. §§846 and 924.


 Burton, Harry                                         D. MD No. 1:07-CR-00149-WDQ
 Authorization withdrawn                                                       Race & Gender of Def B             M

  Attorney General Mukasey                                                  Race & Gender of Vict(s) BF BM
three RICO drug related (crack) murders in 2003 by Burton, alleged leader of the “Latrobe organization,” a drug and gun gang. Allen Gill
is charged in one, the murder of a female, Burton’s girlfriend who allegedly set up Burton to be shot. All involved are black. Burton is
possibly intellectually disabled. Attorney General Mukasey, on the eve of trial, withdrew the death authorization and authorized a plea to
60 years.
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                              Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Phillips, Maurice                                      E.D. PA No. 2:07-CR-00549-JCJ
 Life sentence from jury                                                         Race & Gender of Def B              M

  Attorney General Holder                                                     Race & Gender of Vict(s) BF BM
murder for hire witness killings of a female informant and her godson who was at the residence at the time of the shooting. Phillips ordered
the killing. Maurice Phillips was also charged with other murders in aggravation. Bryant Phillips was the shooter and testified at trial. All
involved are black.


 Santiago, Richard                                      D. CO No. 1:10-CR-00164-LTB
 Guilty plea                                                                     Race & Gender of Def H M
  Attorney General Holder                                                     Race & Gender of Vict(s) HM
the first BOP inmate murder at “Supermax,” ADX Florence, Colorado. Santiago was already serving a life sentence for an La EME
murder at USP Lompoc. Santiago discharged counsel and proceeded pro se. Additional counsel helped him negotiate a plea agreement to
life. All involved are Hispanic.


 Snarr, Mark                                            E.D. TX 1:09-CR-00015-MAC-KFG All
 Death Row - 2255                                                                Race & Gender of Def W M
  Attorney General Filip                                                      Race & Gender of Vict(s) BM
BOP inmate murder at FCC Beaumont by the alleged founder of the white supremacist group Soldiers of the Aryan Culture, which was
formed in the Utah state prison system. Two BOP guards were stabbed before the murder, but survived after long hospital stays. Snarr
took the keys from a guard and opened the victim’s cell door. Snarr is white, Garcia is Hispanic and the victim is black. A direct appeal
was denied. A 28 USC 2255 motion is pending.


 Garcia, Edgar B.                                       E.D. TX 1:09-CR-00015-MAC-KFG All
 Death Row - 2255                                                                Race & Gender of Def H M
  Attorney General Filip                                                      Race & Gender of Vict(s) BM
BOP inmate murder at FCC Beaumont by the alleged founder of the white supremacist group Soldiers of the Aryan Culture, which was
formed in the Utah state prison system. Two BOP guards were stabbed before the murder, but survived after long hospital stays. Snarr
allegedly took the keys from a guard and opened the victim’s cell door. Snarr is white, Garcia is Hispanic and the victim is black. A direct
appeal was denied. A 28 USC 2255 motion is pending.


 Byers, Patrick Albert, Jr.                             D. MD No. 08-056
 Life sentence from jury                                                         Race & Gender of Def B              M

  Attorney General Mukasey                                                    Race & Gender of Vict(s) WM
2007 contract, gun murder for hire by a 15 year old member of the Bloods gang on the order of Byers, who was facing a state murder trial
in eight days. The gunman was paid $2,500. The victim, who is a white male, was an eyewitness to a murder committed by Byers. He
was shot to death in front of his children. The hit was arranged from jail by a cellphone. Prior to trial, Byers was caught with another
cellphone in jail, trying to influence a witness. Attorney General Holder rejected an offer to plead to a life sentence. The jury deliberated
eight hours before announcing they were not unanimous. All the defendants are black.
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 Runyon, David                                        E.D. VA CR No. 4:08-CR-16
 Death row - 2255                                                             Race & Gender of Def A M
  Attorney General Mukasey                                                 Race & Gender of Vict(s) WM
a gun murder for hire in Newport News of a husband. Catherina Voss was married to the victim and she and her boyfriend Draven
contracted with Runyon to kill Voss’ husband. The alleged motive was to obtain the victim’s military benefits. Voss was sentenced to life
in return for her testimony. 28 USC 2255 proceedings are pending.


 Wade, Joshua                                         D. AK No. 3:07-CR-00111-RRB-JDR All
 Guilty plea                                                                  Race & Gender of Def W M
  Attorney General Holder                                                  Race & Gender of Vict(s) WF
a carjacking gun murder and robbery of a female next door neighbor. Wade stole the victim’s car and used her ATM card. He was
acquitted in 2003 of a prior 2000 homicide charge. All involved are white. Attorney General Holder approved a plea agreement specifying
a life sentence. Wade was also sentenced to life in prison in state court.


 Atwater, DeMario James                               M.D. NC No. 1:08-CR-00384-JAB
 Guilty plea                                                                  Race & Gender of Def B            M

  Attorney General Mukasey                                                 Race & Gender of Vict(s) WF
carjacking gun murder and ATM robbery of the popular University of North Carolina student body president. The co-defendant Lovette is
a juvenile and not eligible for the death penalty. Lovette is accused of an earlier murder of a Drake University graduate student. The
victim was allegedly kidnapped from her home and forced to withdraw money from ATMs before being shot to death. The government
claims that Atwater shot the victim with a shotgun after Lovette had shot her four times with a handgun. Atwater is black, the female
victim white.


 Merriweather, William, Jr.                           N.D. AL No. 2:07-CR-243-RDP-JEO
 Guilty plea                                                                  Race & Gender of Def B            M

  Attorney General Mukasey (Sessions - GP)                                 Race & Gender of Vict(s) WF, BF
murder during an Alabama bank robbery. Merriweather killed two female bank employees and wounded two others. One of the homicide
victims is a white female, the other three are black females. Merriweather’s prior criminal record involves child sexual abuse and drug
trafficking. He is an African-American who was addicted to drugs. He was shot at the scene and arrested. He made false statements that
there was another person involved. Merriweather was found incompetent, but competency was restored.


 Leon Guerrero, James                                 E.D. CA No. 08 CR 00259
 Guilty plea                                                                  Race & Gender of Def H M
  Attorney General Holder                                                  Race & Gender of Vict(s) HM
law enforcement officer victim - the stabbing death of a BOP Hispanic prison guard at Atwater by two inmates. The killing is on
videotape. Co-defendant Sablan is suspected of being involved in a prior correctional officer murder. The victim was a 22 year old
military veteran who served two tours in Iraq. He was chased down and tackled by Sablan and stabbed by Guerrero with an eight inch ice
pick type weapon. Leon Guerrero is from Guam. Sablan is from Saipan. This was Attorney General Holder’s first decision to “authorize”
a case.
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 Sablan, Joseph Cabrerar                               E.D. CA No. 08 CR 00259, change to C.D. CA No. 2:14-CR-00738-AK
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Holder                                                    Race & Gender of Vict(s) HM
law enforcement officer victim - the stabbing death of a BOP Hispanic prison guard at Atwater by two inmates. The killing is on
videotape. Sablan is suspected of being involved in a prior correctional officer murder. The victim was a 22 year old military veteran who
served two tours in Iraq. He was chased down and tackled by Sablan and stabbed by Guerrero with an eight inch ice pick type weapon.
Leon Guerrero is from Guam. Sablan is from Saipan. This was Attorney General Holder’s first decision to “authorize” a case.


 Jacques, Michael                                      D. VT No. 2:08-CR-117
 Guilty plea                                                                   Race & Gender of Def W M
  Attorney General Holder                                                    Race & Gender of Vict(s) WF
2008 kidnapping, rape and murder by Jacques of his 12 year old niece. All involved are white.


 Richardson, Brian                                     N.D. GA No. 1:08CR139
 Life sentence from jury                                                       Race & Gender of Def W M
  Attorney General Mukasey                                                   Race & Gender of Vict(s) WM
inmate killing involving a stabbing and strangulation at USP Atlanta. Richardson was charged with other murders in aggravation. All
involved are white.


 Umana, Alejandro Enrique                              W.D. NC No. 3:08-CR-134-RJC
 Death row - 2255                                                              Race & Gender of Def H M
  Attorney General Mukasey                                                   Race & Gender of Vict(s) HM
four murders by members of the MS-13 gang. Alleged are double murders in 2005 and 2007 and a single murder in 2008. Umana was
charged with two additional murders in 2005 in aggravation. Umana received the death penalty for a 2007 double murder. He also
allegedly committed two additional uncharged murders. Fernandez-Gradis was charged in two murders, Gonzalez in one, but they did not
face the death penalty. The district court rejected a claim of intellectual disability. All involved are Hispanic. 28 USC 2255 proceedings
are pending.


 Lewis, Antun                                          N.D. OH No. 1:08CR404
 Dismissal after notice by Judge                                               Race & Gender of Def B              M

  Attorney General Holder                                                    Race & Gender of Vict(s) BF BM
arson murders in Cleveland, Ohio, resulting in the death of nine, including eight children ages 7 to 15 who were sleeping in the house and
died from smoke inhalation. All involved are African-American. On December 23, 2010, the Court barred the death penalty because
Lewis is intellectually disabled. 2010 WL 5418901.


 Watland, Gary                                         D. CO No. 1:11-CR-00038-JLK
 Guilty plea                                                                   Race & Gender of Def W M
  Attorney General Holder                                                    Race & Gender of Vict(s) WM
a 2008 murder of a BOP inmate at USP Florence by a convicted murderer with an escape conviction. Watland was sentenced to 25 years in
Maine for murder and 35 years for an attempted escape. The victim was stabbed in the neck. All involved are white.
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 Millner, John Travis                                 E.D. KY No. 7:13-CR-15-ART
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Holder                                                   Race & Gender of Vict(s) BM
a BOP inmate homicide of a cellmate at USP Big Sandy, with a prison-made ice pick and by strangulation. Millner was convicted of a
previous murder in Washington D.C. and an attempted murder of another inmate in Virginia. He was already serving a life without release
sentence. Both are African-Americans.


 Coonce, Wesley Paul Jr.                              W.D. MO 10-03029-01/02-CR-S-GAF
 Death row - Appeal                                                            Race & Gender of Def W M
  Attorney General Holder                                                   Race & Gender of Vict(s) HM
a BOP murder at the Medical Center in Springfield, Missouri, by two inmates. Coonce is already serving a life sentence. The defendants
are white, the victim Hispanic. A direct appeal is pending.


 Hall, Charles Michael                                W.D. MO 10-03029-01/02-CR-S-GAF
 Death row - Appeal                                                            Race & Gender of Def W M
  Attorney General Holder                                                   Race & Gender of Vict(s) HM
a BOP murder at the Medical Center in Springfield, Missouri, by two inmates. Hall was serving a sentence of 43 months, which began in
2009. The defendants are white, the victim Hispanic. A direct appeal is pending.


 Taylor-Keller, Lorie Ann                             W.D. VA No. 5:10 CR 00015
 Guilty plea                                                                   Race & Gender of Def W F
  Attorney General Holder                                                   Race & Gender of Vict(s) WF WM
interstate domestic gun and arson triple murder; an ex-husband of Lorie Keller, his new wife and her five year old child. They were shot
and the house burned. All involved are white.


 Jimenez-Bencevi, Xavier                              D. PR No. 3:12-CR-00221-JAF
 Life sentence from jury                                                       Race & Gender of Def H M
  Attorney General Holder                                                   Race & Gender of Vict(s) HF
a 2010 gun murder of a female witness, allegedly arranged by a mother and son. The triggerman, Jiminez-Bencevi, was authorized for a
capital prosecution. He committed a prior murder. All involved are Hispanic.


 McCluskey, John Charles                              D. NM No. 1:10-CR-02734
 Life sentence from jury                                                       Race & Gender of Def W M
  Attorney General Holder                                                   Race & Gender of Vict(s) WF WM
two carjacking gun murders of a just retired married couple by escaped convicts. All involved are white.
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 Sanders, Thomas Steven                                W.D. LA No. 1:10CR00351
 Death row - Appeal                                                            Race & Gender of Def W M
  Attorney General Holder                                                    Race & Gender of Vict(s) WF
interstate kidnapping from Las Vegas, Nevada, to Arizona to Louisiana and murder of a mother, whose remains were located in Arizona,
and a child, a daughter (age 12), whose remains were found in Louisiana. Attorney General Holder rejected a plea agreement. All
involved are white. A direct appeal is pending.


 Pleau, Jason W.                                       D. RI No. CR 10 184-015
 Guilty plea                                                                   Race & Gender of Def W M
  Attorney General Holder                                                    Race & Gender of Vict(s) WM
Hobbs Act gun murder of the manager of a gas station. The governor of Rhode Island refused to release the defendant to federal authorities
but was ordered to do so. 680 F.3d 1 (1st Cir.). Pleau served 13 years in prison before the murder for violent crimes including assault on a
prison guard. All involved are white, except Santiago who is Hispanic.


 Lopez, Enrique                                        N.D. TX No. 3:09-CR-320-M
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Holder                                                    Race & Gender of Vict(s) HM
Lopez was involved in five bank robberies, one of which resulted in the shooting/murder of a Brinks driver outside a bank. The robberies,
including the shooting, are on videotape. Lopez is charged as the shooter. The co-defendant, Sandoval, is Lopez’s brother in law. Both
defendants and the victim are Hispanic.


 Salad, Ahmed Muse                                     E.D. VA No. 2:11CR34
 Life sentence from jury                                                       Race & Gender of Def B              M

  Attorney General Holder                                                    Race & Gender of Vict(s) WF WM
four 2011 terrorist cross-racial murders by Somali pirates, charged with murder and kidnapping. The boat’s owners and another white
couple who were guests were shot to death before troops could board the boat.


 Beyle, Abukar Osman                                   E.D. VA No. 2:11CR34
 Life sentence from jury                                                       Race & Gender of Def B              M

  Attorney General Holder                                                    Race & Gender of Vict(s) WF WM
four 2011 terrorist cross-racial murders by Somali pirates, charged with murder and kidnapping. The boat’s owners and another white
couple who were guests were shot to death before troops could board the boat.


 Abrar, Shani Nurani Shiekh                            E.D. VA No. 2:11CR34
 Life sentence from jury                                                       Race & Gender of Def B              M

  Attorney General Holder                                                    Race & Gender of Vict(s) WF WM
four 2011 terrorist cross-racial murders by Somali pirates, charged with murder and kidnapping. The boat’s owners and another white
couple who were guests were shot to death before troops could board the boat.
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 Montgomery, Chastain, Sr.                            W.D. TN No. CR 11-20044
 Guilty plea                                                                   Race & Gender of Def B             M

  Attorney General Holder                                                   Race & Gender of Vict(s) WF BF
two cross-racial 2010 gun murders, by a former prison guard, of two female postal workers by a father and his 18 year old son. The son
was killed in a police shootout following a carjacking four months later. Montgomery and one victim are black. The other victim is white.


 Candelario-Santana, Alexis                           D. PR No. 3:09-CR-00427-JAF
 Life sentence vacated and retrial pending                                     Race & Gender of Def H M
  Attorney General Holder                                                   Race & Gender of Vict(s) HF HM
twenty RICO, gun murders, including the October 17, 2009 “Tombola Massacre” where eight people were killed and twenty wounded in a
shooting at a bar, including an unborn child. Alexis Candelario-Santana was charged with 20 murders. Candelario-Santana has 13 prior
murder convictions. All involved are Hispanic. The trial court rejected a claim that Alexis Candelario-Santana is intellectually disabled.


 Duran-Gomez, Wilmar Rene                             S.D. TX No. H-10-459
 Pending trial                                                                 Race & Gender of Def H M
  Attorney General Holder                                                   Race & Gender of Vict(s) HM
charged in the deaths of two undocumented immigrants resulting from a conspiracy to transport and harbor undocumented immigrants into
the United States. The government alleged that Duran-Gomez, Rodriguez-Mendoza and others engaged in a conspiracy to smuggle
undocumented immigrants into the United States, during which they were held in warehouses in Texas until their families paid the
smugglers’ fees. While being held in a warehouse in Houston, two of the immigrants set fire to the warehouse in an effort to escape. The
government alleges that Duren-Gomez, Rodrigues-Mendoza and Bolanos-Garza later beat them to death. Duran-Gomez and Rodriguez-
Mendoza were authorized. All involved are Hispanic.


 Rodriguez-Mendoza, Efrain                            S.D. TX No. H-10-459
 Pending trial                                                                 Race & Gender of Def H M
  Attorney General Boente                                                   Race & Gender of Vict(s) HM
charged in the deaths of two undocumented immigrants resulting from a conspiracy to transport and harbor undocumented immigrants into
the United States. The government alleged that Duran-Gomez, Rodriguez-Mendoza and others engaged in a conspiracy to smuggle
undocumented immigrants into the United States, during which they were held in warehouses in Texas until their families paid the
smugglers’ fees. While being held in a warehouse in Houston, two of the immigrants set fire to the warehouse in an effort to escape. The
government alleges that Duran-Gomez, Rodrigues-Mendoza and Bolanos-Garza later beat them to death. Duran-Gomez and Rodriguez-
Mendoza were authorized. All involved are Hispanic.


 Torrez, Jorge Avila                                  E.D. VA No. 1:11-CR-115
 Death Row - Appeal                                                            Race & Gender of Def H M
  Attorney General Holder                                                   Race & Gender of Vict(s) WF
rape murders by an Hispanic ex-marine already serving life sentences in Virginia for an abduction and rape of a Maryland graduate student.
In 2009, a 20 year old Navy petty officer was raped and murdered on a military base in Arlington. Previously, two young girls were
murdered in Illinois, stabbed in the eye. The government alleges a DNA link to all. The victims are all white. Torrez waived the
presentation of mitigating evidence. A direct appeal is pending.
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 Briseno, Juan                                        N.D. IN No. 2:11CR077
 Life sentence from jury                                                      Race & Gender of Def H M
  Attorney General Holder                                                  Race & Gender of Vict(s) BM HM
six RICO gun murders by the gang “Imperial Gangsters,” three in 2008 and three in 2010. Briseno was charged in five murders, Feliciano
in two and Torres in one. Briseno was convicted of five murders. He is Hispanic. The victims were black and Hispanic.


 Williams, Connell C.                                 W.D. OK No. 5:11-CR-298
 Guilty plea at trial                                                         Race & Gender of Def B            M

  Attorney General Holder                                                  Race & Gender of Vict(s) BM
child abuse §1111 murder on a military base (Fort Sill). A nine year old boy was starved to death. He weighed 41 pounds at the time of
his death. All involved are African-American.


 Ashley, Frederick                                    C.D. CA No. 12
 Pending trial                                                                Race & Gender of Def W M
  Attorney General Sessions                                                Race & Gender of Vict(s) WM
a 2010 BOP inmate murder at USP Victorville. All involved are white.


 Owle, Michael                                        N.D. WV 1:17-CR-00039-IMK-MJA
 Pending trial                                                                Race & Gender of Def NA M
  Attorney General Sessions                                                Race & Gender of Vict(s) NAM
a 2012 stabbing death of a BOP inmate at USP Hazelton who stabbed someone else in a separate incident shortly before. Laurel is
Hispanic, Owle and the deceased are Native American.


 Laurel, Ruben                                        N.D. WV 1:17-CR-00039-IMK-MJA
 Pending trial                                                                Race & Gender of Def H M
  Attorney General Sessions                                                Race & Gender of Vict(s) NAM
a 2012 stabbing death of a BOP inmate at USP Hazelton who stabbed someone else in a separate incident shortly before. Laurel is
Hispanic, Owle and the deceased are Native American.


 Roland, Farad                                        D. NJ No. 2:12-CR-00298-ES
 Dismissal after notice by Judge                                              Race & Gender of Def B            M

  Attorney General Holder                                                  Race & Gender of Vict(s) BM
six RICO gun murders, by the “Bloods” gang, one in 2003, two in 2005, one in 2007 and a double murder in 2008. Roland is charged in all
six, Williams and Lowery in one. Three of the six may have been potential witness killings. Other homicides are suspected. Roland was
found to be intellectually disabled. 281 F.Supp.3d 470. All involved are African-American.
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 Con-ui, Jessie                                          M.D. PA No. 3:CR-13-123
 Life sentence from jury                                                          Race & Gender of Def O M
  Attorney General Holder                                                      Race & Gender of Vict(s) WM
murder of a guard at USP Canaan on video by an inmate serving a life sentence for a prior murder. Con-Ui has a history of violence,
including a prior homicide. The victim is white, the defendant Filipino.


 Tsarnaev, Dzhokhar                                      D. MA No. 1:13-CR-10200-GAO
 Death row - Appeal                                                               Race & Gender of Def W M
  Attorney General Holder                                                      Race & Gender of Vict(s) WF +
involves one of the two Boston Marathon terrorist bombers, who killed four, including two women, an eight year old boy, and a police
officer, and wounded 170, resulting in at least 15 amputations of limbs. He also is alleged to have attempted to kill another police officer.
The defendant is white, of Chechen and Avar descent. The deceased victims are white and Asian.


 Ham, James Wayne                                        S.D. TX No. 4:13-CR-00363
 Pending trial                                                                    Race & Gender of Def W M
  Attorney General Holder                                                      Race & Gender of Vict(s) BF
involves a gun murder of a postal worker (a letter carrier) because the white defendant thought the black female carrier was diverting his
mail to his estranged wife. After the shooting, the victim’s car, with her body still inside, was set on fire by the defendant and the victim’s
body was reduced to ashes and a few bones.


 Ciancia, Paul Anthony                                   C.D. CA No. 2:13-CR-00902-PSG
 Guilty plea                                                                      Race & Gender of Def W M
  Attorney General Holder                                                      Race & Gender of Vict(s) HM
a 2013 shooting rampage and gun murder of a law enforcement officer at Los Angeles International Airport. A Transportation Security
Administration officer was intentionally murdered, the first TSA agent to be killed. The TSA officer was shot 12 times. Three others were
wounded. Ciancia was also shot and seriously wounded. He is white. The slain officer was Hispanic.


 Watts, James                                            S.D. IL No. 4:14-CR-40063-JPG
 Guilty plea                                                                      Race & Gender of Def B              M

  Attorney General Holder (Sessions - GP)                                      Race & Gender of Vict(s) WF
cross-racial double stabbing murders of white, female bank employees by a black male, a convicted felon and sex offender who had just
been released from prison. A third employee was stabbed, but survived.


 Rogers, Andrew                                          S.D. IN No. 2:16-CR-00018-WTL-CMM
 Pending trial                                                                    Race & Gender of Def W M
  Attorney General Lynch                                                       Race & Gender of Vict(s) WM
a BOP inmate murder. Rogers killed his cellmate after tying him up, choking and stabbing him. He has allegedly threatened to kill any
future cellmate until he gets the death penalty. He has confessed. All involved are white.
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                           Federal Defendants Authorized for a Capital Prosecution - 2/6/2019

 Cramer, Christopher                                  E.D. TX No. 1:16-CR-00026-MAC-ZJH
 Death row - appeal                                                            Race & Gender of Def W M
  Attorney General Lynch                                                    Race & Gender of Vict(s) WM
a BOP inmate murder at USP Beaumont. The defendants are on videotape outside the victim’s cell. Cramer has confessed. All involved
are white and are members of the Aryan Culture prison gang.


 Roof, Dylann Storm                                   D. SC No. 2:15-CR-00472-RMG
 Death row - appeal                                                            Race & Gender of Def W M
  Attorney General Lynch                                                    Race & Gender of Vict(s) BF, BM
involves the 2014 multiple gun hate crime murders by a 21 year old white Supremacist, who murdered nine members of the congregation at
an historic black church in Charleston, South Carolina, after attending a prayer meeting for an hour. Many of the victims’ families forgave
Roof at his arraignment. All the victims are African-American and included the Reverend Clementa Pinckney, who was a church pastor
and a state senator. Roof rejected his defense team and represented himself during the penalty phase, putting up no defense. There was a
parallel state prosecution. Roof received nine life sentences.


 Aranda-Soto, Noe                                     S.D. TX No. 6:10-CR-00095
 Guilty plea                                                                   Race & Gender of Def H M
  Attorney General Lynch                                                    Race & Gender of Vict(s) HF HM
six deaths associated with an illegal immigrant smuggling ring. The case was charged under 18 U.S.C. §1203(a), paying someone to seize
another resulting in death. Five immigrants died in the Fall of 2012. The sixth homicide involves a 924(c)(j) gun charge. Aranda-Soto
was traveling in a car with two female co-conspirators. He started shooting wildly, wounding one. The other jumped from the car and was
run over by a tractor trailer. All involved are Hispanic.


 Skates, Victor                                       N.D. CA No. 5:15-CR-00285-LHK
 Pending trial                                                                 Race & Gender of Def H M
  Attorney General Sessions                                                 Race & Gender of Vict(s) HM
twelve RICO gun murders, six in 2009 and six in 2010. Skates was charged in nine, Chavez in five, Cruz and LeBron in two, the others in
one. All involved are Hispanic.


 Arnold, Billy                                        E.D. MI No. 2:15-CR-20652-GCS-DRG
 Pending trial                                                                 Race & Gender of Def B             M

  Attorney General Sessions                                                 Race & Gender of Vict(s) BM
three RICO gun murders, one in 2006, one in 2014, one in 2015. Arnold is charged in two, the rest in one. Arnold is also charged in nine
attempted murders. All involved are African-American.


 Mills, Edwin                                         E.D. MI No. 2:16-CR-20460-MAG-RSW
 Pending trial                                                                 Race & Gender of Def B             M

  Attorney General Sessions                                                 Race & Gender of Vict(s) BF, BM
four RICO gun murders in 2015, including a 2015 double RICO gun murder by the 6 Mile Chedda Grove gang. Mills and Wilson are
charged in the double, the others in one. A 13 year old girl was killed. All involved are African-American.
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 Wilson, Carlo                                        E.D. MI No. 2:16-CR-20460-MAG-RSW
 Pending trial                                                                Race & Gender of Def B             M

  Attorney General Sessions                                                 Race & Gender of Vict(s) BF, BM
four RICO gun murders in 2015, including a 2015 double RICO gun murder by the 6 Mile Chedda Grove gang. Mills and Wilson are
charged in the double, the others in one. A 13 year old girl was killed. All involved are African-American.


 Jordan, Anthony                                      E.D. MO No. 4:15-CR-00404-HEA-NAB
 Pending trial                                                                Race & Gender of Def B             M

  Attorney General Sessions                                                 Race & Gender of Vict(s) BF BM
twelve drug-related gun murders, three in 2008, two in 2010, four in 2013, including a double murder, two in 2014 and one in 2015.
Jordan is charged in eleven, Ward in four, Terry, Woodson, Thompson and Washington in three, Lemons in two and Sims, Furnace and
Williams in one. All involved are African-American.


 Madison, Jarvis Wayne                                M.D. FL No. 6:17-CR-00015-RBD-KRS
 Pending trial                                                                Race & Gender of Def W M
  Attorney General Sessions                                                 Race & Gender of Vict(s) WF
interstate kidnapping and murder of a 44 year old spouse. There is a history of domestic violence. The wife, who had fled Indiana,
disappeared while jogging in Ormond Beach, Florida. All involved are white. Madison was found incompetent.



 Pedro-Vidal, Juan R.                                 D. PR No. 3:16-CR-00778-GAG
 Pending trial                                                                Race & Gender of Def H M
  Attorney General Sessions                                                 Race & Gender of Vict(s) HM
a 2016 carjacking, kidnapping, gun murder. All involved are Hispanic.


 Cleveland, Kirby                                     D. NM No. 1:17-CR-00965-MCA
 Authorization withdrawn                                                      Race & Gender of Def NA M
  Attorney General Sessions                                                 Race & Gender of Vict(s) NAM
a 2017 gun murder of a Navajo Nation police officer responding to a police call. All involved are Native American. Acting Attorney
General Whitaker approved the withdrawal of the notice of intent to seek the death penalty.


 Smith, John Pearl                                    D. AK No. 3:16-CR-00086-SLG-DMS
 Pending trial                                                                Race & Gender of Def W M
  Attorney General Sessions                                                 Race & Gender of Vict(s) WF, WM
a 2016 double gun murder. Smith allegedly committed three separate drug-related robberies. The last resulted in the shooting deaths of
two individuals. A third person was wounded. All involved are white.
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 Hardison, Brandon Durrell                            M.D. TN No. 3:17-CR-00124
 Pending trial                                                                Race & Gender of Def B            M

  Attorney General Sessions                                                  Race & Gender of Vict(s) WF, BM
four RICO gun murders by the Gangster Disciples, three in 2012, including a cross-racial double murder, and one in 2007. Hardison is
charged in a double murder which included a witness. Burks and Whitlock are charged in one separate homicide apiece. All involved are
African-American, except there is a white female victim in the double homicide.


 Christensen, Brendt A.                               C.D. IL No. 2:17-CR-20037-CSB-EIL-1
 Pending trial                                                                Race & Gender of Def W M
  Attorney General Sessions                                                  Race & Gender of Vict(s) AF
a 2017 kidnapping, disappearance and alleged murder of a young female visiting Chinese scholar by a white graduate student in physics.
She was last seen on videotape entering his car. Her body has never been discovered.


 Brown, Ronald Donell                                 S.D. TX No. 4:17-CR-00567
 Pending trial                                                                Race & Gender of Def UK M
  Attorney General Sessions                                                  Race & Gender of Vict(s) BM
a 2014 drug-relatd gun murder for hire. All involved are African-American.


 Council, Brandon Michael                             D. SC No. 4:17-CR-00866-CRI
 Pending trial                                                                Race & Gender of Def B            M

  Attorney General Sessions                                                  Race & Gender of Vict(s) WF
a 2017 cross-racial double murder during a bank robbery. The defendant is black. The victims are white.


 Saipov, Sayfullo Habibullaevic                       S.D. NY No. 1:17-CR-00722
 Pending trial                                                                Race & Gender of Def O M
  Attorney General Sessions                                                  Race & Gender of Vict(s) WF WM
a self-proclaimed terrorist, member of ISIS, drove a van down a walk-way/bike lane in lower Manhattan, killing eight. He was shot and
wounded at the scene. The defendant was from Uzbekistan. The victims were white.


 George, LilBear                                      E.D. LA No. 2:17CR-00201-LMA-DEK
 Pending trial                                                                Race & Gender of Def B            M

  Attorney General Sessions                                                  Race & Gender of Vict(s) HM
a 2013 New Orleans gun murder of an armored truck driver at a bank. Ofomato is charged in state court with a separate 2008 double
murder. The victim is Hispanic, the defendants are Hispanic and African-American.
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 Johnson, Curtis, Jr.                                  E.D. LA No. 2:17CR-00201-LMA-DEK
 Pending trial                                                                 Race & Gender of Def B             M

  Attorney General Sessions                                                 Race & Gender of Vict(s) HM
a 2013 New Orleans gun murder of an armored truck driver at a bank. Ofomato is charged in state court with a separate 2008 double
murder. The victim is Hispanic, the defendants are Hispanic and African-American.


 Ofomata, Chukwudi                                     E.D. LA No. 2:17CR-00201-LMA-DEK
 Pending trial                                                                 Race & Gender of Def B             M

  Attorney General Sessions                                                 Race & Gender of Vict(s) HM
a 2013 New Orleans gun murder of an armored truck driver at a bank. Ofomato is charged in state court with a separate 2008 double
murder. The victim is Hispanic, the defendants are Hispanic and African-American.


 Cacace, Joel                                          E.D. NY No. 1:08-CR-00240-NG and E.D. NY CR No. 03-CR-72
 Authorization withdrawn and Pre-statute retroactive prosecution               Race & Gender of Def W M
  Attorney General Holder and Ashcroft                                      Race & Gender of Vict(s) WM
#2: eight mob RICO gun murders by members of the Colombo family - one in 1991, three (including a double murder) in 1992, one in
1994, one in 1995, one in 1997 and one in 1998. Calabro is charged in all eight, Gioeli in five, Saracino in four, Competiello in two and
Cacace in one, the murder of a police officer, allegedly killed because he married the ex-wife of a mafia member. All involved are white,
except for one Hispanic victim.

and #1: two mob murders by the Columbo mafia family.


 Hammer, David Paul                                    D. AZ and M.D. PA No. 4-96-CR-239
 Pending authorization and Life Sentence from Judge                            Race & Gender of Def W M
  Attorney General Sessions and Reno                                        Race & Gender of Vict(s) WM
a strangulation murder of a federal prison inmate by his cellmate. The defendant and the victim are white. Hammer was serving a 1200+
year Oklahoma state sentence at the time of the homicide, but had been incarcerated in the federal penitentiary at Allenwood, Pennsylvania.
Mr. Hammer abandoned his direct appeal. 226 F.3d 229 (3d Cir. 2000). An execution date was set for November 15, 2000, but was
vacated when Mr. Hammer decided (and was allowed) to file a post-conviction action. Penalty phase relief was granted in December 2005,
and upheld on appeal. 404 F.Supp.2d 676 (MD PA 2005). A life sentence was imposed at his resentencing bench trial.

Case #2 (inmate):
two inmates investigated for the murder of an inmate at USP Tucson. All involved are white.


 Fackrell, Ricky Allen                                 E.D. TX No. 1:16-CR-00026-MAC-ZJH            and    E.D. TX 2016
 Death Row - Appeal and Pending Trial                                          Race & Gender of Def W M
  Attorney General Lynch and Sessions                                       Race & Gender of Vict(s) WM
a BOP inmate murder at USP Beaumont. The defendants are on videotape outside the victim’s cell. Cramer has confessed. Subsequently,
Fackrell allegedly killed a second inmate. All involved are white and are members of the Aryan Culture prison gang.

another USP Beaumont inmate murder. After being charged with the murder of inmate Johns, Fackrell was in the special housing unit
where he and co-defendant Erik Rekonen were placed in a recreation cage with a suspected sex offender (who apparently was not).
Fackrell and Rekonen allegedly choked and beat inmate Ronald Earl Griffith, who died a few days later at the hospital. All involved are
white. Authorization was granted by Attorney General Sessions for this second murder on March 30, 2018.
